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                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE


In re:                                                                Chapter 11

AMYRIS, INC., et al.,                                                 Case No. 23-11131 (TMH)

                                       Debtors.1                      Jointly Administered


THIRD AMENDED JOINT CHAPTER 11 PLAN OF REORGANIZATION OF AMYRIS,
          INC. AND ITS AFFILIATED DEBTORS, AS MODIFIED

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    A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
    claims and noticing agent at https:\//cases.stretto.com\/amyris. The location of Debtor Amyris Inc.’s
    principal place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street,
    Suite 100, Emeryville, CA 94608.


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                                            INTRODUCTION

         Amyris, Inc. and the other above-captioned debtors and debtors in possession (collectively, the
“Debtors”) propose this joint chapter 11 plan of reorganization (as amended, supplemented, or otherwise
modified from time to time, this “Plan”) for the resolution of the outstanding Claims against, and Interests
in, the Debtors. Capitalized terms used herein and not otherwise defined shall have the meanings ascribed
to such terms in Article I.A of this Plan. Although proposed jointly for administrative purposes, the Plan
constitutes a separate Plan for each Debtor. The Debtors are the proponents of the Plan within the
meaning of section 1129 of the Bankruptcy Code. The classification of Claims and Interests set forth in
Article III of this Plan shall be deemed to apply separately with respect to each Plan proposed by each
Debtor, as applicable and set forth herein. The Plan does not contemplate substantive consolidation of
any of the Debtors, other than for purposes of voting on and distributions under the Plan.

        Reference is made, and Holders of Claims or Interests may refer, to the accompanying Disclosure
Statement for a discussion on the Debtors’ history, businesses, assets, results of operations, historical
financial information, valuation, projections, risk factors, a summary and analysis of the Plan, and certain
related matters.

      ALL HOLDERS OF CLAIMS AGAINST AND INTERESTS IN THE DEBTORS, TO THE
EXTENT APPLICABLE, ARE ENCOURAGED TO READ THIS PLAN AND THE DISCLOSURE
STATEMENT IN THEIR ENTIRETY BEFORE VOTING TO ACCEPT OR REJECT THIS PLAN.
ALL HOLDERS OF CLAIMS AND INTERESTS SHOULD REVIEW THE SECURITIES LAW
RESTRICTIONS AND NOTICES SET FORTH IN THIS PLAN (INCLUDING, WITHOUT
LIMITATION, UNDER ARTICLE IV HEREOF) IN FULL.

      THE ISSUANCE OF ANY SECURITIES REFERRED TO IN THIS PLAN SHALL NOT
CONSTITUTE AN INVITATION OR OFFER TO SELL, OR THE SOLICITATION OF AN
INVITATION OR OFFER TO BUY, ANY SECURITIES IN CONTRAVENTION OF APPLICABLE
LAW IN ANY JURISDICTION. NO ACTION HAS BEEN TAKEN, NOR WILL BE TAKEN, IN ANY
JURISDICTION THAT WOULD PERMIT A PUBLIC OFFERING OF ANY SECURITIES REFERRED
TO IN THIS PLAN (OTHER THAN SECURITIES ISSUED PURSUANT TO SECTION 1145 OF THE
BANKRUPTCY CODE IN A DEEMED PUBLIC OFFERING) IN ANY JURISDICTION WHERE
SUCH ACTION FOR THAT PURPOSE IS REQUIRED.

                                       ARTICLE I.
                       DEFINED TERMS, RULES OF INTERPRETATION,
                       COMPUTATION OF TIME, AND GOVERNING LAW

A.      Defined Terms.

        As used in this Plan, capitalized terms have the meanings set forth below.

       1. “Ad Hoc Cross-Holder Group” means the informal ad hoc group of certain holders of
Convertible Notes and/or holders of Interests represented by ArentFox Schiff LLP, as primary counsel,
Sterns Weaver Miller Weissler Alhadeff & Sitterson, P.A., as co-counsel, and Womble Bond Dickinson
(US) LLP, as local counsel, as further described in the Verified Statement of the Ad Hoc Cross-Holder
Group Pursuant to Bankruptcy Rule 2019 of the Federal Rules of Bankruptcy Procedure [Docket No.
397].

        2. “Ad Hoc Cross-Holder Group Professionals” means ArentFox Schiff LLP, as primary
counsel, Sterns Weaver Miller Weissler Alhadeff & Sitterson, P.A., as co-counsel, and Womble Bond
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Dickinson (US) LLP, as local counsel, each as retained by the Ad Hoc Group in connection with the
Chapter 11 Cases.

       3. “Ad Hoc Cross-Holder Group Acceptance Event” means each member of the Ad Hoc
Cross-Holder Group has executed a joinder to the Plan Support Agreement.

        4. “Ad Hoc Cross-Holder Group Restructuring Expenses” means, subject to the terms and
conditions of the Plan, accrued and documented fees and expenses of the Ad Hoc Cross-Holder Group
Professionals in connection with the Chapter 11 Cases in the aggregate amount not to exceed $450,000.00.

        5. “Ad Hoc Group” means the informal ad hoc group of certain holders of Convertible Notes
represented by Paul Hastings LLP, as primary counsel, and Blank Rome LLP, as local counsel, as further
described in the Verified Statement of the Ad Hoc Noteholder Group Pursuant to Bankruptcy Rule 2019
[Docket No. 129] (as amended by the Amended Verified Statement of the Ad Hoc Noteholder Group
Pursuant to Bankruptcy Rule 2019 [Docket No. 579] and the Second Amended Verified Statement of the
Ad Hoc Noteholder Group Pursuant to Bankruptcy Rule 2019 [Docket No. 1078]).

        6. “Ad Hoc Group Acceptance Event” means holders of at least 60% of the outstanding
principal amount of the Convertible Notes have executed a joinder to the Plan Support Agreement.

        7. “Ad Hoc Group Fee Reimbursement Letter” means those certain letter agreements, approved
by the Order Authorizing the Debtors to Assume and/or Enter Into Reimbursement Agreements With
Professionals for the Ad Hoc Noteholder Group [Docket No. 192], as amended in connection with the Ad
Hoc Group Acceptance Event by agreement among the Debtors, the DIP Lenders, the Foris Prepetition
Secured Lenders and the Ad Hoc Group Professionals to provide for the Ad Hoc Group Restructuring
Expenses to be included in the Carve-Out under the Final DIP Order.

       8. “Ad Hoc Group Professionals” means Paul Hastings LLP, as primary counsel, Blank Rome
LLP, as local counsel, and Berkeley Research Group, LLC, as financial advisor, each as retained by the
Ad Hoc Group in connection with the Chapter 11 Cases.

       9. “Ad Hoc Group Restructuring Expenses” means, subject to the terms and conditions of the
Ad Hoc Group Fee Reimbursement Letter, accrued, and not previously paid, documented fees and
expenses of the Ad Hoc Group Professionals in connection with the Chapter 11 Cases in the aggregate
amount not to exceed $1,700,000.00.

        10. “Administrative Claim” means a Claim for costs and expenses of administration of the
Chapter 11 Cases pursuant to sections 503(b), 507(a)(2), 507(b), or 1114(e)(2) of the Bankruptcy Code,
including: (a) the actual and necessary costs and expenses incurred on or after the Petition Date and
before the Effective Date of preserving the Estates and operating the Debtors’ businesses; (b) Allowed
Professional Fee Claims; and (c) all fees and charges assessed against the Estates pursuant to section 1930
of chapter 123 of the Judicial Code.

        11.     “Administrative Claims Bar Date” means the deadline for Filing requests for payment of
Administrative Claims, which shall be (a) thirty days after the Effective Date for Administrative Claims
other than Professional Fee Claims and (b) forty-five days after the Effective Date for Professional Fee
Claims.

        12.     “Administrative Claims Objection Bar Date” means the deadline for filing objections to
requests for payment of Administrative Claims required to file a Proof of Claim form, which shall be the


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first Business Day that is 90 days following the Effective Date; provided that the Administrative Claims
Objection Bar Date may be extended by the Bankruptcy Court after notice and a hearing.

       13.    “Affiliate” shall have the meaning of “affiliate” set forth in section 101(2) of the
Bankruptcy Code. “Affiliated” has a correlative meaning.

         14.      “Agent” means any administrative agent, collateral agent, or similar Entity under the Foris
Parties Facilities Documents, the DIP Facility Documents, or the Exit First Lien Facility Documents.

         15.      “Allowed” means, with respect to a Claim or Interest, any Claim or Interest (or portion
thereof) against any Debtor (a) that has been listed by the Debtors in the Schedules as liquidated in
amount and not “disputed” or “contingent,” and with respect to which no contrary proof of Claim or proof
of Interest has been filed or an objection or request for estimation has been filed on or before the claims
objection deadline or the expiration of such other applicable period fixed by the Bankruptcy Court, (b)
with respect to which a Proof of Claim or Proof of Interest has been filed and as to which no objection or
request for estimation has been filed on or before the claims objection deadline or the expiration of such
other applicable period fixed by the Bankruptcy Court, (c) as to which any objection has been filed on or
before the claims objection deadline or the expiration of such other applicable period fixed by the
Bankruptcy Court and such objection has been settled, waived, withdrawn or denied by a Final Order, or
(d) that is Allowed (i) by a Final Order, or (ii) by a stipulation entered into between the Holder of such
Claim or Interest and Reorganized Debtors on or after the Effective Date. For purposes of computing
distributions under the Plan, a Claim or Interest that has been deemed “Allowed” shall not include
interest, costs, fees or charges on such Claim or Interest from and after the Petition Date, except as
provided in Bankruptcy Code section 506(b) or as otherwise expressly set forth in the Plan. Any Claim or
Interest that has been or is hereafter categorized as contingent, unliquidated, or Disputed, and for which no
Proof of Claim or Proof of Interest, as applicable, is or has been timely Filed, is not considered Allowed,
as set forth in this Plan and the Confirmation Order. For the avoidance of doubt, a Proof of Claim Filed
after the applicable Claims Bar Date shall not be Allowed for any purposes whatsoever absent entry of a
Final Order allowing such late-Filed Claim. “Allow,” “Allowing,” and “Allowance” shall have correlative
meanings.

       16.      “Amended DSM Contracts” means the DSM Contracts as amended and restated,
modified, rejected and/or terminated materially consistent in all respects with the DSM Term Sheet.

       17.      “Amended Givaudan Contracts” means the Givaudan Contracts as amended and restated,
modified, rejected and/or terminated materially consistent in all respects with the Givaudan Term Sheet.

        18.      “Amyris Equity Interests” means Interests in Parent.

        19.      “Approved Budget” has the meaning set forth in the DIP Facility Loan Agreement.

        20.      “Avoidance Actions” means any and all actual or potential avoidance, recovery,
subordination, or other Causes of Action, or remedies that may be brought by or on behalf of the Debtors
or their Estates or other authorized parties in interest under the Bankruptcy Code or applicable
non-bankruptcy Law, including Causes of Action, or remedies arising under chapter 5 of the Bankruptcy
Code or under similar or related local, state, federal, or foreign statutes or common Law, including
fraudulent transfer Laws.

      21.      “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C. §§ 101-1532, as
amended from time to time.


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        22.       “Bankruptcy Court” means the United States Bankruptcy Court for the District of
Delaware, presiding over the Chapter 11 Cases, or any other court having jurisdiction over the Chapter 11
Cases, including, to the extent of the withdrawal of reference under 28 U.S.C. § 157 and/or the General
Order of the District Court pursuant to section 151 of the Judicial Code, the United States District Court
for the District of Delaware.

        23.    “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure promulgated under
section 2075 of the Judicial Code and the general, local, and chambers rules of the Bankruptcy Court,
each, as amended from time to time.

        24.     “Bar Date Order” means the Order (I) Establishing the Claims Bar Date, (II)
Establishing the Governmental Bar Date, (III) Establishing the Rejection Damages Bar Date and the
Amended Schedules Bar Date, (IV) Approving the Form of and Manner for Filing Proofs of Claim,
Including Section 503(b)(9) Requests, and (V) Approving Notice of Bar Dates [Docket No. 528] (as
amended, modified, or supplemented from time to time in accordance with the terms thereof).

        25.     “Bidding Procedures Order” means the Order (A) Approving Bid Procedures for the Sale
of the Debtors' Brand Assets; (B) Approving Certain Bid Protections In Connection with the Debtors'
Entry Into Any Potential Stalking Horse Agreements; (C) Scheduling the Auction and Sale Hearing; (D)
Approving the Form and Manner of Notice Thereof; and (E) Granting Related Relief [Docket No. 553].

       26.       “Business Day” means any day other than a Saturday, Sunday, “legal holiday” (as defined
in Bankruptcy Rule 9006(a)), or other day on which commercial banks are authorized to close under the
Laws of, or are in fact closed in the State of Delaware.

        27.     “Cash” means cash in legal tender of the United States of America and cash equivalents,
including bank deposits, checks, and other similar items.

          28.     “Causes of Action” means, collectively, any and all claims, interests, controversies,
actions, proceedings, reimbursement claims, contribution claims, recoupment rights, debts, third-party
claims, indemnity claims, damages, remedies, causes of action, demands, rights, suits, obligations,
liabilities, accounts, judgments, defenses, offsets, powers, privileges, licenses, franchises, Liens,
guaranties, Avoidance Actions, agreements, counterclaims, and cross-claims, of any kind or character
whatsoever, whether known or unknown, foreseen or unforeseen, existing or hereinafter arising,
contingent or non-contingent, matured or unmatured, suspected or unsuspected, liquidated or unliquidated,
disputed or undisputed, asserted or unasserted, direct or indirect, assertable directly or derivatively, choate
or inchoate, reduced to judgment or otherwise, secured or unsecured, whether arising before, on, or after
the Petition Date, in tort, Law, equity, or otherwise pursuant to any theory of civil Law (whether local,
state, or federal U.S. Law or non-U.S. Law). Causes of Action also include: (a) all rights of setoff,
counterclaim, or recoupment and claims under contracts or for breaches of duties imposed by Law or in
equity; (b) any claim (whether under local, state, federal U.S. Law or non-U.S. civil Law) based on or
relating to, or in any manner arising from, in whole or in part, tort, breach of contract, breach of fiduciary
duty, fraudulent transfer or fraudulent conveyance or voidable transaction Law, violation of local, state, or
federal non-U.S. Law or breach of any duty imposed by Law or in equity, including securities Laws and
negligence; (c) the right to object to or otherwise contest Claims or Interests and any Claim Objections;
(d) claims pursuant to section 362 or chapter 5 of the Bankruptcy Code; and (e) such claims and defenses
as fraud, mistake, duress, and usury, and any other defenses set forth in section 558 of the Bankruptcy
Code.

       29.      “Chapter 11 Cases” means: (a) when used with reference to a particular Debtor, the case
pending for that Debtor under chapter 11 of the Bankruptcy Code in the Bankruptcy Court; and (b) when

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used with reference to all the Debtors, the procedurally consolidated and jointly administered chapter 11
cases pending for the Debtors in the Bankruptcy Court.

        30.     “Claim” means any claim, as defined in section 101(5) of the Bankruptcy Code, against
any of the Debtors.

        31.    “Claim Objection” means an objection to the allowance of a Claim as set forth in section
502 of the Bankruptcy Code, Bankruptcy Rule 3007, and/or any order of the Bankruptcy Court regarding
omnibus claims objections.

        32.      “Claims Bar Date” means the applicable deadline by which Proofs of Claim must be
Filed, as established by: (a) the Bar Date Order; (b) any Final Order of the Bankruptcy Court; or (c) the
Plan.

       33.      “Claims Register” means the official register of Claims maintained by the Solicitation
Agent or the clerk of the Bankruptcy Court.

         34.    “Class” means a class of Claims or Interests as set forth in Article III of the Plan pursuant
to section 1122(a) of the Bankruptcy Code.

        35.     “Confirmation” means the Bankruptcy Court’s entry of the Confirmation Order on the
docket of the Chapter 11 Cases within the meaning of Bankruptcy Rules 5003 and 9021.

        36.      “Confirmation Date” means the date upon which Confirmation occurs.

       37.     “Confirmation Hearing” means the hearing held by the Bankruptcy Court to consider
Confirmation of the Plan, pursuant to Bankruptcy Rule 3020(b)(2) and sections 1128 and 1129 of the
Bankruptcy Code, as such hearing may be continued from time to time.

        38.     “Confirmation Order” means the order entered by the Bankruptcy Court confirming the
Plan pursuant to section 1129 of the Bankruptcy Code.

        39.     “Consenting Contract Counterparties” means each of DSM and Givaudan, provided said
party executes the Plan Support Agreement or a joinder thereto.

        40.     “Consenting Convertible Noteholders” means each holder of Convertible Notes who
executes the Plan Support Agreement.

        41.      “Consumer Brands” means Biossance®, JVN™, Rose Inc™, Pipette®, MenoLabs™,
Stripes™, and 4U by Tia™. For the avoidance of doubt, the Consumer Brands shall not include any of
the equity interests, assets or business with respect to Terasana®, EcoFabulous™, OLIKA™, Beauty Labs,
Purecane™, and Onda Beauty.

         42.    “Consumer Brands Businesses” means the business, operations, and assets used in
connection with the Consumer Brands (but excluding, as specifically set forth in the applicable asset
purchase agreements, Estate Causes of Action, intercompany receivables, contracts unless assumed and
assigned to the buyer (with cure payments made by the buyer), privileged books and records, and/or
employees (unless timely offers are made to employees of such businesses on terms of employment at
least the same as the current terms of employment), unless provided otherwise in the applicable asset
purchase agreements).


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        43.       “Consummation” means the occurrence of the Effective Date.

        44.     “Convertible Notes” means those certain convertible notes issued under that certain
Indenture dated as of November 15, 2021 for 1.50% Convertible Senior Notes Due 2026 in an aggregate
principal amount outstanding of approximately $690,000,000.

       45.       “Convertible Notes Claims” means any Claim against Parent arising under, derived from,
based on, or related to the Convertible Notes or the Convertible Notes Documents.

        46.     “Convertible Notes Documents” means, collectively, the Indenture dated as of November
15, 2021, as amended from time to time, between Parent and the Convertible Notes Trustee, relating to the
Convertible Notes and all other agreements, documents, and instruments delivered or entered into in
connection therewith, as amended, supplemented, or modified from time to time.

        47.     “Convertible Notes Trustee” means U.S. Bank Trust Company, National Association,
successor in interest to U.S. Bank National Association, solely in its capacity as trustee for the
Convertible Notes.

        48.      “Convertible Notes Trustee Fees and Expenses” means subject to the occurrence of the
Ad Hoc Group Acceptance Event, the reasonable and documented compensation, fees, expenses, and
disbursements incurred by the Convertible Notes Trustee, including without limitation, attorneys’ and
agents’ fees, expenses and disbursements, incurred by the Convertible Notes Trustee prior to the Effective
Date, and, after the Effective Date, reasonable fees and expenses incurred in connection with distributions
made pursuant to the Plan, in each case to the extent payable or reimbursable under any of the Convertible
Notes Documents and in the aggregate amount not to exceed $250,000.00.

        49.      “Court-Ordered Cure Cost” has the meaning set forth in Article VI.D of the Plan.

        50.     “Creditor Trust” means a trust established on the Effective Date for the benefit of the
Creditor Trust Beneficiaries in accordance with the Plan and the Creditor Trust Agreement.

         51.     “Creditor Trust Agreement” means the Creditor Trust Agreement, which shall be in form
and substance acceptable to the Creditors’ Committee and the Ad Hoc Group, as may be amended,
supplemented, restated, or otherwise modified from time to time, and substantially in the form to be
included in the Plan Supplement. provided, however, for the avoidance of doubt, the Debtors, the DIP
Lender, and the Foris Prepetition Secured Lenders shall have consent rights over the Creditor Trust
Agreement with respect to (i) access to books and records and personnel (which shall be at the sole cost
and expense of the Creditor Trust); (ii) preservation of attorney client privilege and confidentiality; and
(iii) such other terms and conditions that are not consistent with the terms hereof and the Plan Support
Agreement.

         52.     “Creditor Trust Assets” means the assets to be held in the Creditor Trust composed of (i)
the Creditor Trust Funding; (ii) the Estate Claims Settlement Consideration (including, without limitation,
the Retained Estate Causes of Action); (iii) the Third-Party Release Settlement Amounts specified for
distribution to qualifying holders of Allowed Claims in Classes 7 and 8; and (iv) any net proceeds of (i) –
(ii) above; provided, however, that (a) Causes of Action of the Debtors and their Estates against any
Released Parties and (b) any Designated Preference Actions shall not be Creditor Trust Assets.

        53.      “Creditor Trust Beneficiaries” means the holders of Allowed Class 7 and Class 8 Claims.



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         54.     “Creditor Trust Expenses” means expenses (including, but not limited to, any taxes
imposed on or payable by the Creditor Trust and professional fees) incurred by the Creditor Trust and any
additional amount determined to be necessary or appropriate by the Creditor Trustee to adequately reserve
for the operating expenses of the Creditor Trust.

        55.     “Creditor Trust Funding” means $2,000,000 in cash to be distributed to the Creditor Trust
on the Effective Date to pay for Creditor Trust Expenses.

       56.     “Creditor Trust Interests” means interests in the Creditor Trust held by the Creditor Trust
Beneficiaries.

       57.     “Creditor Trustee” means the trustee for the Creditor Trust, selected by the Creditors’
Committee and the Ad Hoc Group. The Creditor Trustee shall be identified in the Plan Supplement, and
such person and any successor Creditor Trustee shall be a “U.S. person” as determined for U.S. federal
income tax purposes.

        58.    “Creditor Trust Oversight Committee” means the committee appointed to manage and
oversee the administration of the Creditor Trust.

        59.     “Creditors’ Committee” means the statutory committee of unsecured creditors appointed
in the Chapter 11 Cases pursuant to section 1102 of the Bankruptcy Code by the U.S. Trustee pursuant to
the United States Trustee’s Notice of Appointment of Committee of Unsecured Creditors [Docket No. 152]
on August 27, 2023, as may be reconstituted from time to time.

      60.        “Creditors’ Committee Member” means each Entity that is a member of the Creditors’
Committee.

        61.    “Creditors’ Committee Professionals” means White & Case LLP, as primary counsel,
Potter Anderson & Corroon LLP, as local counsel, FTI Consulting, Inc, as financial advisor, and Jefferies
LLC, as investment banker, each as retained by the Creditors’ Committee in connection with the Chapter
11 Cases.

        62.    “Creditors’ Committee Professionals Expenses” means, subject to approval by the
Bankruptcy Court, documented fees and expenses of the Creditors’ Committee Professionals in
connection with the Chapter 11 Cases in the aggregate amount not to exceed $12,000,000.00.

        63.      “Cure” means all amounts, including an amount of $0.00, required to cure any monetary
defaults under any Executory Contract or Unexpired Lease (or such lesser amount as may be agreed upon
by the parties under an Executory Contract or Unexpired Lease) that is to be assumed by the Debtors
pursuant to sections 365 or 1123 of the Bankruptcy Code.

          64.     “D&O Liability Insurance Policies” means all insurance policies (including any “tail
policy”) covering any of the Debtors’ current or former directors’, managers’, officers’, and/or employees’
liability and all agreements, documents, or instruments relating thereto.

         65.    “Debt Documents” shall mean, collectively, the Foris Prepetition Secured Claims
Documents, the DIP Facility Loan Agreement, the DSM Loan Agreement, and the Convertible Notes
Documents, and any other agreements, instruments, pledge or security agreements, intercreditor
agreements, guarantees, fee letters, control agreements, and other ancillary documents related thereto
(including any security agreements, intellectual property security agreements, or notes), as amended,
restated, supplemented, waived, and/or modified from time to time.

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         66.      “Debtor Release” means the release given by the Debtors and the Estates to the Released
Parties as set forth in Article IX.C of the Plan.

        67.      “Deferred Deadline” has the meaning set forth in Article VI.A of the Plan.

         68.     “Definitive Documents” means all agreements, instruments, pleadings, orders, forms,
questionnaires, and other documents (including all exhibits, schedules, supplements, appendices, annexes,
instructions, and attachments thereto) that are utilized to implement or effectuate, or that otherwise relate
to, the Plan and the Restructuring Transactions, each of which shall be (except as otherwise set forth
herein) in form and substance acceptable to the Debtors and the Foris Secured Parties, including, without
limitation, (1) the New Organizational Documents; (2) the Lavvan Settlement Agreement; (3) the Exit
First Lien Facility Documents; (4) new, amended, or amended and restated guarantees, security
documents, and similar agreements, as applicable; (5) any and all documents required to implement, issue,
and distribute the New Common Stock; (6) any other document(s) necessary to implement or consummate
the Restructuring Transactions and the Exit First Lien Facility; (7) the Creditor Trust Agreement; (8) the
Amended DSM Contracts and Amended Givaudan Contracts; (9) the DSM Plan Promissory Note and
DSM Plan Promissory Note Pledge Agreement; (10) any other Plan Supplement; and (11) any and all
opinions, certificates, filings, and other deliverables required to satisfy the conditions precedent to the
effectiveness of the foregoing documents and agreements.

        69.     “Designated Preference Actions” means collectively Estate Causes of Action that are
preference actions arising under Section 547 of the Bankruptcy Code that are so designated as Designated
Preference Actions in the Plan Supplement.

        70.     “DIP Agent” means Euagore, LLC, in its capacity as administrative agent under the DIP
Facility Loan Agreement, its successors, assigns, or any replacement agent appointed pursuant to the
terms of the DIP Facility Loan Agreement.

       71.      “DIP Facility” means the $190 million debtor-in-possession credit facility provided to the
Debtors on the terms and conditions set forth in the DIP Facility Loan Agreement and the DIP Orders.

         72.    “DIP Facility Claim” means a Claim arising under, relating to, derived from, based upon,
or secured pursuant to the DIP Facility, including Claims for all principal amounts outstanding, interest,
fees, expenses, costs, indemnification obligations, reimbursement obligations, and any other charges
arising thereunder, in each case, with respect to the DIP Facility, including, for the avoidance of doubt,
such Claims held by the DIP Lenders or the DIP Agent.

        73.     “DIP Facility Documents” means, collectively, the DIP Facility Loan Agreement and all
other agreements, documents, and instruments delivered or entered into in connection therewith,
including, but not limited to, any guarantee agreements, pledge and collateral agreements, intercreditor
agreements, subordination agreements, fee letters, and other security documents.

        74.     “DIP Facility Loan Agreement” means that certain Senior Secured Super Priority Debtor
In Possession Loan Agreement, dated as of August 9, 2023 (as may be amended, supplemented, or
otherwise modified from time to time), by and among Amyris, Inc., Amyris Clean Beauty, Inc., and
Aprinnova, LLC, in their capacity as borrowers; the other Debtors and certain non-Debtor subsidiaries, as
guarantors; the DIP Lenders and the DIP Agent.

       75.      “DIP Lender(s)” means Euagore, LLC and other lenders from time to time party to the
DIP Facility Loan Agreement.


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         76.    “DIP Orders” means any orders entered in the Chapter 11 Cases approving the DIP
Facility (whether interim or final) consistent with the DIP Facility Loan Agreement, including, for the
avoidance of doubt, the interim order entered by the Bankruptcy Court on August 11, 2023 [Docket No.
54] and the Final DIP Order [Docket No. 558].

         77.      “Direct Claims” means any Cause of Action held by a Releasing Party against any of the
Released Parties (excluding the Debtors) and their respective Related Parties, but only to the extent such
claims arise from, relate to, or are connected with, directly or indirectly, in any manner whatsoever, the
Debtors, including their respective assets, liabilities, operations, financings, contractual agreements,
licenses, and including the governance thereof, and existing on or prior to the Effective Date (including
prior to the Petition Date).

        78.      “Direct Claims Injunction” has the meaning set forth in Article IX.G.1 of the Plan.

       79.      “Direct Claims Injunction Parties” means (a) the Reorganized Debtors; (b) the Foris
Secured Parties; and (c) the Related Parties of the foregoing parties.

        80.      “Direct Claims Threshold” means (a) with respect to holders of Direct Claims who are
creditors of the Debtors, determined separately with respect to such creditors classified in Class 7 and
Class 8, respectively, creditors who hold at least a majority in amount of the Claims asserted against the
Debtors (such Claims measured as of the Record Date (as defined in the Solicitation Materials) on the
same basis as such Claims are Allowed for voting purposes) do not elect to opt out of granting the
Third-Party Release; and (b) with respect to holders of Direct Claims who are Holders of any Interests
consisting of issued and outstanding shares of common stock of Parent, such Holders who hold at least a
majority of the outstanding common stock of Parent (excluding for purposes of such calculation, any
outstanding common stock of Parent held by any of the Direct Claims Injunction Parties) (such
outstanding common stock of Parent measured as of the Distribution Record Date) do not elect to opt out
of granting the Third-Party Release.

         81.     “Disbursing Agent” means, as applicable, the Entity or Entities selected by the Debtors,
the Reorganized Debtors, Ad Hoc Group, Creditors’ Committee, or the Plan Administrator, as applicable,
to make or to facilitate distributions, allocations, and/or issuances in accordance with, and pursuant to, the
Plan. For the avoidance of doubt, (i) the Plan Administrator may serve as the Disbursing Agent; (ii) the
DIP Agent shall not be a Disbursing Agent; and (iii) the Creditor Trust shall be the Disbursing Agent for
distributions to holders of Allowed Claims in Classes 7 and 8.

         82.     “Disclosure Statement” means the disclosure statement relating to this Plan, as may be
amended, supplemented, or modified from time to time, including all exhibits and schedules thereto, in
each case, as may be amended, supplemented, or modified from time to time, that is prepared and
distributed in accordance with the Bankruptcy Code, the Bankruptcy Rules, and any other applicable Law,
to be approved pursuant to the Disclosure Statement Order.

         83.      “Disclosure Statement Order” means the order (and all exhibits thereto), entered by the
Bankruptcy Court, approving the Disclosure Statement and the Solicitation Materials, and allowing
solicitation of the Plan to commence.

         84.     “Disputed” means, as to a Claim or an Interest, any Claim or Interest (or portion thereof):
(a) that is not Allowed; (b) that is not disallowed by the Plan, the Bankruptcy Code, or a Final Order, as
applicable; and (c) with respect to which a party in interest has Filed a Proof of Claim or Proof of Interest



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or otherwise made a written request to a Debtor for payment, without any further notice to or action,
order, or approval of the Bankruptcy Court.

         85.     “Distribution Date” means, except as otherwise set forth herein, (a) the date or dates
determined by the Debtors, the Reorganized Debtors, the Plan Administrator, or the Creditor Trust, as
applicable, on or after the Effective Date, with the first such date occurring on or as soon as is reasonably
practicable after the Effective Date, upon which the Disbursing Agent shall make distributions to Holders
of Allowed Claims (as and if applicable) entitled to receive distributions under the Plan (except for
Holders of Allowed General Unsecured Claims), (b) the date or dates determined by the Creditor Trustee,
in its sole discretion, on or after the Effective Date, for distribution to the beneficiaries of the Creditor
Trust, or (c) the date or dates determined by the Plan Administrator for distributions under the Plan as
provided for in the Plan.

        86.      “Distribution Record Date” means the record date for purposes of determining which
Holders of Allowed Claims against or Allowed Interests in the Debtors are eligible to receive distributions
under the Plan, which date shall be the Solicitation Record Date, or such other date selected by the
Debtors. The Distribution Record Date shall not apply to Securities of the Debtors deposited with DTC or
another similar securities depository, the Holders of which may receive a distribution in accordance with
Article VII of the Plan and, as applicable, the customary procedures of DTC or another similar securities
depository.

        87.    “DSM” means DSM Finance B.V., DSM Nutritional Products Ltd., DSM Produtos
Nutricionais Brasil S.A., DSM Food Specialties B.V., DSM IP Assets B.V., DSM International B.V.,
DSM Nutritional Products AG, DSM Nutritional Products Europe Ltd., and Firmenich S.A.

        88.     “DSM AP Stipulation” means the Order Approving Stipulation Granting Adequate
Protection Relief to DSM-Firmenich AG [Docket No. 676] and the stipulation attached thereto.

         89.      “DSM Contract Claims” means any unsecured Claim against any of the Debtors arising
prior to the Petition Date from any DSM Contract.

         90.     “DSM Contracts” means those contracts, licenses and agreements identified in the DSM
Term Sheet, as each has been amended, modified, amended and restated, or otherwise modified from time
to time, as well as all other contracts, agreements and licenses by and between DSM and the Debtors and
the Debtors’ Affiliates (but excluding the DSM Loan Agreement).

         91.    “DSM Loan Agreement” means that certain Loan and Security Agreement by and among
Parent and (as defined therein) the Subsidiary Guarantors and DSM Finance B.V. dated October 11, 2022
(as further amended, supplemented, amended and restated, or otherwise modified from time to time).

        92.     “DSM Other Secured Claim” means that certain Claim in the aggregate principal amount
outstanding as of the Petition Date of $45,450,000 pursuant to the DSM Loan Agreement secured as
described in the DSM AP Stipulation (including by a lien on Parent’s right to receive certain earn-out
payments pursuant to Section 3.5 of the Asset Purchase Agreement, dated as of March 31, 2021, by and
among, DSM Nutritional Products Ltd., as buyer and Parent as seller).

         93.      “DSM Plan Promissory Note” means the note to be provided to DSM pursuant to Section
III.B. of the Plan, substantially in the form included as part of the Plan Supplement.

       94.    “DSM Plan Promissory Note Pledge Agreement” means the pledge agreement by which
Reorganized Debtors’ obligations under the DSM Plan Promissory Note will be secured by certain

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interests, pursuant to Section III.B.4 of the Plan, substantially in the form included as part of the Plan
Supplement.

        95.      “DSM RealSweet Secured Claims” means that certain claim in the aggregate principal
amount outstanding as of the Petition Date of $29,518,925 pursuant to the DSM Loan Agreement, secured
as described in the DSM AP Stipulation by a lien on Parent’s Interests in Amyris RealSweet LLC.

       96.      “DSM Term Sheet” means that certain DSM-Firmenich Restructuring Term Sheet, dated
as of December 13, 2023, between Parent and its direct and indirect subsidiaries and DSM Nutritional
Products Ltd., Firmenich S.A. and certain of their affiliates.

           97.      “DTC” means The Depository Trust Company, a New York corporation.

        98.      “Effective Date” means the first Business Day after the Confirmation Order is entered on
which (a) all conditions precedent to the occurrence of the Effective Date set forth in Article X.A of the
Plan have been satisfied or waived in accordance with Article X.D of the Plan and (b) the Plan is declared
effective by the Debtors, in consultation with Foris, the Ad Hoc Group and the Creditors’ Committee.

           99.      “Entity” has the meaning set forth in section 101(15) of the Bankruptcy Code.

       100.     “Estate” means as to each Debtor, the estate created for such Debtor in its Chapter 11
Case pursuant to section 541 of the Bankruptcy Code upon the commencement of such Debtor’s Chapter
11 Case.

           101.     “Estate Causes of Action” means all Causes of Action that are assets of the Debtors’
Estates.

       102.    “Estate Claims Settlement” means that settlement and release of the Estate Causes of
Action as provided for in Article IV.A and Article IX.C & F of the Plan in exchange for funding the
payments required under the Plan; (i) to satisfy Allowed Administrative Claims, Allowed Professional
Fees, Allowed Priority Tax Claims and U.S. Trustee Fees; and, (ii) the funding of the Estate Claims
Settlement Consideration.

       103.    “Estate Claims Settlement Consideration” means the aggregate of the Estate Claims
Settlement Cash Consideration and the Estate Claims Settlement Other Consideration.

         104.    “Estate Claims Settlement Cash Consideration” means $15,000,000 in cash which shall
be distributed Pro Rata to Classes 7 and 8 by the Disbursing Agent, based upon the Allowed Claims in
such Classes, and the Creditor Trust Funding, in each case whether or not Class 7 or Class 8 votes to
accept the Plan.

        105.   “Estate Claims Settlement Other Consideration” means the Retained Estate Causes of
Action which shall be transferred to the Creditor Trust on the Effective Date and the proceeds thereof,
which proceeds shall be part of the Creditor Trust for distribution Pro Rata to Classes 7 and 8, based upon
the Allowed Claims in such Classes, whether or not such Classes vote to accept the Plan.




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         106.     “Exchange Act” means the Securities Exchange Act of 1934, as amended, together with
the rules and regulations promulgated thereunder, as amended from time to time, or any similar federal,
state, or local Law.2

        107.     “Excluded Parties” means John Melo and Eduardo Alvarez.

        108.     “Excluded Party Direct Claim” shall mean any Direct Claim against any Excluded Party.

         109.    “Exculpated Parties” means, collectively, and in each case in its capacity as such: (a) the
Debtors; (b) the Creditors’ Committee; and (c) the Related Parties(c) Professionals for (a) and (b); (d) all
officers and directors of eachany of the foregoing parties who acted on their behalf in connection with the
matters as to which exculpation is provided hereinDebtors serving in such capacity on or after the Petition
Date and before the Effective Date; and (e) persons who acted as agents for (a) and (b) and, in doing so,
assumed fiduciary obligations of the principal.

         110.     “Executory Contract” means a contract to which one or more of the Debtors is a party and
that is subject to assumption or rejection under section 365 or 1123 of the Bankruptcy Code.

        111.    “Exit First Lien Facility” means the first lien senior secured credit facility for the Exit
First Lien Facility Amount, which shall be on the terms set forth in the Exit First Lien Facility
Documents, and which shall mature five years after the Effective Date, or if any portion of the outstanding
DIP Facility and/or Foris Prepetition Secured Loans is amended and restated or rolled-over into
indebtedness of the Reorganized Debtors, up to ten years after the Effective Date.

        112.     “Exit First Lien Facility Agent” means the administrative agent and collateral agent under
the Exit First Lien Facility, solely in their respective capacities as such.

         113.    “Exit First Lien Facility Amount” means an aggregate principal amount of up to
$160,000,000, excluding any portion of the outstanding DIP Facility and/or Foris Prepetition Secured
Loans that is amended and restated or rolled-over into indebtedness of the Reorganized Debtors with the
specific identification and amount of the tranches of the Exit First Lien Facility to be specified in the Plan
Supplement.

        114.     “Exit First Lien Facility Documents” means, collectively, the applicable credit
agreements, collateral documents, mortgages, deeds of trust, Uniform Commercial Code statements, and
other loan documents governing the Exit First Lien Facility, the material documents of which shall be
included in the Plan Supplement.

         115.     “Exit First Lien Facility Lenders” means, collectively, the financial institutions and/or
other entities that may from time from time become lenders under the Exit First Lien Facility, which
parties shall be identified in the Plan Supplement; provided that the DIP Lender and the Foris Prepetition
Secured Lenders shall provide jointly and severally a backstop commitment for a $160,000,000 exit
facility as set forth in the Plan Support Agreement and exhibits and schedules thereto.

        116.     “Federal Judgment Rate” means the federal judgment rate in effect as of the Petition
Date.




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        117.    “File,” “Filed,” or “Filing” means file, filed, or filing with the Bankruptcy Court or its
authorized designee in the Chapter 11 Cases.

       118.   “Final DIP Order” means the final order entered by the Bankruptcy Court on October 16,
2023 [Docket No. 558].

         119.    “Final Order” means, as applicable, an order or judgment of the Bankruptcy Court, or
other court of competent jurisdiction with respect to the relevant subject matter, that has not been
reversed, stayed, modified, or amended, and as to which the time to appeal, seek certiorari, or move for a
new trial, re-argument, or rehearing has expired and as to which no appeal, petition for certiorari, or other
proceeding for a new trial, re-argument, or rehearing has been timely taken; or as to which, any appeal that
has been taken or any petition for certiorari that has been or may be filed has been withdrawn with
prejudice, resolved by the highest court to which the order or judgment could be appealed or from which
certiorari could be sought, or the new trial, re-argument, or rehearing has been denied, resulted in no stay
pending appeal or modification of such order, or has otherwise been dismissed with prejudice; provided
that the possibility that a motion under Rule 60 of the Federal Rules of Civil Procedure, or any analogous
rule under the Bankruptcy Rules, may be filed with respect to such order will not preclude such order
from being a Final Order.

        120.     “Foris” means Foris Ventures, LLC and any of its Affiliates.

       121.     “Foris 2018 Loan” means that certain Amended and Restated Loan and Security
Agreement by and among Parent, as borrower, Amyris Clean Beauty, Inc., Amyris Fuels, LLC, and AB
Technologies LLC, as guarantors, and Foris Ventures, LLC, as lender, dated as of October 28, 2019, as
amended by that certain Omnibus Amendment Agreement, dated as of June 5, 2023, and as further
amended, restated, supplemented or otherwise modified from time to time.

         122.    “Foris Prepetition Secured Claims” means those certain secured claims in the
approximate aggregate principal and interest amount outstanding of at least $312,100,000 as of the
Petition Date pursuant to (i) the Foris 2018 Loan, (ii) Amended and Restated Loan and Security
Agreement by and among Amyris, as borrower, the Subsidiary Guarantors, as guarantors, and Foris, as
lender, dated as of September 27, 2022, as amended by that certain Omnibus Amendment Agreement,
dated as of June 5, 2023, and as further amended, restated, supplemented or otherwise modified from time
to time, (iii) Bridge Loan and Security Agreement by and among Parent, as borrower, the Subsidiary
Guarantors, as guarantors, and Perrara Ventures, LLC, as lender, dated as of March 10, 2023, as amended
by that certain Omnibus Amendment Agreement, dated as of June 5, 2023, and as further amended,
restated, supplemented or otherwise modified from time to time, (iv) Loan and Security Agreement by and
among Amyris, as borrower, the Subsidiary Guarantors, as guarantors, and Anesma Group, LLC, as
lender, dated as of June 5, 2023, (v) Loan and Security Agreement by and among Parent, as borrower, the
Subsidiary Guarantors, as guarantor, and Anjo Ventures, LLC, as lender, dated June 29, 2023, and (vi)
Loan and Security Agreement by and among Parent, as borrower, the Subsidiary Guarantors, as
guarantors, and Muirisc, LLC, and lender, dated as of August 2, 2023 (all of the foregoing as further
amended, supplemented, amended and restated, or otherwise modified prior to the Petition Date).

       123.    “Foris Prepetition Secured Claims Documents” means all agreements, documents, and
instruments delivered or entered into in connection with any Foris Prepetition Secured Claims, as
amended, supplemented, or modified from time to time.

       124.    “Foris Prepetition Secured Lenders” means collectively, Foris Ventures, LLC, Perrara
Ventures, LLC, Anesma Group, LLC, Anjo Ventures, LLC, and Muirisc, LLC.


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       125.   “Foris Secured Parties” means Foris Ventures, LLC, Perrara Ventures, LLC, Anesma
Group, LLC, Anjo Ventures, LLC, Muirisc, LLC, the DIP Lenders, and the DIP Agent.

        126.    “General Unsecured Claim” means any unsecured Claim against any of the Debtors, other
than: (a) an Administrative Claim; (b) a Secured Claim, (c) a Priority Tax Claim; (d) an Other Priority
Claim; (e) a Convertible Note Claim; or (e) a Section 510(b) Claim. For the avoidance of doubt, General
Unsecured Claims include (i) unsecured Claims resulting from the rejection of Executory Contracts and
Unexpired Leases, and (ii) unsecured Claims resulting from litigation against one or more of the Debtors.

        127.     “Givaudan” means Givaudan SA and its Affiliates.

       128.    “Givaudan Contracts” means those contracts, agreements and licenses identified in the
Givaudan Term Sheet, as each has been amended, modified, amended and restated, rejected, or otherwise
modified from time to time, including all other contracts, agreements and licenses by and between
Givaudan and the Debtors and the Debtors’ Affiliates.

       129.    “Givaudan Term Sheet” means the Term Sheet entered into by and between Parent and
Givaudan dated January [●]23, 2024.

        130.     “Governmental Unit” has the meaning set forth in section 101(27) of the Bankruptcy
Code.

        131.     “Holder” means an Entity holding a Claim against or an Interest in any Debtor, as
applicable.

         132.      “Impaired” means, with respect to a Class of Claims or Interests, a Class of Claims or
Interests that is impaired within the meaning of section 1124 of the Bankruptcy Code.

        133.    “Intercompany Claim” means any Claim held by a Debtor or wholly-owned Affiliate of a
Debtor against another Debtor or wholly-owned Affiliate of a Debtor.

       134.     “Intercompany Interest” means, other than an Amyris Equity Interest, any Interest in one
Debtor held by another Debtor.

         135.    “Interests” means the legal interests, equitable interests, contractual interests, equity
interests or ownership interests, or other rights of any entity in the Debtors, including all equity securities
(as defined in section 101(15) of the Bankruptcy Code), capital stock, stock certificates, common stock,
preferred stock, partnership interests, limited liability company or membership interests, rights, treasury
stock, options, warrants, contingent warrants, convertible or exchangeable securities, investment
securities, subscriptions or other agreements and contractual rights to acquire or obtain such an interest or
share in the Debtors, partnership interests in the Debtors’ stock appreciation rights, conversion rights,
repurchase rights, redemption rights, dividend rights, preemptive rights, subscription rights and liquidation
preferences, puts, calls, awards or commitments of any character whatsoever relating to any such equity,
common stock, preferred stock, ownership interests or other shares of capital stock of the Debtors or
obligating the Debtors to issue, transfer or sell any shares of capital stock whether or not certificated,
transferable, voting or denominated “stock” or a similar security.

      136.    “Interim Compensation Order” means the Order Establishing Procedures for Interim
Compensation and Reimbursement of Expenses for Professionals [Docket No. 279].

        137.    “Intrepid Engagement Letter” means that certain engagement letter between Parent and
Intrepid Investment Bankers LLC, dated July 21, 2023, setting forth the terms of Parent’s engagement of
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Intrepid as approved pursuant to that certain Order (I) Authorizing the Retention and Employment of
Intrepid Investment Bankers LLC as Investment Banker for the Debtors and Debtors in Possession,
Pursuant to 11 U.S.C. §§ 327(A) and 328, Nunc Pro Tunc to the Petition Date; (II) Waiving Certain
Requirements Imposed by Local Rule 2016-2; and (III) Granting Related Relief [Docket No. 280].

        138.     “IRS” means the United States Internal Revenue Service.

      139.     “Judicial Code” means title 28 of the United States Code, 28 U.S.C. §§ 1–4001, as
amended from time to time.

       140.   “KEIP/KERP Order” means that certain Order (I) Approving Key Employee Incentive for
Senior Leadership Employees and (II) Approving Key Employee Retention Plan for Non-Insider
Employees [Docket No. 286].

        141.     “Lavvan” means Lavvan, Inc.

         142.   “Lavvan Claims” means in the aggregate: (i) the Claims arising under, related to or
connected with, in any manner whatsoever, the Lavvan Documents; (ii) the Claims asserted by, or that
could be asserted by, Lavvan in, connection, with, or related to, the Lavvan Proceedings; and (iii) any and
all other Claims that Lavvan has, or may have, against the Debtors and its Affiliates as of the Effective
Date.

         143.    “Lavvan Documents” means (i) the Research, Collaboration and License Agreement
between Parent and Lavvan dated March 18, 2019; (ii) the Security Agreement between Parent and
Lavvan dated May 2, 2019; (iii) the Subordination Agreement between Parent and Lavvan dated May 2,
2019; (iv) the Consent and Waiver, between Parent and Foris Ventures, LLC dated May 2, 2019; (v) the
Escrow Agreement between Parent, Lavvan, and SciSafe Inc. dated May 20, 2019; (vi) the DIPA Co.,
Limited Liability Company Agreement between Parent and Lavvan dated May 2, 2019; (vii) the
Intellectual Property Assignment between Parent and DIPA Co., LLC dated May 2, 2019; (viii) the
License Agreement between Parent and DIPA Co., LLC dated May 2, 2019; (ix) the License Agreement
between Lavvan and DIPA Co., LLC dated May 2, 2019; and (x) all other documents, agreements,
contracts, licenses by and among Lavvan and the Debtors and their Affiliates, and the same have been
amended, modified, amended and restated, or otherwise modified from time to time.

         144.   “Lavvan Proceedings” mean that certain arbitration proceeding pending in the ICC
International Court of Arbitration and that certain Complaint filed in the United States District Court,
Southern District of New York (Case 1:20-cv-07386-JPO) by Lavvan as plaintiff against Parent as
defendant.

        145.     “Lavvan Proof of Claim” means Proof of Claim number 639 by Lavvan against Parent.

        146.    “Lavvan Secured Claim” means the Lavvan Claims to the extent they are secured by a
valid and enforceable Lien against any of the Debtors’ property.

         147.     “Lavvan Settlement” means the settlement, transactions and agreements among the
Parent, the Foris Secured Parties, and Lavvan, and the consideration given or received, as applicable, by
each, as set forth in, and subject to the terms and conditions of, the Lavvan Settlement Agreement.

        148.    “Lavvan Settlement Agreement” means that certain Settlement Agreement, dated as of
January [●], 2024,to be executed by and among the Parent, the Foris Secured Parties, and Lavvan
(together with all appendices, exhibits, and schedules thereto), which the Debtors shall seek approval of

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from the Bankruptcy Court as part of this Plan at the Confirmation Hearing. A copy of thebe in form and
substance consistent with that certain Lavvan Settlement Agreement shall beTerm Sheet filed as aExhibit
U to the Plan Supplement.

        149.    “Lavvan Settlement Consideration” means $15,140,000 in cash which shall be distributed
by the Disbursing Agent on account of the Allowed Secured Claim on the Effective Date in accordance
with the Plan and the Lavvan Settlement Agreement.

       150.    “Law” means any federal, state, local, or foreign law (including common law), statute,
code, ordinance, rule, regulation, order, ruling, or judgment, in each case, that is validly adopted,
promulgated, issued, or entered by a governmental authority of competent jurisdiction (including the
Bankruptcy Court).

        151.     “Lien” has the meaning set forth in section 101(37) of the Bankruptcy Code.

       152.      “Net Cash Proceeds” means Net Proceeds that are paid in cash at closing of the sale of the
Sold Assets.

        153.    “Net Proceeds” mean the cash proceeds from the sale of the Sold Assets less the “Sale
Fee” (as defined in and payable under the Intrepid Engagement Letter).

       154.   “New Board” means the new board of directors of Reorganized Amyris or each of the
Reorganized Debtors (if applicable and as the context requires).

        155.  “New Common Stock” means the common stock, common shares, ordinary shares, or
other common Interest or unit, as applicable, of Reorganized Amyris.

        156.    “New Organizational Documents” means the form of the certificates or articles of
incorporation, bylaws, shareholders’ agreement, or such other applicable formation documents, of each of
the Reorganized Debtors.

         157.    “Other Assets” means all of the assets of the Debtors’ Estates excluding: (i) the
Consumer Brands (and the proceeds of the sale thereof); (ii) the Estate Claims Settlement Consideration;
and (iii) Third-Party Release Settlement Amounts.

       158.    “Other Assets Bidding Procedures” means the bidding procedures approved by order of
the Bankruptcy Court governing the sale of the Other Assets, which shall be reasonably acceptable to the
Committee and the Ad Hoc Group.

        159.    “Other Assets Sale Order” means the order of the Bankruptcy Court governing the sale of
the Other Assets, which shall be reasonably acceptable to the Committee and the Ad Hoc Group.

       160.    “Other Assets Stalking Horse Credit Bid” means a credit bid for the Other Assets by the
DIP Lenders and the Foris Prepetition Secured Lenders in accordance with the Other Assets Bidding
Procedures and as further described in the Plan Support Agreement.

      161.       “Other Consenting Stakeholders” has the meaning ascribed to it in the Plan Support
Agreement.

         162.   “Other Priority Claim” means any Claim, other than an Administrative Claim or a
Priority Tax Claim, entitled to priority in right of payment under section 507(a) of the Bankruptcy Code.

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         163.    “Other Secured Claim” means any Secured Claim other than: (a) the DIP Facility Claims;
(b) the Foris Prepetition Secured Claims; and (c) the DSM RealSweet Secured Claims.

        164.     “Parent” means Debtor Amyris, Inc.

        165.     “Person” has the meaning set forth in section 101(41) of the Bankruptcy Code.

        166.   “Petition Date” means, as applicable, August 9, 2023, the date on which Parent and
certain Debtors commenced their respective Chapter 11 Cases, or in the case of Clean Beauty 4U
Holdings, LLC, Clean Beauty 4U LLC, and Clean Beauty Collaborative, Inc., August 21, 2023, the date
on which those Debtors commenced their respective Chapter 11 Cases.

        167.     “Plan Administrator” means the person or entity selected by the Debtors, with the
reasonable consent of the Foris Secured Parties, the Creditors’ Committee, and the Ad Hoc Group with
respect to experience and qualifications, charged with overseeing the tasks outlined in the Plan not
delegated to the Creditor Trust.

         168.    “Plan Administrator Agreement” means the agreement, which shall be in form and
substance acceptable to the Debtors and the Foris Secured Parties, setting forth, among other things, the
identity, terms of compensation, and authority of the Plan Administrator and the scope of services to be
provided by the Plan Administrator, as may be amended, supplemented, restated, or otherwise modified
from time to time, and substantially in the form to be included in the Plan Supplement; provided, however,
for the avoidance of doubt, the Debtors, the DIP Lender, and the Foris Prepetition Secured Lenders shall
have consent rights over the Plan Administrator Agreement with respect to (i) access to books, records,
and personnel (which shall be at the sole cost and expense of the Trust); (ii) preservation of attorney-client
privilege and confidentiality; (iii) the treatment of the Designated Preference Actions; and (iv) such other
terms and conditions that are not consistent with the terms hereof and the Plan Support Agreement.

       169.    “Plan Distribution” means a payment or distribution to Holders of Allowed Claims,
Allowed Interests, or other eligible Entities in accordance with the Plan.

       170.    “Plan Effective Date Funding Amount” means the amount set forth in the Plan Effective
Date Funding Schedule labeled “Foris Exit Facility Advance/Foris Other Asset Sale Cash Proceeds”,
which for the avoidance of doubt shall not exceed the aggregate of (i) $27,400,000, (ii) the Ad Hoc
Cross-Holder Group Restructuring Expense, and (iii) the Lavvan Settlement Consideration.

          171.   “Plan Effective Date Funding Schedule” means collectively the amount of the Allowed
Administrative Expenses of the Debtors’ Estates for the period November 20, 2023 through and including
February 15, 2024, and in the amounts and for each of the categories, as set forth on Schedule to the
Approved Budget labeled “Plan Effective Date Funding”, which, for the avoidance of doubt, shall not
exceed the aggregate of (i) $58,200,000, (ii) the Ad Hoc Cross-Holder Group Restructuring Expense, and
(iii) the Lavvan Settlement Consideration.

         172.    “Plan Supplement” means the compilation of documents and forms of documents,
agreements, schedules, and exhibits to the Plan (in each case, as may be altered, amended, modified, or
supplemented from time to time in accordance with the terms hereof, and in accordance with the
Bankruptcy Code and Bankruptcy Rules) to be Filed by the Debtors before the deadline set by the
Disclosure Statement Order or such later date as may be approved by the Bankruptcy Court on notice to
parties in interest, including the following, as applicable: (a) the New Organizational Documents; (b) to
the extent known, the identities of the members of the New Board; (c) the Schedule of Assumed
Executory Contracts and Unexpired Leases; (d) the Schedule of Proposed Cure Amounts; (e) the Schedule

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of Retained Causes of Action; (f) the material terms of the Exit First Lien Facility Documents; (g) the
Creditor Trust Agreement; (h) the Plan Administrator Agreement; (i) the Amended DSM Contracts, the
DSM Plan Promissory Note, the DSM Plan Promissory Note Pledge Agreement; (j) the Amended
Givaudan Contracts; and (k) the Lavvan Settlement Agreement. The Debtors shall have the right to alter,
amend, modify, or supplement the documents contained in the Plan Supplement up to the Effective Date
as set forth in the Plan, subject, in each case, to the consent rights set forth in the Plan. The Plan
Supplement shall be deemed incorporated into and part of the Plan as if set forth herein in full; provided
that, in the event of a conflict between the Plan and the Plan Supplement, the Plan Supplement shall
control in accordance with Article I.G; provided, further, that each such compilation of documents and
forms of documents, agreements, schedules, and exhibits to the Plan (in each case, as may be altered,
amended, modified, or supplemented from time to time in accordance with the terms hereof, and in
accordance with the Bankruptcy Code and the Bankruptcy Rules) shall be in form and substance
reasonably acceptable to the Foris Secured Parties.

         173.   “Plan Support Agreement” means that certain Amended and Restated Plan Support
Agreement, dated December 12, 2023 (as may be amended, supplemented or otherwise modified from
time to time in accordance with its terms) by and among Parent and (as defined therein) the Company
Parties, the Consenting Foris Prepetition Secured Lenders, the DIP Secured Parties, and the Other
Consenting Stakeholders.

        174.    “Priority Tax Claim” means any Claim of a Governmental Unit of the kind specified in
section 507(a)(8) of the Bankruptcy Code.

         175.    “Pro Rata” means the proportion that an Allowed Claim or an Allowed Interest in a
particular Class recovery pool or reserve bears to the aggregate amount of Allowed Claims or Allowed
Interests in that Class recovery pool or reserve or the proportion of the Allowed Claims or Allowed
Interests in a particular Class and other Classes entitled to share in the same recovery as such Allowed
Claim or Allowed Interests under the Plan, unless otherwise indicated; provided, however, for purposes of
calculating the properties of an Allowed Interest, calculations shall be used upon the number of shares of
common stock of Parent held by the holder of the Allowed Interest.

       176.     “Professional” means an Entity: (a) employed in the Chapter 11 Cases pursuant to a
Bankruptcy Court order in accordance with sections 327, 328, 363, or 1103 of the Bankruptcy Code and to
be compensated for services rendered prior to or as of the Confirmation Date, pursuant to sections 327,
328, 329, 330, or 331 of the Bankruptcy Code; or (b) awarded compensation and reimbursement by the
Bankruptcy Court pursuant to section 503(b)(4) of the Bankruptcy Code. For the avoidance of doubt, the
Ad Hoc Cross-Holder Group Professionals and the Ad Hoc Group Professionals are not a Professional.

         177.    “Professional Fee Amount means the aggregate amount of Professional Fee Claims and
other unpaid fees and expenses that Professionals estimate they have incurred or will incur prior to and as
of the Effective Date, which estimates Professionals shall deliver to the Debtors as set forth in Article
II.C.3 of the Plan; provided such amount is not in excess of the Approved Budget for the Professional Fee
Account. For the avoidance of doubt, the Professional Fee Amount is not a cap on the amount of Allowed
Professional Fee Claims, including, but not limited to, the Committee Professionals, that may be allowed
as Administrative Claims by the Bankruptcy Court; provided, however, the respective amounts set forth in
the definitions of Ad Hoc Cross-Holder Group Restructuring Expenses, Ad Hoc Group Restructuring
Expenses, and the Creditors’ Committee Professionals Expenses are a cap on the respective Allowed
Professional Fee Claim.

        178.    “Professional Fee Claim” means any Claim by a Professional for compensation for
services rendered or reimbursement of expenses incurred by such Professionals through and including the

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Effective Date to the extent such fees and expenses have not been paid pursuant to an order of the
Bankruptcy Court. To the extent the Bankruptcy Court denies or reduces by a Final Order any amount of
a Professional’s requested fees and expenses, then the amount by which such fees or expenses are reduced
or denied shall reduce the applicable Professional Fee Claim.

       179.   “Professional Fee Escrow Account” means an interest-bearing account funded by the
Debtors with Cash on the Effective Date in an amount equal to the total estimated Professional Fee
Amount.

       180.       “Proof of Claim” means a proof of Claim against any of the Debtors Filed in the Chapter
11 Cases.

         181.     “Proof of Interest” means a proof of Interest in any of the Debtors Filed in the Chapter 11
Cases.

        182.     "Registration Statements” means, collectively, Parent’s registration statements filed with
the SEC on Form S-1 (Nos. 333-234661, 333-238188, and 333-239823), on Form S-3ASR (No.
333-255105), and on Form S-8 (Nos. 333-258319, 333-169715, 333 172514, 333-180006, 333-187598,
333-188711, 333-195259, 333-203213, 333-210569, 333-217345, 333-224316, 333-225848, 333-234135,
333-239820, 333-258319, 333-266709 and 333-271039) and any other registration statements filed by
Parent or its subsidiaries with the SEC.

         183.   “Reinstate,” “Reinstated,” or “Reinstatement” means with respect to a Claim or Interest,
that the Claim or Interest shall be rendered Unimpaired in accordance with section 1124 of the Bankruptcy
Code.

         184.    “Related Party” means, collectively, with respect to any Entity, in each case in its
capacity as such with respect to such Entity, such Entity’s (a) current and former directors, managers,
officers, shareholders, investment committee members, special committee members, equity holders
(regardless of whether such interests are held directly or indirectly), affiliated investment funds or
investment vehicles controlled by such Entity, predecessors, participants, successors, assigns (whether by
operation of Law or otherwise), controlled subsidiaries, current, former, managed or advised entities,
accounts, or funds, Affiliates, partners, limited partners, general partners, principals, members,
management companies, fund advisors or managers, fiduciaries, employees, agents, trustees, advisory
board members, financial advisors, attorneys, accountants, investment bankers, consultants, other
representatives, restructuring advisors, and other professionals and advisors, solely to the extent such
persons or entities acted on behalf of the Released Parties or Exculpated Parties in connection with the
matters as to which exculpation or releases are provided in the Plan and (b) any such person’s or Entity’s
respective predecessors, successors, assigns, heirs, executors, estates, and nominees.

       185.      “Released Claims” means any Claim, Cause of Action, or Interest or Direct Claim that has
been released, satisfied, stayed, terminated, discharged, or is subject to compromise and settlement
pursuant to the Plan.

        186.     “Released Parties” means, collectively, and in each case, solely in their capacities as
such: (a) the Debtors; (b) the Reorganized Debtors; (c); the DIP Lenders and the DIP Agent; (d) the Foris
Prepetition Secured Lenders; (e) the Creditors’ Committee; (f) Lavvan, (g) the Ad Hoc Group
Professionals; (h) the Consenting Contract Counterparties; (i) the Consenting Convertible Noteholders;
and (j) with respect to each of the foregoing Entities in clauses (a) through (f), all Related Parties. For the
avoidance of doubt, (i) the Debtors’ current and former directors, managers, officers, employees,
professionals, and shareholders, in each case, who are notneither an Excluded Party nor listed in

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subparagraphs (e) through (l) on the Schedule of Retained Causes of Action, shall each be a Released
Party; and (ii) no Excluded Party or party listed in subparagraphs (e) through (l) the Schedule of Retained
Causes of Action shall be a Released Party.

        187.     “Releasing Parties” means collectively, and in each case in its capacity as such: (a) the
Foris Prepetition Secured Lenders; (b) the Creditors’ Committee; (c) the Consenting Convertible
Noteholders; (d) the Consenting Contract Counterparties; (e) Lavvan; (f) all Holders of Claims against the
Debtors that are bound by the Third-Party Release Settlement; and (g) all persons who hold Interests in
Parent that are bound by the Third-Party Release Settlement.

        188.   “Reorganized Debtors” means the Debtors, as reorganized pursuant to and under the Plan
and the Plan Supplement, on and after the Effective Date, or any successors or assigns thereto including
by merger, consolidation, or otherwise, and including any new entity established in connection with the
implementation of the Restructuring Transactions, including, for the avoidance of doubt, Reorganized
Parent.

        189.     “Reorganized Amyris” means the Parent on and after the Effective Date.

         190.    “Restructuring Transactions” means the mergers, amalgamations, consolidations,
arrangements, continuances, restructurings, transfers, conversions, dispositions, liquidations, formations,
dissolutions or other corporate transactions described in, approved by, contemplated by, or undertaken to
implement or facilitate the Plan prior to, on or after the Effective Date (for tax, corporate, and/or business
purposes or otherwise), including, without limitation, those described in Article IV.CD hereof, in each
case, as applicable, acceptable in form and substance to the Foris Secured Parties.

       191.    “Retained Estate Causes of Action” means collectively: (i) all Causes of Action of the
Debtors and Estates against the Excluded Parties; and (ii) the Specified Preference Actions.

        192.    “Sale Option” means the election, to be made by the DIP Lenders and the Foris
Prepetition Secured Lenders, at any time prior to the Confirmation Date, for the Debtors to close a sale of
the Other Assets pursuant to the Other Assets Bidding Procedures.

        193.    “Schedule of Assumed Executory Contracts and Unexpired Leases” means the schedule
(including any amendments, supplements, or modifications thereto) of Executory Contracts and Unexpired
Leases to be assumed by the Debtors pursuant to the Plan.

        194.     “Schedule of Proposed Cure Amounts” means any schedule (including any amendments,
supplements, or modifications thereto) of the Debtors’ good faith estimate of proposed Cure amounts (if
any) with respect to each of the Executory Contracts and Unexpired Leases to be assumed by the Debtors
pursuant to the Plan.

        195.      “Schedule of Retained Causes of Action” means the schedule of Causes of Action that
shall vest in the Reorganized Debtors on the Effective Date, which, for the avoidance of doubt, include all
section 547 preference actions, all Claims against an Excluded Party, and shall not include any of the
Causes of Action that are settled, released, or exculpated under the Plan.

        196.     “SEC” means the United States Securities and Exchange Commission.

       197.    “Section 510(b) Claim” means any Claim subject to subordination under section 510(b) of
the Bankruptcy Code, including, but not limited to, Claims asserted in or related to the Securities Actions.


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        198.    “Secured Claim” means a Claim that is: (a) secured by a Lien on property in which any
of the Debtors has an interest, which Lien is valid, perfected, and enforceable pursuant to applicable Law
or by reason of a Bankruptcy Court order, or that is subject to a valid right of setoff pursuant to section
553 of the Bankruptcy Code, to the extent of the value of the creditor’s interest in the Debtors’ interest in
such property or to the extent of the amount subject to setoff, as applicable, as determined pursuant to
section 506(a) of the Bankruptcy Code; or (b) Allowed pursuant to the Plan, or separate order of the
Bankruptcy Court, as a secured claim.

         199.    “Securities Act” means the Securities Act of 1933, as amended, 15 U.S.C. §§ 77a–77aa,
together with the rules and regulations promulgated thereunder, as amended from time to time, or any
similar federal, state, or local Law.

         200.    “Securities Actions” means (a) Bonner v. Doerr, et al., Case No. 4:19-cv-03621,
previously pending in the U.S. District Court for the Northern District of California; (b) Carlson v. Doerr,
et al., Case No. 4:19-cv-06230, previously pending in the U.S. District Court for the Northern District of
California; (c) Kimbrough v. Melo, et al., Case No. 4:20-cv-09227, previously pending in the U.S. District
Court for the Northern District of California; (d) Bonner v. Melo, Case No. 20 –CIV-04799), Superior
Court of San Mateo County; (e) Roth v. Foris Ventures, LLC, et al., Case No. 21-CV-4288-YGR, U.S.
District Court for the Northern District of California; and (f) any other previous, current or subsequent
shareholder derivative suits naming the Company and any of the Company’s current and former officers
and directors, as defendants, relating to allegedly misleading statements and omissions made in
connection with the Company’s securities filings; and (e) any appeals of the foregoing actions.

        201.     “Security” means any security, as defined in section 2(a)(1) of the Securities Act.

         202.    “Sold Assets” means the Consumer Brands Businesses that are sold and any Other Assets
that are sold.

        203.    “Solicitation Agent” means Stretto, Inc., the notice, claims, and solicitation agent retained
by the Debtors in the Chapter 11 Cases [Docket No. 53].

        204.     “Solicitation Materials” means all materials provided in connection with the solicitation
of votes on the Plan pursuant to sections 1125 and 1126 of the Bankruptcy Code.

        205.     “Solicitation Record Date” shall be December 1, 2023.

        206.    “Specified Preference Actions” means Estate Causes of Action that are preference actions
arising under Section 547 of the Bankruptcy Code with respect to all Persons except for Designated
Preference Actions, as such Specified Preference Actions are identified in the Plan Supplement.

        207.     “Substantial Consummation” has the meaning set forth in Article X.E of the Plan.

        208.     “Tax Code” means the United States Internal Revenue Code of 1986, as amended.

         209.   “Third-Party Release” means the release of Direct Claims deemed given by each of the
Releasing Parties to the Released Parties in consideration for the distributions to be made as set forth in
Article IX.D of the Plan.

       210.     “Third-Party Release Settlement” means that settlement and release of Direct Claims as
provided for in Article IV.B. and Article IX.D & G. of the Plan. in consideration for the distributions to be


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made as set forth in Article IX.D of the Plan. The documentation of the Third-Party Release Settlement
and the payment of the Third-Party Release Settlement Amounts will be included in the Plan Supplement.

        211.    “Third-Party Release Settlement Amounts” means, as applicable, the following amounts
allocated from the Net Proceeds or other assets of the Estates that would otherwise be paid to the DIP
Lenders and the Foris Prepetition Secured Lenders, as applicable:

             (A) (i) $12,714,000, consisting of that portion of the Third-Party Release Settlement Amounts
             to be distributed to the Holders of Convertible Notes, if the Third-Party Release Settlement is
             approved on a non-consensual basis; or (ii) $9,264,000, consisting of that portion of the
             Third-Party Release Settlement Amounts to be distributed to the Holders of Convertible Notes
             if the Third-Party Release Settlement is not approved on a non-consensual basis and the
             Direct Claims Threshold is satisfied as to holders of Direct Claims who are creditors (but only
             as to holders of Allowed Convertible Notes Claims who do not opt out of the Third-Party
             Release Settlement);

             (B) (i) $3,686,000, consisting of that portion of the Third-Party Release Settlement Amounts
             distributed to the Holders of General Unsecured Claims, if the Third-Party Release Settlement
             is approved on a non-consensual basis; or (ii) $2,686,000 consisting of that portion of the
             Third-Party Release Settlement Amounts distributed to the Holders of General Unsecured
             Claims if the Third-Party Release Settlement is not approved on a non-consensual basis and
             the Direct Claims Threshold is satisfied as to holders of Direct Claims who are creditors (but
             only as to Holders of Allowed General Unsecured Claims who do not opt out of the
             Third-Party Release Settlement);

             (C) (i) $5,000,000 consisting of that portion of the Third-Party Release Settlement Amounts
             distributed to the Holders of Interests as of the Voting Record Date, if the Third-Party Release
             Settlement is approved on a non-consensual basis; or (ii) $2,500,000 consisting of that portion
             of the Third-Party Release Settlement Amounts distributed to the Holders of Interests as of
             the Voting Record Date if the Third-Party Release Settlement is not approved on a
             non-consensual basis and the Direct Claims Threshold is satisfied as to holders of Direct
             Claims who are holders of any Interests (but only as to Holders of Interests who do not opt out
             of the Third-Party Release Settlement).

             With respect to A(ii), B(ii), and C(ii) of Article I.A.198 hereof, the DIP Lenders and Foris
             Prepetition Secured Lenders, as applicable, shall only allocate from the Net Proceeds, other
             assets of the Estates, or the Exit First Lien Facility (payable to the Creditor Trust or Plan
             Administrator, as applicable under the Plan), that portion necessary to pay the aggregate
             amount to be distributed to Holders of Allowed Convertible Notes Claims, Allowed General
             Unsecured Claims, and Interests, respectively, who do not opt out of the Third-Party Release
             Settlement; provided, however, that in no event shall such amounts allocated exceed the
             amounts referenced in A(ii), B(ii), and C(ii) of Article I.A.211 hereof.

         212.   “Trading Order” means the Final Order (I) Approving Notification and Hearing
Procedures for Certain Transfers of and Declarations of Worthlessness With Respect to Common Stock,
(II) Certain Transfers of Claims Against Debtors and (III) Granting Related Relief [Docket No. 215].

        213.     “Transferred Privileges” has the meaning set forth in Article V.L of the Plan.




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       214.    “Treasury Regulations” means the regulations promulgated under the Internal Revenue
Code by the United States Department of the Treasury pursuant to the Tax Code.

        215.     “Unclaimed Distribution” means any distribution under the Plan on account of an
Allowed Claim or Allowed Interest to a Holder that has not: (a) accepted a particular distribution or, in
the case of distributions made by check, negotiated such check within 180 calendar days of receipt; (b)
given notice to the Reorganized Debtors of an intent to accept a particular distribution within 180 calendar
days of receipt; (c) responded to the Debtors’ or the Reorganized Debtors’ requests for information
necessary to facilitate a particular distribution prior to the deadline included in such request for
information; provided, however, the Reorganized Debtors shall have no duty to make such a request; or
(d) timely taken any other action necessary to facilitate such distribution.

       216.      “Unexpired Lease” means a lease of nonresidential real property to which one or more of
the Debtors is a party that is subject to assumption or rejection under section 365 of the Bankruptcy Code.

         217.     “Unimpaired” means with respect to a Class of Claims or Interests, a Class of Claims or
Interests that is unimpaired within the meaning of section 1124 of the Bankruptcy Code.

        218.     “U.S. Trustee” means the Office of the United States Trustee for the District of Delaware.

        192.     “U.S. Trustee Fees” means all fees due and payable pursuant to 28 U.S.C. § 1930(a).

B.      Rules of Interpretation.

         For purposes of the Plan: (a) in the appropriate context, each term, whether stated in the singular
or the plural, shall include both the singular and the plural, and pronouns stated in the masculine,
feminine, or neuter gender shall include the masculine, feminine, and the neuter gender; (b) unless
otherwise specified, any reference herein to an existing document, schedule, or exhibit, whether or not
Filed, having been Filed or to be Filed shall mean that document, schedule, or exhibit, as it may thereafter
be amended, modified, or supplemented in accordance with the Plan or the Confirmation Order, as
applicable; (c) any reference to an Entity as a Holder of a Claim or Interest includes that Entity’s
successors and assigns; (d) unless otherwise specified, all references herein to “Articles” are references to
Articles hereof; (e) unless otherwise specified, all references herein to exhibits are references to exhibits
in the Plan Supplement; (f) unless otherwise specified, the words “herein,” “hereof,” and “hereto” refer to
the Plan in its entirety rather than to a particular portion of the Plan; (g) subject to the provisions of any
contract, charters, bylaws, partnership agreements, limited liability company agreements, operating
agreements, or other organizational documents or shareholders’ agreements, as applicable, instrument,
release, or other agreement or document entered into in connection with the Plan, the rights and
obligations arising pursuant to the Plan shall be governed by, and construed and enforced in accordance
with the applicable Law, including the Bankruptcy Code and the Bankruptcy Rules; (h) any immaterial
effectuating provisions may be interpreted by the Debtors or the Reorganized Debtors in such a manner
that is consistent with the overall purpose and intent of the Plan all without further notice to or action,
order, or approval of the Bankruptcy Court or any other Entity; (i) unless otherwise specified herein, the
rules of construction set forth in section 102 of the Bankruptcy Code shall apply; (j) any term used in
capitalized form herein that is not otherwise defined but that is used in the Bankruptcy Code or the
Bankruptcy Rules shall have the meaning assigned to that term in the Bankruptcy Code or the Bankruptcy
Rules, as the case may be; (k) all references to docket numbers of documents Filed in the Chapter 11
Cases are references to the docket numbers under the Bankruptcy Court’s Case Management and
Electronic Case Filing system; (l) all references to statutes, regulations, orders, rules of courts, and the
like shall mean as amended from time to time, and as applicable to the Chapter 11 Cases, unless otherwise
stated; (m) references to “Proofs of Claim,” “Holders of Claims,” “Disputed Claims,” and the like shall

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include “Proofs of Interest,” “Holders of Interests,” “Disputed Interests,” and the like, as applicable; (n)
captions and headings are inserted for convenience of reference only and are not intended to be a part of
or to affect the interpretation of the Plan; (o) references to “shareholders,” “directors,” and/or “officers”
shall also include “members” and/or “managers,” as applicable, as such terms are defined under the
applicable state limited liability company Laws; and (p) all references herein to consent, acceptance, or
approval may be conveyed by counsel for the respective Person or Entity that have such consent,
acceptance, or approval rights, including by electronic mail.

C.      Computation of Time.

        Unless otherwise specifically stated herein, the provisions of Bankruptcy Rule 9006(a) shall apply
in computing any period of time prescribed or allowed herein. If the date on which a transaction may
occur pursuant to the Plan shall occur on a day that is not a Business Day, then such transaction shall
instead occur on the next succeeding Business Day. Subject to the requirements of any Definitive
Document, any action to be taken on the Effective Date may be taken on or as soon as reasonably
practicable after the Effective Date.

D.      Governing Law.

        Except to the extent a rule of Law or procedure is supplied by federal Law (including the
Bankruptcy Code or the Bankruptcy Rules), and subject to the provisions of any contract, lease,
instrument, release, indenture, or other agreement or document entered into expressly in connection
herewith, the rights and obligations arising hereunder shall be governed by, and construed and enforced in
accordance with, the Laws of the State of Delaware, without giving effect to conflict of Laws principles;
provided that corporate governance matters relating to the Debtors or the Reorganized Debtors, as
applicable, shall be governed by the Laws of the jurisdiction of incorporation or formation of the relevant
Debtor or Reorganized Debtor, as applicable.

E.      Reference to Monetary Figures.

       All references in the Plan to monetary figures shall refer to currency of the United States of
America, unless otherwise expressly provided herein.

F.      Reference to the Debtors or the Reorganized Debtors.

         Except as otherwise specifically provided in the Plan to the contrary, references in the Plan to the
Debtors or the Reorganized Debtors shall mean the Debtors and the Reorganized Debtors, as applicable,
to the extent the context requires.

G.      Controlling Document.

        In the event of an inconsistency between the Plan and the Disclosure Statement, the terms of the
Plan shall control in all respects. In the event of an inconsistency between the Plan and the Plan
Supplement, the terms of the relevant provision in the Plan Supplement shall control (unless stated
otherwise in such Plan Supplement document or in the Confirmation Order). In the event of an
inconsistency between the Confirmation Order and the Plan, including the Plan Supplement, or the
Disclosure Statement, the Confirmation Order shall control.




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                                   ARTICLE II.
       ADMINISTRATIVE CLAIMS, DIP FACILITY CLAIMS, AND PRIORITY CLAIMS

         In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Claims,
Professional Fee Claims, DIP Facility Claims, Priority Tax Claims and U.S. Trustee Fees have not been
classified and, thus, are excluded from the Classes of Claims and Interests set forth in Article III hereof.

A.      Administrative Claims.

         1. General Provisions. Except with respect to the Professional Fee Claims and Claims for fees
and expenses pursuant to section 1930 of chapter 123 of title 28 of the United States Code, and except to
the extent that a Holder of an Allowed Administrative Claim and the Debtor(s) against which such
Allowed Administrative Claim is asserted agree to less favorable treatment for such Holder, or such
Holder has been paid by any Debtor on account of such Allowed Administrative Claim prior to the
Effective Date, each Holder of such an Allowed Administrative Claim will receive in full and final
satisfaction of its Allowed Administrative Claim an amount of Cash equal to the amount of such Allowed
Administrative Claim in accordance with the following: (a) if an Administrative Claim is Allowed on or
prior to the Effective Date, on the Effective Date or as soon as reasonably practicable thereafter (or, if not
then due, when such Allowed Administrative Claim is due or as soon as reasonably practicable
thereafter); (b) if such Administrative Claim is not Allowed as of the Effective Date, no later than thirty
days after the date on which an order Allowing such Administrative Claim becomes a Final Order, or as
soon as reasonably practicable thereafter; (c) if such Allowed Administrative Claim is based on liabilities
incurred by the Debtors in the ordinary course of their business after the Petition Date, in accordance with
the terms and conditions of the particular transaction giving rise to such Allowed Administrative Claim
without any further action by the Holder of such Allowed Administrative Claim; (d) at such time and upon
such terms as may be agreed upon by such Holder and the Debtors or the Reorganized Debtors, as
applicable; or (e) at such time and upon such terms as set forth in an order of the Bankruptcy Court;
provided, further, to the extent any Allowed Administrative Claim is not paid on the Effective Date, such
Allowed Administrative Claim shall be paid by the Reorganized Debtors to the extent required under the
Plan.

        Except as otherwise provided below in the next paragraph, Holders of Administrative Claims that
are required to File and serve a request for payment of such Administrative Claims must do so by the
Administrative Claims Bar Date. Objections to such requests must be Filed and served on the requesting
party and the Debtors (if the Debtors are not the objecting party) by the Administrative Claims Objection
Bar Date. Holders of such Claims who do not File and serve such requests by the Administrative Claims
Bar Date shall be forever barred, estopped, and enjoined from asserting such Administrative Claims
against the Debtors or the Reorganized Debtors, and such Administrative Claims shall be deemed
compromised, settled, and released as of the Effective Date. After notice and a hearing in accordance
with the procedures established by the Bankruptcy Code, the Bankruptcy Rules, and any prior Bankruptcy
Court orders, the Allowed amounts, if any, of Administrative Claims shall be determined by, and satisfied
in accordance with, an order that becomes a Final Order of the Bankruptcy Court.

      HOLDERS OF ADMINISTRATIVE CLAIMS FOR UNPAID INVOICES THAT ARISE IN
THE ORDINARY COURSE OF THE DEBTORS’ BUSINESS AND WHICH ARE NOT DUE AND
PAYABLE ON OR BEFORE THE EFFECTIVE DATE SHALL BE PAID IN THE ORDINARY
COURSE OF BUSINESS IN ACCORDANCE WITH THE TERMS THEREOF AND NEED NOT
FILE ADMINISTRATIVE CLAIMS.




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B.      DIP Facility Claims.

         The DIP Facility Claims shall be deemed to be Allowed Claims in the full amount outstanding
under the DIP Facility Loan Agreement as of the Effective Date (including any unpaid accrued interest
and unpaid fees, expenses, and other obligations under the DIP Facility Loan Agreement as of the
Effective Date). On the Effective Date, in full and complete satisfaction of the DIP Facility Claims, the
DIP Lender will receive, at the option of the DIP Lender, in its sole discretion, the Net Proceeds
remaining after funding the payments required under the Plan (i) to satisfy Allowed Administrative
Claims, Allowed Professional Fees, Allowed Priority Tax Claims and U.S. Trustee Fees (subject to the
Plan Effective Date funding), (ii) on account of the treatment of Classes 1, 2, 6, 7, & 8, (iii) to provide the
funding of the Estate Claims Settlement Cash Consideration, (iv) to provide the funding of the Third-Party
Release Settlement Amounts, (v) to provide the funding of the Lavvan Settlement Consideration, and the
remaining DIP Facility Claims after such application of Net Proceeds shall at the option, of the DIP
Lender, in its sole discretion, be rolled up (or assumed by the Reorganized Debtors), converted,
exchanged, refinanced or amended and restated, into: (x) the Exit First Lien Facility and/or (y) 100% of
New Common Stock. Any remaining DIP Facility Claims not rolled up (or assumed by the Reorganized
Debtors), converted, exchanged, refinanced or amended and restated, into: (x) the Exit First Lien Facility
and/or (y) 100% of New Common Stock shall neither receive nor retain any property under the Plan. The
DIP Lender may allocate ownership of the New Common Stock among its Affiliates in its sole discretion.
Except as otherwise expressly provided in the DIP Facility Loan Agreement or the DIP Orders or the Exit
First Lien Facility, upon the indefeasible payment or satisfaction in full of all Allowed DIP Facility
Claims, all commitments under the DIP Facility Loan Agreement shall terminate and all Liens and
security interests granted to secure the DIP Facility Claims shall be automatically terminated and of no
further force and effect, without any further notice to or action, order, or approval of the Bankruptcy Court
or any other Entity.

        Notwithstanding anything to the contrary in this Plan or the Confirmation Order, the DIP Facility
and the DIP Facility Documents shall continue in full force and effect after the Effective Date with respect
to (x) any DIP Facility Claims rolled up (including as assumed by the Reorganized Debtors), converted,
exchanged, refinanced, or amended and restated into the Exit First Lien Facility and (y) any contingent or
unsatisfied obligations thereunder, as applicable, including, but not limited to, those provisions relating to
the rights of the DIP Agent and the DIP Lenders to expense reimbursement, indemnification, and any
other similar obligations of the Debtors to the DIP Agent and the DIP Lenders (which rights shall be fully
enforceable against the Reorganized Debtors) and any provisions thereof that may survive termination or
maturity of the DIP Facility in accordance with the terms thereof.

C.      Professional Fee Claims.

        1. Final Fee Applications and Payment of Professional Fee Claims.

         All final requests for payment of Professional Fee Claims for services rendered and
reimbursement of expenses incurred prior to the Effective Date must be Filed no later than forty-five days
after the Effective Date. The Bankruptcy Court shall determine the Allowed amounts of such Professional
Fee Claims after notice and a hearing in accordance with the procedures established by the Bankruptcy
Court, including the Interim Compensation Order. The Reorganized Debtors shall pay Professional Fee
Claims in Cash in the amount the Bankruptcy Court Allows, including from the Professional Fee Escrow
Account, as soon as reasonably practicable after such Professional Fee Claims are Allowed. To the extent
that funds held in the Professional Fee Escrow Account are insufficient to satisfy the amount of
Professional Fee Claims owing to the Professionals, such Professionals shall have an Allowed
Administrative Claim for any such deficiency, which shall be satisfied in accordance with Article II.A of


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the Plan, subject, however, to the capped amounts set forth in the defined terms Ad Hoc Group
Restructuring Expenses and Creditors’ Committee Professionals Expenses.

        2. Professional Fee Escrow Account.

        No later than the Effective Date, the Debtors shall establish and fund the Professional Fee Escrow
Account with Cash equal to the Professional Fee Amount. The Professional Fee Escrow Account shall be
maintained in trust solely for the Professionals until all Professional Fee Claims Allowed by the
Bankruptcy Court have been irrevocably paid in full pursuant to one or more Final Orders and any
invoices for fees and expenses incurred after the Effective Date in connection with the final fee
applications. Such funds shall not be considered property of the Debtors’ Estates. The amount of
Allowed Professional Fee Claims shall be paid in Cash to the Professionals by the Reorganized Debtors
from the Professional Fee Escrow Account as soon as reasonably practicable after such Professional Fee
Claims are Allowed. When all such Allowed Professional Fee Claims have been paid in full, any
remaining amount in the Professional Fee Escrow Account shall promptly be transferred to the
Reorganized Debtors without any further notice to or action, order, or approval of the Bankruptcy Court.

        3. Professional Fee Amount.

         Professionals shall reasonably estimate their unpaid Professional Fee Claims and other unpaid
fees and expenses incurred in rendering services to the Debtors before and as of the Effective Date, and
shall deliver such estimate to the Debtors no later than three days before the Effective Date; provided that
such estimate shall not be deemed to limit the amount of the fees and expenses that are the subject of each
Professional’s final request for payment in the Chapter 11 Cases. If a Professional does not provide an
estimate, the Debtors or the Reorganized Debtors may estimate the unpaid and unbilled fees and expenses
of such Professional; provided, however, that such estimate shall not be binding or considered an
admission with respect to the fees and expenses of such Professional. The total aggregate amount so
estimated as of the Effective Date shall be utilized by the Debtors to determine the amount to be funded to
the Professional Fee Escrow Account; provided, further, that the Reorganized Debtors shall use Cash on
hand to increase the amount of the Professional Fee Escrow Account to the extent fee applications are
filed after the Effective Date in excess of the amount held in the Professional Fee Escrow Account based
on such estimates; provided, however, (x) the amount funded in the Professional Fee Escrow Account on
account of the Professional Fee Amount shall not exceed the amount in the Approved Budget for
Professional Fees; and (y) shall not exceed the capped amounts set forth in the defined terms Ad Hoc
Group Restructuring Expenses and the Creditors’ Committee Professionals Expenses.

D.      Priority Tax Claims.

        Except to the extent that a Holder of an Allowed Priority Tax Claim agrees to less favorable
treatment, in full and final satisfaction, settlement, release, and discharge of, and in exchange for, each
Allowed Priority Tax Claim, each Holder of such Allowed Priority Tax Claim shall be treated in
accordance with the terms set forth in section 1129(a)(9)(C) of the Bankruptcy Code.

E.      Payment of Statutory Fees and Reporting to the U.S. Trustee.

        All fees due and payable pursuant to 28 U.S.C. § 1930(a) shall be paid by the Debtors, the
Reorganized Debtors, or the Disbursing Agent (on behalf of the Reorganized Debtors), as applicable, for
each quarter (including any fraction thereof) until the Chapter 11 Cases are converted, dismissed, or
closed, whichever occurs first. All monthly reports shall be filed, and all fees due and payable pursuant to
section 1930(a) of title 28 of the United States Code, shall be paid by the Debtors or the Reorganized
Debtors (or the Distribution Agent on behalf of the Reorganized Debtors), as applicable, on the Effective

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Date. Following the Effective Date, the Reorganized Debtors (or the Distribution Agent on behalf of the
Reorganized Debtors) shall (a) pay such fees as such fees are assessed and come due for each quarter
(including any fraction thereof) and (b) File quarterly reports in a form reasonably acceptable to the U.S.
Trustee. Each Debtor shall remain obligated to pay such quarterly fees to the U.S. Trustee and to file
quarterly reports until the earliest of that particular Debtor’s case being closed, dismissed, or converted to
a case under chapter 7 of the Bankruptcy Code.

F.      Ad Hoc Group Restructuring Expenses

        If the Ad Hoc Group Acceptance Event has occurred and is continuing, the Ad Hoc
Group Restructuring Expenses payable by the Debtors shall constitute Allowed Administrative Claims
and shall be paid in full in Cash pursuant to (and subject to) the terms and conditions of the Ad
Hoc Group Fee Reimbursement Letter, without the need to file a proof of such Claim and without further
order of the Court. The fees and expenses of the Ad Hoc Group payable pursuant to the Ad Hoc Group
Fee Reimbursement Letter shall be a cap on the fees and expenses of the Ad Hoc Group Professionals
paid by the Debtors (excluding the fees and expenses paid by the Debtors to the Ad Hoc Group
Professionals prior to the Effective Date). For avoidance of doubt, the Ad Hoc Group Restructuring
Expenses shall not, in the aggregate amount, exceed $1,700,000.00.

G.      Ad Hoc Cross-Holder Group Restructuring Expenses.

        If the Ad Hoc Cross-Holder Group Acceptance Event has occurred and is continuing, the Ad
Cross-Holder Group Restructuring Expenses payable by the Debtors shall constitute Allowed
Administrative Claims and shall be paid in full in Cash without the need to file a proof of such Claim and
without further order of the Court. The fees and expenses of the Ad Hoc Cross-Holder Group payable
pursuant to the Plan shall be a cap on the fees and expenses of the Ad Hoc Cross-Holder Group
Professionals paid by the Debtors. For avoidance of doubt, the Ad Hoc Cross-Holder Group Restructuring
Expenses shall not, in the aggregate amount, exceed $450,000.00.

                                    ARTICLE III.
              CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS

A.      Classification of Claims and Interests.

         Except for the Claims addressed in Article II hereof, all Claims and Interests are classified in the
Classes set forth below in accordance with sections 1122 and 1123(a)(1) of the Bankruptcy Code. A
Claim or an Interest, or any portion thereof, is classified in a particular Class only to the extent that any
portion of such Claim or Interest fits within the description of that Class and is classified in other Classes
to the extent otherwise provided by Law and except to the extent that any portion of the Claim or Interest
fits within the description of such other Classes. A Claim or an Interest also is classified in a particular
Class for the purpose of receiving distributions under the Plan only to the extent that such Claim or
Interest is an Allowed Claim or Allowed Interest in that Class and has not been paid, released, or
otherwise satisfied prior to the Effective Date.

         The Plan constitutes a separate Plan for each of the Debtors, and the classification of Claims and
Interests set forth herein shall apply separately to each of the Debtors, except as expressly set forth herein.

                Class         Claims and Interests             Status          Voting Rights
                                                                            Not Entitled to Vote
             Class 1      Other Secured Claims              Unimpaired      (Presumed to
                                                                            Accept)

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                Class        Claims and Interests            Status         Voting Rights
                                                                         Not Entitled to Vote
             Class 2     Other Priority Claims            Unimpaired     (Presumed to
                                                                         Accept)
                         Foris Prepetition Secured
             Class 3                                      Impaired       Entitled to Vote
                         Claims
                         DSM RealSweet Secured
             Class 4                                      Impaired       Entitled to Vote
                         Claims
             Class 5     DSM Other Secured Claims         Impaired       Entitled to Vote
             Class 6     Lavvan Secured Claim             Impaired       Entitled to Vote
             Class 7     Convertible Note Claims          Impaired       Entitled to Vote
             Class 8     General Unsecured Claims         Impaired       Entitled to Vote
             Class 9     DSM Contract Claims              Impaired       Entitled to Vote
             Class 10    Givaudan Contract Claims         Impaired       Entitled to Vote
                                                                         Not Entitled to Vote
             Class 11    Intercompany Claims              Impaired       (Consented to
                                                                         Treatment)
                                                                         Not Entitled to Vote
             Class 12    Section 510(b) Claims            Impaired
                                                                         (Deemed to Reject)
                                                                         Not Entitled to Vote
             Class 13    Intercompany Interests           Unimpaired
                                                                         (Deemed to Accept)
                                                                         Not Entitled to Vote
             Class 14    Amyris Equity Interests          Impaired
                                                                         (Deemed to Reject)

B.      Treatment of Claims and Interests.

         Each Holder of an Allowed Claim or Allowed Interest, as applicable, shall receive under the Plan
the treatment described below in full and final satisfaction, settlement, release, and discharge of and in
exchange for such Holder’s Allowed Claim or Allowed Interest, as applicable, except to the extent
different treatment is agreed to in writing by the Debtors or the Reorganized Debtors, as applicable, and
the Holder of such Allowed Claim or Allowed Interest, as applicable. Unless otherwise indicated, the
Holder of an Allowed Claim or Allowed Interest, as applicable, shall receive such treatment on the
Effective Date (or, if payment is not then due, in accordance with such Claim’s or Interest’s terms in the
ordinary course of business) or as soon as reasonably practicable thereafter.

        1. Class 1 – Other Secured Claims

                 (a)    Classification: Class 1 consists of all Allowed Other Secured Claims.




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                 (b)   Treatment: Except to the extent that a Holder of an Allowed Other Secured
                       Claim agrees to a less favorable treatment, as determined by the Debtors or the
                       Reorganized Debtors, as applicable, in full and final satisfaction of such Allowed
                       Other Secured Claim, each Holder of an Allowed Other Secured Claim shall
                       receive, at the option of the applicable Debtor or the Reorganized Debtors, as
                       applicable:

                       (i)     payment in full in Cash of its Allowed Other Secured Claim;

                       (ii)    the collateral securing its Allowed Other Secured Claim;

                       (iii)   Reinstatement of its Allowed Other Secured Claim; or

                       (iv)    such other treatment that renders its Allowed Other Secured Claim
                               Unimpaired in accordance with section 1124 of the Bankruptcy Code.

                 (c)   Voting: Class 1 is Unimpaired under the Plan. Holders of Allowed Other
                       Secured Claims are conclusively presumed to have accepted the Plan pursuant to
                       section 1126(f) of the Bankruptcy Code. Therefore, such Holders are not entitled
                       to vote to accept or reject the Plan.

        2. Class 2 – Other Priority Claims

                 (a)   Classification: Class 2 consists of all Allowed Other Priority Claims.

                 (b)   Treatment: Except to the extent that a Holder of an Allowed Other Priority Claim
                       agrees to a less favorable treatment, as determined by the Debtors or the
                       Reorganized Debtors, as applicable, in full and final satisfaction of such Allowed
                       Other Priority Claim, each Holder of an Allowed Other Priority Claim shall
                       receive, at the option of the applicable Debtor or the Reorganized Debtors, as
                       applicable:

                       (i)     payment in full in Cash of its Allowed Other Priority Claim; or

                       (ii)    such other treatment in a manner consistent with section 1129(a)(9) of the
                               Bankruptcy Code.

                 (c)   Voting: Class 2 is Unimpaired under the Plan. Holders of Allowed Other Priority
                       Claims are conclusively presumed to have accepted the Plan pursuant to section
                       1126(f) of the Bankruptcy Code. Therefore, such Holders are not entitled to vote
                       to accept or reject the Plan.

        3. Class 3 – Foris Prepetition Secured Claims

                 (a)   Classification: Class 3 consists of all Allowed Foris Prepetition Secured Claims.

                 (b)   Allowance: The Foris Prepetition Secured Claims shall be deemed Allowed in the
                       aggregate principal amount of at least $296,000,000 plus at least $16,100,000 of
                       accrued and unpaid interest as of the Petition Date, for a total of at least
                       $312,100,000 as of the Petition Date, plus any other premiums, fees, costs, or


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                       other amounts due and owing pursuant to the Foris Prepetition Secured Claims
                       Documents.

                 (c)   Treatment: On the Effective Date, Holders of the Foris Prepetition Secured
                       Claims will receive, at the option of the Foris Prepetition Secured Lenders, in
                       each of their sole discretion, the Net Proceeds remaining after funding the
                       payments required under the Plan (i) to satisfy Allowed Administrative Claims,
                       Allowed Professional Fees, Allowed Priority Tax Claims and U.S. Trustee Fees
                       (subject to the Plan Effective Date Funding), (ii) on account of the treatment of
                       Classes 1, 2, 7, & 8, (iii) to provide the funding of the Estate Claims Settlement
                       Cash Consideration, (iv) to provide the funding of the Third-Party Release
                       Settlement Amounts, and (v) to provide the funding of the Lavvan Settlement
                       Consideration, and the then remaining Foris Prepetition Secured Claims shall, at
                       the option of the Foris Prepetition Secured Lenders, in each of their sole
                       discretion, be rolled up, converted, exchanged, refinanced or amended and
                       restated, into: (x) the Exit First Lien Facility and/or (y) 100% of New Common
                       Stock of Reorganized Amyris. Any remaining Foris Prepetition Secured Claims
                       not rolled up, converted, exchanged, refinanced or amended and restated, into: (x)
                       the Exit First Lien Facility and/or (y) 100% of New Common Stock of
                       Reorganized Amyris shall neither receive nor retain any property under the Plan.

                 (d)    Voting: Class 3 is Impaired under the Plan. Holders of Allowed Foris
                        Prepetition Secured Claims are entitled to vote to accept or reject the Plan.

                 (e)   Other: Notwithstanding anything to the contrary in this Plan or the Confirmation
                       Order, the Foris Prepetition Secured Claims shall continue in full force and effect
                       after the Effective Date with respect to (x) any Foris Prepetition Secured Claims
                       rolled up, converted, exchanged, refinanced, or amended and restated into the
                       Exit First Lien Facility, or as may be assumed by a buyer in connection with the
                       Other Assets Sale, and (y) any contingent or unsatisfied obligations thereunder, as
                       applicable, including, but not limited to, those provisions relating to the rights of
                       the Foris Prepetition Secured Lenders to expense reimbursement, indemnification,
                       and any other similar obligations of the Debtors to the Foris Prepetition Secured
                       Lenders (which rights shall be fully enforceable against the Reorganized Debtors
                       or the buyer in connection with the Other Assets Sale, as applicable) and any
                       provisions thereof that may survive termination or maturity of the Foris
                       Prepetition Secured Claims.

        4. Class 4 – DSM RealSweet Secured Claim

                 (a)   Classification: Class 4 consists of all Allowed DSM RealSweet Secured Claim.




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                 (b)   Treatment: On the Effective Date, (x) if DSM votes to accept the Plan and the
                       DSM Term Sheet is implemented in full, then in full and complete satisfaction of
                       the DSM RealSweet Secured Claim, DSM will receive on account of the Allowed
                       DSM RealSweet Secured Claim the DSM Plan Promissory Note issued by
                       Reorganized Amyris and secured by the DSM Plan Promissory Note Pledge
                       Agreement; and (y) if (i) DSM votes to reject the Plan or (ii) DSM votes to accept
                       the Plan but the DSM Term Sheet is not implemented in full, then DSM will
                       receive in full and complete satisfaction of its Allowed DSM RealSweet Secured
                       Claim, payment in cash on the Effective Date, or as soon as practical thereafter,
                       of the amount of the Allowed DSM RealSweet Secured Claim.

                 (c)   Voting: Class 4 is Impaired under the Plan. The Holder of the Allowed DSM
                       RealSweet Secured Claim is entitled to vote to accept or reject the Plan.

        5. Class 5 – DSM Other Secured Claims

                 (a)   Classification: Class 5 consists of all Allowed DSM Other Secured Claims.

                 (b)   Treatment: On the Effective Date, in full and complete satisfaction of the DSM
                       Other Secured Claims, DSM’s obligation to make earn-out payments to the
                       Debtors under the DSM Agreements will be offset against the DSM Other
                       Secured Claims, and DSM will neither receive nor retain any other property under
                       the Plan on account of the DSM Other Secured Claims.

                 (c)   Voting: Class 5 is Impaired under the Plan. The Holder of the Allowed DSM
                       Other Secured Claims is entitled to vote to accept or reject the Plan.

        6. Class 6 – Lavvan Secured Claim

                 (a)   Classification: Class 6 consists of the Lavvan Secured Claim.




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                 (b)   Treatment: On the Effective Date, in full and complete satisfaction of the Lavvan
                       Secured Claim, Lavvan shall receive the Lavvan Settlement Consideration in
                       accordance with the Lavvan Settlement Agreement. At such time as the Allowed
                       Lavvan Secured Claim is satisfiedpaid in cash in the amount of the Lavvan
                       Settlement Consideration, the purported liens securing the Allowed Lavvan
                       Secured Claim shall automatically terminate and be of no further force and effect
                       and the Reorganized DebtorsAmyris may take all actions necessary to effectuate
                       and implement the same. The distribution, right and treatment of the Allowed
                       Lavvan Secured Claim, as provided herein shall be the sole source of recovery for
                       Lavvan against the Debtors or the Foris Secured Parties, or any of their respective
                       Related Parties, in any regard, on account of the Lavvan Claims, the Lavvan Proof
                       of Claim, in connection with, related to, arising in or under the Lavvan
                       Documents, or the relationship among Lavvanthe Debtors, the Foris Secured
                       Parties, and Lavvan. Other than the Allowed Lavvan Secured Claim provided for
                       hereunder, Lavvan shall have no other Allowed Claim in the Chapter 11 Cases.
                       For the avoidance of doubt, Lavvan shall have no Allowed Administrative Claim,
                       no Allowed General Unsecured Claims, no Allowed Other Secured Claim, and no
                       Allowed Other Priority Claims in the Chapter 11 Cases.

                 (c)   Voting: Class 6 is Impaired under the Plan. The Holder of the Lavvan Secured
                       Claim is entitled to vote to accept or reject the Plan.

        7. Class 7 – Convertible Note Claims

                 (a)   Classification: Class 7 consists of all Convertible Note Claims.

                 (b)   Treatment: On the Effective Date (or as soon as practicable thereafter), in full
                       and complete satisfaction of the Convertible Note Claims, whether or not Class 7
                       votes to accept the Plan, each Holder of an Allowed Convertible Note Claim will
                       receive from the Creditor Trust on account of such Allowed Convertible Note
                       Claim, a Pro Rata distribution of the Creditor Trust Interests distributable to Class
                       7 based upon the Allowed Claims in Class 7 and Class 8. On the Effective Date,
                       the Allowed Convertible Note Claims shall be discharged without further notice
                       to, approval of, or action by any Person or Entity.

                 (c)   Voting: Class 7 is Impaired under the Plan. The Holders of the Allowed
                       Convertible Note Claims are entitled to vote to accept or reject the Plan.

                 (d)   Other: For the avoidance of doubt, and separate and apart from the treatment of
                       Class 7, Holders of Allowed Class 7 Claims who are also Releasing Parties shall
                       also receive, in exchange for their granting Third-Party Release, pro rata
                       distributions of the applicable Third-Party Release Settlement Amounts as set
                       forth in Article I.A.198.




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        8. Class 8 – General Unsecured Claims

                 (a)   Classification: Class 8 consists of all Allowed General Unsecured Claims.

                 (b)   Treatment: Holders of Allowed General Unsecured Claims will receive from the
                       Creditor Trust on account of the Allowed General Unsecured Claims in full and
                       complete satisfaction of such Claims, on the Effective Date, (or as soon as
                       practicable thereafter), whether or not Class 8 votes to accept or reject the Plan, a
                       Pro Rata distribution of the Creditor Trust Interests distributable to Class 8 based
                       upon the Allowed Claims in Class 7 and Class 8. On the Effective Date, Allowed
                       General Unsecured Claims shall be discharged without further notice to, approval
                       of, or action by any Person or Entity.

                 (c)   Voting: Class 8 is Impaired under the Plan. The Holders of the Allowed General
                       Unsecured Claims are entitled to vote to accept or reject the Plan.

                 (d)   Other: For the avoidance of doubt, and separate and apart from the treatment of
                       Class 8, Holders of Allowed Class 8 Claims who are also Releasing Parties shall
                       also receive, in exchange for their granting Third-Party Release, pro rata
                       distributions of the applicable Third-Party Release Settlement Amounts as set
                       forth in Article I.A.198.

        9. Class 9 – DSM Contract Claims

                 (a)   Classification: Class 9 consists of all Allowed DSM Contract Claims.

                 (b)   Treatment: On the Effective Date, (x) if DSM votes to accept the Plan and the
                       DSM Term Sheet is implemented in full, then the DSM Contracts shall be
                       modified as set forth in the DSM Term Sheet, the DSM Contract Claims shall be
                       Allowed in the amount of $0, and DSM shall neither receive nor retain any
                       property under the Plan on account of the DSM Contract Claims except as
                       provided for in the Amended DSM Contracts; or (y) if (i) DSM votes to reject the
                       Plan or (ii) DSM votes to accept the Plan but the DSM Term Sheet is not
                       implemented in full, then the DSM Contracts shall be rejected and any Allowed
                       DSM Contract Claims arising from such rejection shall be treated as General
                       Unsecured Claims for purposes of distributions under the Plan.

                 (c)   Voting: Class 9 is Impaired under the Plan. The Holder of the Allowed DSM
                       Contract Claims is entitled to vote to accept or reject the Plan.

        10. Class 10 – Givaudan Contract Claims

                 (a)   Classification: Class 10 consists of all Allowed Givaudan Contract Claims.




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                 (b)   Treatment: On the Effective Date, (x) if Givaudan votes to accept the Plan, the
                       Givaudan Contracts shall be modified as set forth in the Amended Givaudan
                       Contract and the Givaudan Contract Claims shall be allowed in the amount of $0
                       and Givaudan shall neither receive nor retain any property under the Plan on
                       account of the Givaudan Contract Claims except as otherwise provided in the
                       Amended Givaudan Contract; or (y) if Givaudan votes to reject the Plan, the
                       Givaudan Contracts shall be rejected and any Allowed Givaudan Contract Claims
                       arising from such rejection shall be treated as a General Unsecured Claim for
                       purposes of distribution under the Plan and shall receive the treatment provided
                       for General Unsecured Claims.

                 (c)   Voting: Class 10 is Impaired under the Plan. The Holder of the Allowed
                       Givaudan Contract Claims is entitled to vote to accept or reject the Plan.

        11. Class 11 – Intercompany Claims

                 (a)   Classification: Class 11 consists of all Allowed Intercompany Claims.

                 (b)   Treatment: On the Effective Date, such Claims shall be, at the option of the
                       Debtors or the Reorganized Debtors, either:

                       (i)     Reinstated;

                       (ii)    adjusted, converted to equity, otherwise set off, settled, distributed, or
                               contributed; or

                       (iii)   canceled, released, or discharged without any distribution on account of
                               such Claims.

                       The Plan and the distributions contemplated thereby constitute a global settlement
                       of any and all Intercompany Claims and Causes of Action by and between any of
                       the Debtors and/or wholly-owned Affiliates of a Debtor that may exist as of the
                       Effective Date. The Plan shall be considered a settlement of the Intercompany
                       Claims pursuant to Bankruptcy Rule 9019.

                 (c)   Voting: Class 11 is Impaired under the Plan, but the members thereof (the
                       Debtors, proponents of the Plan, and wholly-owned Affiliates thereof) have
                       agreed to the treatment under the Plan.

        12. Class 12 – Section 510(b) Claims

                 (a)   Classification: Class 12 consists of all Allowed Section 510(b) Claims.

                 (b)   Allowance: Notwithstanding anything to the contrary herein, a Section 510(b)
                       Claim may only become Allowed by Final Order of the Bankruptcy Court.

                 (c)   Treatment: In full and final satisfaction of its Allowed Section 510(b) Claim, on
                       the Effective Date, each Holder of an Allowed Section 510(b) Claim will neither
                       receive nor retain any property under the Plan.



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                 (d)    Voting: Class 12 is Impaired under the Plan. Holders of Allowed Section 510(b)
                        Claims are deemed to reject the Plan.

        13. Class 13 – Intercompany Interests

                 (a)    Classification: Class 13 consists of all Allowed Intercompany Interests.

                 (b)    Treatment: All Interests of the other Debtors (other than Parent) shall remain
                        issued and outstanding; except to the extent a Debtor other than Parent is
                        dissolved, liquidated and wound down under the Plan, in which case, the Interests
                        of such Debtor shall be canceled.

                 (c)    Voting: Class 13 is Unimpaired under the Plan. Holders of Intercompany
                        Interests are deemed to accept the Plan. Such Holders are not entitled to vote to
                        accept or reject the Plan.

        14. Class 14 – Amyris Equity Interests

                 (a)    Classification: Class 14 consists of all Amyris Equity Interests.

                 (b)    Treatment: The Amyris Equity Interests shall be extinguished, and Holders of
                        such Equity Interests will not receive any distribution on account of such Equity
                        Interests.

                 (c)    Voting: Class 14 is Impaired under the Plan. Holders of Amyris Equity Interests
                        are deemed to have rejected the Plan pursuant to section 1126(g) of the
                        Bankruptcy Code. Therefore, such Holders are not entitled to vote to accept or
                        reject the Plan.

C.      Special Provision Governing Unimpaired Claims.

         Except as otherwise provided in the Plan or the Plan Supplement, nothing under the Plan shall
affect the Debtors’ or the Reorganized Debtors’ rights regarding any Unimpaired Claim, including all
rights regarding legal and equitable defenses to, or setoffs or recoupments against, any such Unimpaired
Claim.

D.      Elimination of Vacant Classes.

         Any Class of Claims or Interests that does not have a Holder of an Allowed Claim or Allowed
Interest or a Claim or Interest temporarily Allowed by the Bankruptcy Court as of the date of the
Confirmation Hearing shall be deemed eliminated from the Plan for purposes of voting to accept or reject
the Plan and for purposes of determining acceptance or rejection of the Plan by such Class pursuant to
section 1129(a)(8) of the Bankruptcy Code.

E.      Voting Classes, Presumed Acceptance by Non-Voting Classes.

         If a Class contains Claims or Interests eligible to vote on the Plan and no Holder of Claims or
Interests eligible to vote in such Class votes to accept or reject the Plan, the Holders of such Claims or
Interests in such Class shall be deemed to have accepted the Plan.



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F.      Intercompany Interests.

        To the extent Reinstated under the Plan, distributions on account of Intercompany Interests are not
being received by Holders of such Intercompany Interests on account of their Intercompany Interests but
for the purposes of administrative convenience and due to the importance of maintaining the prepetition
corporate structure for the ultimate benefit of the Holders of New Common Stock, and in exchange for the
Debtors’ and the Reorganized Debtors’ agreement under the Plan to make certain distributions to the
Holders of Allowed Claims. For the avoidance of doubt, to the extent Reinstated pursuant to the Plan, on
and after the Effective Date, all Intercompany Interests shall be owned by the same Reorganized Debtor
that corresponds with the Debtor that owned such Intercompany Interests immediately prior to the
Effective Date.

G.      Confirmation Pursuant to Sections 1129(a)(10) and 1129(b) of the Bankruptcy Code.

         Section 1129(a)(10) of the Bankruptcy Code shall be satisfied for purposes of Confirmation by
acceptance of the Plan by at least one Impaired Class of Claims. The Debtors shall seek Confirmation of
the Plan pursuant to section 1129(b) of the Bankruptcy Code with respect to any rejecting Class(es) of
Claims or Interests. The Debtors reserve the right to modify the Plan in accordance with Article XI hereof
to the extent that Confirmation pursuant to section 1129(b) of the Bankruptcy Code requires modification,
including by modifying the treatment applicable to a Class of Claims or Interests or reclassifying Claims
to the extent permitted by the Bankruptcy Code and the Bankruptcy Rules.

H.      Controversy Concerning Impairment.

        If a controversy arises as to whether any Claims or Interests, or any Class of Claims or Interests,
are Impaired, the Bankruptcy Court shall, after notice and a hearing, determine such controversy on or
before the Confirmation Date.

I.      Subordinated Claims.

        The classification and treatment of Claims under the Plan shall determine the respective
contractual, legal, and equitable subordination rights of such Claims, and except to the extent the Plan
provides otherwise, any such other rights shall be settled, compromised, and released pursuant to the Plan.

                                        ARTICLE IV.
                         MEANS FOR IMPLEMENTATION OF THIS PLAN

A.      General Settlement of Claims and Interests; Estate Claims Settlement, Third-Party Release
        Settlement.

        1. General Settlement of Claims and Interests.

         As discussed in further detail in the Disclosure Statement and as otherwise provided herein,
pursuant to section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, and in consideration for the
classification, distributions, releases, and other benefits provided under the Plan, upon the Effective Date,
the provisions of the Plan shall constitute a good faith compromise and settlement of all Claims, Interests,
Causes of Action, Direct Claims and controversies released, settled, compromised, discharged, satisfied,
or otherwise resolved pursuant to the Plan. The Plan shall be deemed a motion to approve the good faith
compromise and settlement of all such Claims, Interests, Causes of Action, Direct Claims and
controversies pursuant to Bankruptcy Rule 9019, and the entry of the Confirmation Order shall constitute
the Bankruptcy Court’s approval of such compromise and settlement under section 1123 of the

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Bankruptcy Code and Bankruptcy Rule 9019, as well as a finding by the Bankruptcy Court that such
settlement and compromise is fair, equitable, within the range of reasonableness and in the best interests
of the Debtors, their Estates, and Holders of Claims and Equity Interests and holders of Direct Claims.
Subject to Article VII hereof, all distributions made to Holders of Allowed Claims and Allowed Interests,
as applicable, in any Class are intended to be, and shall be, final.

         Certain claims and Causes of Action may exist between one or more of the Debtors and Affiliates
that are not wholly-owned by a Debtor (in either or both directions), which claims and Causes of Action
(other than any such claims and Causes of Action that are released pursuant to Article IX) will be deemed
waived for purposes of receiving any Distributions under the Plan, and such Claims that are canceled,
released or discharged as determined by the Debtors shall be canceled, released and discharged as to the
Reorganized Debtors and its Affiliates. The Plan shall be deemed a motion to approve the good faith
compromise and settlement of such claims and Causes of Action pursuant to Bankruptcy Rule 9019.

        2. Estate Claims Settlement.

       In accordance with the Plan Support Agreement, the Plan provides for the Estate Claims
Settlement to be approved by the Bankruptcy Court on the Confirmation Date pursuant to Bankruptcy
Rule 9019 and, if approved by the Bankruptcy Court, shall be incorporated into the Confirmation Order.

        Each of the Debtors, on its own behalf and as a representative of its Estates, to the fullest
extent permitted under applicable law, shall, and shall be deemed to, completely and forever
release, waive, void and extinguish unconditionally, as against each and all of the Released Parties,
any and all Claims, Estate Causes of Action, interests, obligations, suits, judgments, damages, debts,
rights, remedies, set offs, and Liabilities of any nature whatsoever, whether liquidated or
Unliquidated, fixed or Contingent, matured or unmatured, known or unknown, foreseen or
unforeseen, then existing or thereafter arising, in law, equity, tort, contract, or otherwise, that are
or may be based in whole or part on any act, omission, transaction, event, occurrence, or other
circumstance, whether direct or derivative, taking place or existing on or prior to the Effective Date
(including prior to the Petition Date) arising from, in connection with, or related to, directly or
indirectly, in any manner whatsoever, the Debtors or their operations, assets, liabilities, financings,
the Estates, or the Chapter 11 Cases, that may be asserted by or on behalf of such Debtor or its
Estate, against any of the Released Parties; provided, however, that nothing in this section shall
operate as a release, waiver, discharge or impairment of any Estate Causes of Action transferred to
the Creditor Trust, which are preserved notwithstanding anything to the contrary herein (the
“Debtors’ Release”).

        Notwithstanding anything to the contrary in the foregoing, the releases set forth above do
not release: (a) any post-Effective Date obligations of any party or Entity under the Plan, the
Confirmation Order, any Restructuring Transaction, any Definitive Document, or any other
document, instrument, or agreement (including those set forth in the Plan Supplement) executed to
implement the Plan or the Restructuring Transactions; (b) the rights of any Holder of Allowed
Claims to receive distributions under the Plan; (c) any Claims for indemnification that are
expressly assumed by the Reorganized Debtors pursuant to the Plan or any document, instrument,
or agreement executed to implement the Plan or the Restructuring Transactions; or (d) any
obligations arising under business or commercial agreements or arrangements among the Released
Parties and any non-Debtor Entity.

        The Confirmation Order shall reflect the Bankruptcy Court’s approval of the Estate Claims
Settlement, pursuant to Bankruptcy Rule 9019, which includes by reference each of the related
provisions and definitions contained in the Plan, and further, shall constitute the Bankruptcy
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Court’s finding that the Debtors’ Release is: (i) in exchange for the good and valuable
consideration provided by the Released Parties; (ii) a good faith settlement and compromise of the
claims or Causes of Action released by the Debtors’ Release; (iii) in the best interests of the Debtors,
the Estates, and all Holders of Claims and Interests; (iv) fair, equitable and reasonable; (v) given
and made after reasonable investigation by the Debtors and after notice and opportunity for
hearing; and (vi) a bar to any of the Debtors, the Reorganized Debtors, or the Estates asserting any
claim or Cause of Action released by the Debtor release against any of the Released Parties.

         As consideration for the releases, the DIP Lender and the Foris Prepetition Secured Lenders have
agreed in consideration of the Estate Claims Settlement to allocate Net Proceeds, which would otherwise
be distributed to them, to fund the payments required under the Plan as follows: (i) to satisfy Allowed
Administrative Claims, Allowed Professional Fees, and Allowed Priority Tax Claims, (ii) U.S. Trustee
Fees; (iii) on account of the treatment of Classes 1, 2, 6 (Lavvan Settlement Consideration), 7, & 8, (iv)
the Ad Hoc Cross-Holder Group Restructuring Expenses, (v) the Ad Hoc Group Restructuring Expenses,
(vi) to fund the Estate Claims Cash Settlement Consideration, and (vii) to fund amounts payable to DSM
pursuant to the DSM Term Sheet and/or DSM AP Stipulation. In addition, Net Proceeds to which the DIP
Lender and Foris Prepetition Secured Lenders are otherwise entitled will be re-allocated to fund the
Third-Party Release Settlement Amounts. To the extent the Net Proceeds are insufficient to fund the
Third-Party Release Settlement Amount, Estate Claims Settlement Cash Consideration, and the Lavvan
Settlement Consideration, the Third-Party Release Settlement Amount, Estate Claims Settlement Cash
Consideration, and the Lavvan Settlement Consideration shall be funded by the DIP Lenders, the Foris
Prepetition Secured Lenders, and/or from an advance under the Exit First Lien Facility.

        3. Third-Party Release Settlement.

        As set forth herein and in Article IX, hereof, the Releasing Parties are subject to the Third-Party
Release (either non-consensually or consensually) as provided for under the Plan. As consideration for
the Third-Party Release, the DIP Lender and the Foris Prepetition Secured Lenders are voluntarily
agreeing in connection with the Third-Party Release Settlement to allocate Net Proceeds and assets of the
Estates that would otherwise be paid to them to fund the Third-Party Release Settlement Amounts as
provided for under the Plan herein and in Article IX.D.

         Upon the Effective Date, the Third-Party Release Settlement Amounts that are allocated to
holders of Allowed Unsecured Claims, will be transferred to the Creditor Trust and the Creditor Trustee
shall fund distributions in accordance with the Plan, after payment of all direct out of pocket
administrative, personnel, legal costs and expenses incurred after the Effective Date in making
distributions provided for under the Plan. The mechanics for establishing, implementing and administering
the Third-Party Release Settlement Amounts that are allocated to holders of Allowed Unsecured Claims
will be set forth in the Plan Supplement.

         Upon the Effective Date, the Third-Party Release Settlement Amounts that are allocated to
holders of Amyris Equity Interests will be administered by the Plan Administrator to fund distributions in
accordance with the Plan, after payment of all direct out of pocket administrative, personnel, legal costs
and expenses incurred after the Effective Date in making distributions provided for under the Plan. The
mechanics for establishing, implementing and administering the Third-Party Release Settlement Amounts
that are allocated to holders of Amyris Equity Interests will be set forth in the Plan Supplement.

       The distributions to be made under the Plan to holders of Direct Claims on account of the
Third-Party Release Settlement shall be the sole source of recovery for any and all such Direct Claims.



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         If the Third-Party Release is not approved by the Bankruptcy Court, each holder of a Direct Claim
may voluntarily elect to receive its portion of the Third-Party Release Settlement Amounts to which it is
entitled by electing to grant the Third-Party Release, through the following methods: (x) for (i) holders of
Claims who are entitled to submit a ballot to vote on the Plan and vote to accept the Plan, (ii) holders of
Claims who are entitled to submit a ballot to vote on the Plan and (a) vote to reject the Plan or (b) abstain
from voting on the Plan and, in either case, do not elect to exercise their right to opt out of granting the
Third-Party Release, and (y) for holders of Claims and Interests who are deemed to accept or reject the
Plan and are provided with a notice of non-voting status providing them with the right to opt out of
granting the Third-Party Release and do not elect to exercise such right; provided, that, as applicable, the
Direct Claims Threshold is satisfied.

         The Plan Administrator, Disbursing Agent, or Creditor Trust, as applicable, shall make
distributions of the Third-Party Release Settlement Amounts to each holder of a Direct Claim who is
bound by the Third-Party Release as follows: (a) with respect to holders of Direct Claims who assert
General Unsecured Claims against the Debtors, Pro Rata based upon the aggregate amount of such claims
timely asserted against the Debtors (such claims measured as of the Petition Date); (b) with respect to
holders of Direct Claims who assert Convertible Notes Claims against the Debtors, Pro Rata based upon
the aggregate amount of such Convertible Notes Claims asserted against the Debtors (such claims
measured as of the Petition Date on the same basis as such Claims are Allowed for voting purposes), and
(c) with respect to holders of Direct Claims who are holders of any Interests, Pro Rata based upon
outstanding common stock of Parent (excluding for purposes of such calculation, any outstanding
common stock of Parent held by any of the Direct Claims Injunction Parties) (such outstanding common
stock of Parent measured as of the Petition Date); provided, however, notwithstanding Article VII.D.4
hereof, any and all Third-Party Release Settlement Amounts that are an Unclaimed Distribution shall be
paid to the Foris Prepetition Secured Lenders and applied to obligations owing under the Exit First Lien
Facility attributable to the Foris Prepetition Secured Loans that are included in the Exit First Lien Facility.
With respect to holders of Direct Claims who are holders of any Interests who do not opt out of the
Third-Party Release but do not receive a distribution of the Third-Party Release Settlement Amounts
because of the provision in the Plan regarding the minimum distribution amount (Art. VII.D.#), such
holders will not be bound by the Third-Party Release.

        4. Resolution of Lavvan Claims Pursuant to Lavvan Settlement Agreement

         The classification and treatment of the Lavvan Claims under the Plan, is based upon and subject
to in all respects the terms and conditions of the Lavvan Settlement Agreement, and such classification
and treatment, together with the terms and conditions of the Lavvan Settlement Agreement and the other
terms and conditions set forth in the Plan and the Confirmation Order applicable to the Lavvan Claims
(including the releases and exculpations set forth herein and in the Confirmation Order), is a full and
complete resolution, compromise and settlement pursuant to Bankruptcy Rule 9019 and section 1123 of
the Bankruptcy Code of the facts, circumstances, disputes, and transactions that are the subject matter of
the Lavvan Settlement Agreement, including without limitation, the Lavvan Claims, the Lavvan Proofs of
Claim, the Lavvan Documents, the Lavvan Challenge-Period Adversary Proceeding, the Arbitration
Award, the Lavvan Estimation Motion, the Lavvan Estimation and Claim Objection Discovery, the
Lavvan Confirmation Discovery, the Lavvan 3018(a) Motion, and the DIP Order Appeal.

         The Lavvan Settlement Agreement is incorporateincorporated herein by this reference as if fully
set forth herein. The Confirmation Order shall include the Bankruptcy Court’s approval of the Lavvan
Settlement, pursuant to Bankruptcy Rule 9019 and shall constitute the Bankruptcy Court’s findings fact
and conclusion of law that the Lavvan Settlement is a fair, equitable, reasonable and appropriate
resolution of the subject matters of the Lavvan Settlement Agreement, is a good faith settlement and
compromise of the Lavvan Proofs of Claim, the Lavvan Documents, the Lavvan Challenge-Period
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Adversary Proceeding, the Arbitration Award, the Lavvan Estimation Motion, the Lavvan Estimation and
Claim Objection Discovery, the Lavvan Confirmation Discovery, the Lavvan 3018(a) Motion, and the DIP
Order Appeal, and is in the best interests of the Debtors and the Estates.

       The capitalized terms used in this Article IV.A.4 that are not defined in the Plan shall have the
meaning ascribed to such terms in the Lavvan Settlement Agreement.

B.      Sale of Consumer Brands Businesses and Other Assets and Allocation of Net Proceeds.

         The Debtors’ Consumer Brands Businesses will be sold during the Chapter 11 Cases in
accordance with the Bidding Procedures Order, and the Other Assets will be sold in the event of a Sale
Option. Under the Plan, as applicable, Net Proceeds to which the DIP Lender and the Foris Secured
Parties are otherwise entitled will be re-allocated for the benefit of Holders of Allowed Claims that are not
classified and Holders of Allowed Claims classified in Classes 1, 2, 6, 7 & 8, will be used to fund Cash
payments required to be made under the Plan on or after the Effective Date: (i) to satisfy Allowed
Administrative Claims, Allowed Professional Fees, Allowed Priority Tax Claims and U.S. Trustee Fees
(subject to the Plan Effective Date Funding); (ii) on account of the treatment of Classes 1, 2, 6 (Lavvan
Settlement Consideration), 7 & 8, (iii) to satisfy the Ad Hoc Cross-Holder Group Restructuring Expenses,
(iv) to satisfy the Ad Hoc Group Restructuring Expenses, and (v) to fund the Estate Claims Settlement
Cash Consideration. In addition, Net Proceeds to which the DIP Lender and Foris Prepetition Secured
Lenders are otherwise entitled will be re-allocated to fund the Third-Party Release Settlement Amounts.
To the extent the Net Proceeds are insufficient to fund the Third-Party Release Settlement Amount, Estate
Claims Cash Settlement Consideration, and the Lavvan Settlement Consideration, the Third-Party Release
Settlement Amount, Estate Claims Settlement Cash Consideration, and the Lavvan Settlement
Consideration shall be funded by the DIP Lenders, the Foris Prepetition Secured Lenders, and/or from an
advance under the Exit First Lien Facility.

C.      Administrative Consolidation for Voting and Distribution Purposes Only.

         On the Effective Date, and solely for voting and administrative purposes to facilitate distributions
from the Creditor Trust on account of Class 8 General Unsecured Claims: (a) all General Unsecured
Claims shall be deemed merged and treated as liabilities of the Debtors on a consolidated basis; (b) each
General Unsecured Claim will be deemed a single Claim and a single obligation of the Debtors; and (c) all
General Unsecured Claims based on joint and several liability or a guaranty by a Debtor of the obligations
of any other Debtor shall be deemed eliminated and extinguished. For the avoidance of doubt, for the
purposes of determining the availability of the right of setoff under section 553 of the Bankruptcy Code,
the Debtors shall be treated as separate Entities. Such administrative consolidation is solely for the
purpose of facilitating distributions to Holders of Allowed General Unsecured Claims under this Plan and
shall not affect the legal and corporate structures of the Reorganized Debtors or the General Unsecured
Claims. Moreover, such administrative consolidation shall not affect any subordination provisions set
forth in any agreement relating to any General Unsecured Claim subordinated in accordance with section
510(b) of the Bankruptcy Code, any contractual rights, or any equitable principles.

D.      Restructuring Transactions.

        On or before the Effective Date, or as soon as reasonably practicable thereafter, the applicable
Debtors or the Reorganized Debtors, with the consent of the Foris Secured Parties, shall consummate the
Restructuring Transactions and take all actions as may be necessary or appropriate to effectuate any
transaction described in, approved by, contemplated by, or necessary to effectuate the Plan that are
consistent with and pursuant to the terms and conditions of the Plan, including: (a) the execution and
delivery of appropriate agreements or other documents of merger, amalgamation, consolidation,

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restructuring, conversion, disposition, transfer, arrangement, continuance, dissolution, sale, purchase, or
liquidation containing terms that are consistent with the terms of the Plan and the Plan Supplement and
that satisfy the requirements of applicable Law and any other terms to which the applicable Entities may
agree; (b) the execution and delivery of appropriate instruments of transfer, assignment, assumption, or
delegation of any asset, property, right, liability, debt, or obligation on terms consistent with the terms of
the Plan and the Plan Supplement and having other terms for which the applicable Entities may agree; (c)
the execution, delivery, and filing, if applicable, of appropriate certificates or articles of incorporation,
formation, reincorporation, merger, consolidation, conversion, amalgamation, arrangement, continuance,
or dissolution pursuant to applicable state or provincial Law, including any applicable New
Organizational Documents; (d) such other transactions and/or Bankruptcy Court filings that are required
to effectuate the Restructuring Transactions, including any sales, mergers, consolidations, restructurings,
conversions, dispositions, transfers, formations, organizations, dissolutions, or liquidations; (e) the
execution, delivery, and filing of the Exit First Lien Facility Documents, the Amended DSM Contracts,
the DSM Plan Promissory Note, the DSM Plan Promissory Note Pledge Agreement, the Amended
Givaudan Contract, and the Lavvan Settlement Agreement; and (f) all other actions that the applicable
Entities determine to be necessary or appropriate, including making filings or recordings that may be
required by applicable Law in connection with the Plan.

        The Confirmation Order shall, and shall be deemed to, pursuant to sections 363 and 1123 of the
Bankruptcy Code, authorize, among other things, all actions as may be necessary or appropriate to effect
any transaction described in, contemplated by, or necessary to effectuate the Plan.

E.      Reorganized Debtors.

        On the Effective Date, the New Board shall be appointed, and the Reorganized Debtors shall
adopt the New Organizational Documents. The Reorganized Debtors shall be authorized to adopt any
other agreements, documents, and instruments and to take any other actions contemplated under the Plan
as necessary to consummate the Plan. Cash payments to be made pursuant to the Plan will be made by the
Debtors or the Reorganized Debtors. The Debtors and the Reorganized Debtors will be entitled to transfer
funds between and among themselves as they determine to be necessary or appropriate to enable the
Debtors or the Reorganized Debtors, as applicable, to satisfy their obligations under the Plan. Except as
set forth herein, any changes in intercompany account balances resulting from such transfers will be
accounted for and settled in accordance with the Debtors’ historical intercompany account settlement
practices and will not violate the terms of the Plan.

F.      Sources of Consideration for Plan Distributions.

        The Debtors and the Reorganized Debtors, as applicable, shall fund distributions under the Plan
with (a) Net Proceeds as provided for herein, (b) the New Common Stock, (c) proceeds from the Exit First
Lien Facility, and (d) Cash on hand, subject to the Plan Effective Date Funding.

        1. Issuance of New Common Stock.

        On or prior to the Effective Date, Reorganized Amyris shall take steps to provide that the New
Common Stock is issued and/or transferred accordance with the terms of the Plan, the Plan Supplement,
the New Organizational Documents, and applicable Law (including applicable securities Laws). The
issuance of the New Common Stock on the Effective Date pursuant to the Plan is authorized without the
need for any further corporate action and without any further action by Reorganized Amyris, the Debtors,
or the Reorganized Debtors, as applicable, and without any action by the Holders of Claims or Interests or
other parties in interest. All of the New Common Stock issued or authorized to be issued pursuant to the
Plan shall, pursuant to the Restructuring Transactions, be duly authorized, validly issued, fully paid, and

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non-assessable. Any Entity’s acceptance of the New Common Stock shall be deemed to have provided its
agreement to the New Organizational Documents, as the same may be amended or modified from time to
time following the Effective Date. The Holders of New Common Stock may allocate the New Common
Stock among their Affiliates as designated by the Holders in their sole discretion.

        The issuance of the New Common Stock pursuant to and under the Plan will be conducted in
reliance upon one or more exemptions from registration under the Securities Act, which will include the
exemption provided in section 1145 of the Bankruptcy Code to the fullest extent available.

         The issuance of the New Common Stock shall not constitute an invitation or offer to sell, or the
solicitation of an invitation or offer to buy, any securities in contravention of any applicable Law in any
jurisdiction.

        2. Capital Raise - Exit First Lien Facility.

       On the Effective Date, the Reorganized Debtors shall be authorized to enter into the Exit First
Lien Facility on the terms set forth in the Exit First Lien Facility Documents.
        To the extent not already approved, Confirmation of the Plan shall be deemed approval of the Exit
First Lien Facility and the Exit First Lien Facility Documents, as applicable, and all transactions
contemplated thereby, and all actions to be taken, undertakings to be made, and obligations to be incurred
by the Debtors and the Reorganized Debtors in connection therewith, including the payment of all fees,
indemnities, expenses, and other payments provide for therein and authorization of the Debtors and the
Reorganized Debtors to enter into and execute the Exit First Lien Facility Documents and such other
documents as may be required to effectuate the treatment afforded by the Exit First Lien Facility.
Execution of the Exit First Lien Facility Documents by the Exit First Lien Facility Agent shall be deemed
to bind all Exit First Lien Facility Lenders as if each such Exit First Lien Facility Lender had executed the
applicable Exit First Lien Facility Documents with appropriate authorization.
         On the Effective Date, all of the Liens and security interests to be granted in accordance with the
Exit First Lien Facility Documents, to the extent applicable: (i) shall be deemed to be granted; (ii) shall
be legal, binding, automatically perfected, non-avoidable, and enforceable Liens on, and security interests
in, the collateral granted thereunder in accordance with the terms of the Exit First Lien Facility
Documents shall be senior, first priority, priming liens, on all of the assets of the Reorganized Debtors;
(iii) shall be deemed automatically perfected on or prior to the Effective Date, subject only to such Liens
and security interests as may be permitted under the respective Exit First Lien Facility Documents; and
(iv) shall not be subject to avoidance, recharacterization, or equitable subordination for any purposes
whatsoever, shall not be subject to marshalling or any similar doctrine, and shall not constitute
preferential transfers, fraudulent transfers, or fraudulent conveyances under the Bankruptcy Code or any
applicable non-bankruptcy Law.
        To the extent applicable, the Reorganized Debtors and the persons and entities granted such Liens
and security interests shall be authorized to make all filings and recordings, and to obtain all governmental
approvals and consents necessary to establish and perfect such Liens and security interests under the
provisions of the applicable state, federal, or other Law that would be applicable in the absence of the
Plan and the Confirmation Order (it being understood that perfection shall occur automatically by virtue
of the entry of the Confirmation Order and any such filings, recordings, approvals, and consents shall not
be required), and will thereafter cooperate to make all other filings and recordings that otherwise would be
necessary under applicable Law to give notice of such Liens and security interests to third parties.




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         The outstanding DIP Facility and/or Foris Prepetition Secured Loans that are amended and
restated or rolled-over into indebtedness of (or assumed by) the Reorganized Debtors, including as part of
the Exit First Lien Facility, shall be identified by amount and tranche in the Plan Supplement.

G.      Section 1145 Exemption and DTC Matters.

         The shares of the New Common Stock being issued under the Plan will be issued without
registration under the Securities Act or any similar federal, state, or local Law in reliance upon either: (a)
section 1145 of the Bankruptcy Code (except with respect to an entity that is an “underwriter” as defined
in section 1145(b) of the Bankruptcy Code); or (b) including with respect to an entity that is an
“underwriter” as defined in section 1145(b) of the Bankruptcy Code, pursuant to Section 4(a)(2) of the
Securities Act, Regulation D promulgated thereunder, and/or Regulation S under the Securities Act (or
another applicable exemption under the Securities Act).

         Securities issued in reliance upon section 1145 of the Bankruptcy Code (a) are exempt from,
among other things, the registration requirements of section 5 of the Securities Act and any other
applicable Law requiring registration prior to the offering, issuance, distribution, or sale of Securities, to
the maximum extent possible, (b) are not “restricted securities” as defined in Rule 144(a)(3) under the
Securities Act, and (c) are freely tradable and transferable by any holder thereof that, at the time of
transfer, (i) is not an “affiliate” of the Reorganized Debtors as defined in Rule 144(a)(1) under the
Securities Act, (ii) has not been such an “affiliate” within ninety days of such transfer, and (iii) is not an
entity that is an “underwriter” (as defined in section 2(a)(11) of the Securities Act). The offering,
issuance, distribution, and sale of any securities in accordance section 1145 of the Bankruptcy Code shall
be made without registration under the Securities Act or any similar federal, state, or local Law in reliance
on section 1145(a) of the Bankruptcy Code.

         Any shares of the New Common Stock issued in reliance upon the exemption from registration
provided by Section 4(a)(2) of the Securities Act, Regulation D promulgated thereunder, and/or
Regulation S under the Securities Act will be “restricted securities.” Such securities may not be resold,
exchanged, assigned, or otherwise transferred except pursuant to an effective registration statement under
the Securities Act or an available exemption therefrom and other applicable Law and subject to any
restrictions, including any transfer restrictions, in the New Organizational Documents. The offering,
issuance, distribution, and sale of such securities shall be made without registration under the Securities
Act or any similar federal, state, or local Law in reliance on section 4(a)(2) of the Securities Act,
Regulation D promulgated thereunder, and/or Regulation S under the Securities Act.

        It is not expected that any shares of the New Common Stock will be eligible for any depository
services, including with respect to DTC, on or about the Effective Date. Further, it is not intended that the
New Common Stock will be listed on a national securities exchange (or a comparable non-U.S. securities
exchange) on or about the Effective Date. Reorganized Amyris will be privately held pursuant to the Plan
as provided herein.

         Subject to compliance with the Securities Act, Exchange Act and other applicable Law, Parent
expects that on the Effective Date that the existing Amyris Equity Interests will be canceled and that the
New Common Stock will not be listed or quoted on a national securities exchange or over-the-counter
market. As part of the Restructuring Transactions, Parent and/or Reorganized Amyris may, in its sole
discretion, use reasonable best efforts: (i) to terminate the effectiveness of the Registration Statements and
to remove from registration any securities that remain unsold at the termination of the offering covered by
the Registration Statements, (ii) to terminate the registration of the existing common stock of Parent under
Section 12 of the Exchange Act and suspend its reporting obligations under Sections 13(a) and 15(d) of
the Exchange Act (the “SEC Reporting Suspension”) and (iii) to delist Parent’s existing common stock,

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any other Amyris Equity Interests, and the New Common Stock, if applicable, from the OTC Pink
Marketplace and any other securities exchange or over-the-counter market. Subject to obtaining the SEC
Reporting Suspension, Parent expects that none of Reorganized Amyris or any of its subsidiaries will be
subject to public periodic reporting obligations with the SEC or any other entity following the
Restructuring Transactions.

         Should the Reorganized Debtors elect, on or after the Effective Date, to reflect any ownership of
the New Common Stock issued under the Plan through the facilities of DTC (or another similar
depository), the Reorganized Debtors need not provide any further evidence other than the Plan or the
Confirmation Order with respect to the treatment of the New Common Stock to be issued under the Plan
under applicable securities Laws. DTC (or another similar depository) shall be required to accept and
conclusively rely upon the Plan and Confirmation Order in lieu of a legal opinion regarding whether the
New Common Stock to be issued under the Plan is exempt from registration and/or eligible for DTC
book-entry delivery, settlement, and depository services. Notwithstanding anything to the contrary in the
Plan, no Entity (including, for the avoidance of doubt, DTC) may require a legal opinion regarding the
validity of any transaction contemplated by the Plan, including, for the avoidance of doubt, whether the
New Common Stock to be issued under the Plan is exempt from registration and/or eligible for DTC
book-entry delivery, settlement, and depository services.

         Notwithstanding any policies, practices, or procedures of DTC, DTC shall cooperate with and
take all actions reasonably requested by the Disbursing Agent or the Convertible Notes Trustee to
facilitate distributions to Holders of Convertible Notes Claims without requiring that such distributions be
characterized as repayments of principal or interest. Neither the Disbursing Agent nor the Convertible
Notes Trustee shall be required to provide indemnification or other security to DTC in connection with
any distributions to Holders of Convertible Notes Claims through the facilities of DTC.

H.      Section 1146 Exemption.

         To the fullest extent permitted by section 1146(a) of the Bankruptcy Code, any transfers (whether
from a Debtor to a Reorganized Debtor or to any other Person) of property under the Plan or pursuant to
(a) the issuance, distribution, transfer, or exchange of any debt, equity Security, or other interest in the
Debtors or the Reorganized Debtors, including the New Common Stock and the Exit First Lien Facility,
(b) the Restructuring Transactions, (c) the creation, modification, consolidation, termination, refinancing,
and/or recording of any mortgage, deed of trust, or other security interest, or the securing of additional
indebtedness by such or other means, (d) the making, assignment, or recording of any lease or sublease,
(e) the grant of collateral as security for the Reorganized Debtors’ obligations under and in connection
with the Exit First Lien Facility or (f) the making, delivery, or recording of any deed or other instrument
of transfer under, in furtherance of, or in connection with, the Plan, including any deeds, bills of sale,
assignments, or other instrument of transfer executed in connection with any transaction arising out of,
contemplated by, or in any way related to the Plan, shall not be subject to any document recording tax,
stamp tax, conveyance fee, intangibles or similar tax, mortgage tax, real estate transfer tax, personal
property transfer tax, mortgage recording tax, Uniform Commercial Code filing or recording fee,
regulatory filing or recording fee, or other similar tax or governmental assessment, and upon entry of the
Confirmation Order, the appropriate state or local governmental officials or agents shall forego the
collection of any such tax or governmental assessment and accept for filing and recordation any of the
foregoing instruments or other documents without the payment of any such tax, recordation fee, or
governmental assessment. All filing or recording officers (or any other Person with authority over any of
the foregoing), wherever located and by whomever appointed, shall comply with the requirements of
section 1146(a) of the Bankruptcy Code, shall forego the collection of any such tax or governmental



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assessment, and shall accept for filing and recordation any of the foregoing instruments or other
documents without the payment of any such tax or governmental assessment.

I.      Corporate Existence.

         Except as otherwise provided in the Plan, the Plan Supplement, the Confirmation Order, or any
agreement, instrument, or other document incorporated therein, or unless determined by the Debtors prior
to the Effective Date to wind-down, dissolve, or liquidate a Debtor, each Debtor shall continue to exist
after the Effective Date as a separate corporation, limited liability company, partnership, or other form, as
the case may be, with all the powers of a corporation, limited liability company, partnership, or other
form, as the case may be, pursuant to the applicable Law in the jurisdiction in which each applicable
Debtor is incorporated or formed and pursuant to the respective certificate of incorporation and bylaws (or
other formation documents) in effect prior to the Effective Date, except to the extent such certificate of
incorporation and bylaws (or other formation documents) are amended under the Plan or otherwise, in
each case, consistent with the Plan, and to the extent such documents are amended in accordance
therewith, such documents are deemed to be amended pursuant to the Plan and require no further action or
approval (other than any requisite filings, approvals, or consents required under applicable state,
provincial, or federal Law). After the Effective Date, the respective certificate of incorporation and
bylaws (or other formation documents) of one or more of the Reorganized Debtors may be amended or
modified on the terms therein without supervision or approval by the Bankruptcy Court and free of any
restrictions of the Bankruptcy Code or Bankruptcy Rules. On or after the Effective Date, without
prejudice to the rights of any party to a contract or other agreement with any Reorganized Debtor, each
Reorganized Debtor may take such action not inconsistent with the Restructuring Transactions, the Plan
Support Agreement or the Plan and as permitted by applicable law and such organizational documents, as
the Reorganized Debtors may determine is reasonable and appropriate, including causing any of them to:
(i) be merged into another; (ii) be dissolved and liquidated; (iii) change its legal name; (iv) change its state
of incorporation; or (v) close a Reorganized Debtor’s Chapter 11 Case on the Effective Date or any time
thereafter.

J.      Vesting of Assets in the Reorganized Debtors.

        Except as otherwise provided in the Plan, the Plan Supplement, the Confirmation Order, or any
agreement, instrument, or other document incorporated therein, or unless determined by the Debtors prior
to the Effective Date to wind-down, dissolve, or liquidate a Debtor on the Effective Date, all property in
each Estate, all Causes of Action, and all property of the Estate to revest pursuant to the Plan shall vest in
each respective Reorganized Debtor and any entity that may be formed or incorporated by the Debtors or
the Reorganized Debtors before, on or after the Effective Date, free and clear of all Liens, Claims,
charges, restrictions or other encumbrances. On and after the Effective Date, except as otherwise
provided in the Plan, the Plan Supplement, or the Confirmation Order, each Reorganized Debtor may
operate its businesses and may use, acquire, or dispose of property, including transferring any assets to
any entities formed or incorporated before, on or after the Effective Date by the Debtors or the
Reorganized Debtors, and compromise or settle any Claims, Interests, or Causes of Action without
supervision or approval by the Bankruptcy Court and free of any restrictions of the Bankruptcy Code or
the Bankruptcy Rules.

K.      Cancellation of Existing Securities and Agreements.

        On the Effective Date, except to the extent otherwise provided in the Plan, the Plan Supplement,
or the Confirmation Order, or any agreement, instrument, or other document incorporated therein, and
other than as to the DIP Facility Claims and Foris Prepetition Secured Claims rolled up, converted,
exchanged, refinanced or amended and restated, into the Exit First Lien Facility or New Common Stock of

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Reorganized Amyris, all notes, instruments, certificates, credit agreements, indentures, and other
documents evidencing Claims or Interests shall be cancelled and the obligations of the Debtors thereunder
or in any way related thereto shall be deemed satisfied in full, cancelled, released, discharged, and of no
force and effect without any need for further action or approval of the Bankruptcy Court or for a Holder to
take further action, and the Agents and the Convertible Notes Trustee, as applicable, shall be released
from all duties thereunder and shall have no further obligation or liability thereunder except as expressly
provided in the Plan. Holders of or parties to such cancelled instruments, Securities, and other
documentation will have no rights arising from or relating to such instruments, Securities, and other
documentation, or the cancellation thereof, except the rights provided for pursuant to the Plan.
Notwithstanding anything to the contrary herein, but subject to any applicable provisions of Article VII
hereof, to the extent cancelled pursuant to this paragraph, the Debt Documents shall continue in effect
solely to the extent necessary to: (a) permit Holders of Claims under Debt Documents to receive their
respective Plan Distributions, if any; (b) permit the Disbursing Agent or the Convertible Notes Trustee, as
applicable, to make Plan Distributions on account of the Allowed Claims under the Debt Documents; (c)
preserve the Convertible Notes Trustee’s rights to compensation and indemnification as against Plan
Distributions distributable to the Holders of the Convertible Notes Claims, including to permit the
Convertible Notes Trustee to maintain, enforce, and exercise its charging liens against such Plan
Distributions; (d) preserve any rights of the Agents and Convertible Notes Trustee (solely as to Plan
DistribtuionsDistributions) thereunder to maintain, exercise, and enforce any applicable rights of
indemnity, reimbursement, or contribution, or subrogation or any other claim or entitlement; (e) permit the
Convertible Notes Trustee to enforce any obligation owed to the Convertible Notes Trustee under the
Plan; and (f) permit each Agent and Convertible Notes Trustee to appear and be heard in the Chapter 11
Cases or in any proceeding in the Bankruptcy Court. Except as provided in the Plan or the Plan
Supplement (including Article VII hereof) or as may be necessary to effectuate the terms of the Plan, on
the Effective Date, the Agents and Trustees, and their respective agents, successors, and assigns, shall be
automatically and fully discharged of all of their duties and obligations associated with the Debt
Documents, as applicable.

L.      Corporate Action.

         On the Effective Date, or as soon as reasonably practicable thereafter, except as otherwise
provided in the Plan, the Plan Supplement, or the Confirmation Order, all actions contemplated under the
Confirmation Order, the Plan and the Plan Supplement shall be deemed authorized and approved in all
respects, including: (a) the hiring of a new chief executive officer and the execution of an employment
agreement with the new chief executive officer on terms and conditions acceptable to Foris; (b) discharge
of the duties of, and the dissolution of, the then-existing board of directors of Parent and selection of the
directors or managers, as applicable, and officers for the Reorganized Debtors, including the appointment
of the New Board; (c) the issuance and distribution of the New Common Stock; (d) implementation of the
Restructuring Transactions, and performance of all actions and transactions contemplated hereby and
thereby; (e) all other acts or actions contemplated or reasonably necessary or appropriate to promptly
consummate the Restructuring Transactions contemplated by the Plan (whether to occur before, on, or
after the Effective Date); (f) adoption, execution, delivery, and/or filing of the New Organizational
Documents; (g) the rejection, assumption, or assumption and assignment, as applicable, of Executory
Contracts and Unexpired Leases; (h) entry into the Exit First Lien Facility and the execution, delivery, and
filing of the Exit First Lien Facility Documents; (i) entry into the Amended DSM Contracts, the DSM
Plan Promissory Note, and DSM Plan Promissory Note Pledge Agreement; (j) execution of the Amended
Givaudan Contract; (k) the execution of the Creditor Trust Agreement; and (l) all other acts or actions
contemplated or reasonably necessary or appropriate to promptly consummate the Restructuring
Transactions (whether to occur before, on, or after the Effective Date).



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        Except as otherwise provided in the Plan or the Plan Supplement, all matters provided for in the
Plan and the Plan Supplement involving the corporate structure of the Debtors or the Reorganized
Debtors, and any corporate, partnership, limited liability company, or other governance action required by
the Debtors or the Reorganized Debtors, as applicable, in connection with the Plan and the Plan
Supplement shall be deemed to have occurred and shall be in effect, without any requirement of further
action by the equity holders, members, directors, managers, or officers of the Debtors or the Reorganized
Debtors, as applicable.

        On or, as applicable, prior to the Effective Date, except as otherwise provided in the Plan or the
Plan Supplement, the appropriate officers of the Debtors or the Reorganized Debtors, as applicable, shall
be authorized and, as applicable, directed to issue, execute, and deliver the agreements, documents,
Securities, and instruments contemplated under the Plan and the Plan Supplement (or necessary or
desirable to effect the transactions contemplated under the Plan) in the name of and on behalf of the
Reorganized Debtors, including the New Common Stock, the Exit First Lien Facility Documents, the New
Organizational Documents, the Amended DSM Contracts, the DSM Plan Promissory Note, the DSM Plan
Promissory Note Pledge Agreement, the Amended Givaudan Contract, any other Definitive Documents,
and any and all other agreements, documents, Securities, and instruments relating to the foregoing. The
authorizations and approvals contemplated by this Article IV.L shall be effective notwithstanding any
requirements under non-bankruptcy Law.

M.      New Organizational Documents.

        On or as soon as reasonably practicable after the Effective Date, except as otherwise provided in
the Plan or the Plan Supplement and subject to local Law requirements, the New Organizational
Documents (which shall be consistent with the Plan and the Plan Supplement) shall be automatically
adopted or amended, as may be necessary to effectuate the transactions contemplated by the Plan. To the
extent required under the Plan, the Plan Supplement, or applicable non-bankruptcy Law, each of the
Reorganized Debtors will file its New Organizational Documents with the applicable Secretaries of State
and/or other applicable authorities in its respective state or country of organization if and to the extent
required in accordance with the applicable Law of the respective state or country of organization. The
New Organizational Documents will (a) authorize the issuance of the New Common Stock and (b)
prohibit the issuance of non-voting equity Securities to the extent required under section 1123(a)(6) of the
Bankruptcy Code.

        After the Effective Date, each Reorganized Debtor may amend and restate its respective New
Organizational Documents as permitted by Laws of the respective states, provinces, or countries of
incorporation and the New Organizational Documents.

N.      Managers and Officers of the Reorganized Debtors.

         As of the Effective Date, the members for the New Board shall be appointed. The initial members
of the New Board of Reorganized Amyris will be identified in the Plan Supplement, to the extent known
at the time of filing. Each such member and officer of the Reorganized Debtors (including the new chief
executive officer) shall serve from and after the Effective Date pursuant to the terms of any applicable
employment agreements and other constituent documents of the Reorganized Debtors, including the New
Organizational Documents.

O.      Effectuating Documents; Further Transactions.

      On and after the Effective Date, the Reorganized Debtors, and their respective officers, directors,
members, or managers (or other relevant governing body), are authorized to and may issue, execute,

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deliver, file, or record such contracts, Securities, instruments, releases, and other agreements or documents
and take such actions as may be necessary or appropriate to effectuate, implement, and further evidence
the terms and conditions of the Plan, the Exit First Lien Facility entered into, and the Securities issued
pursuant to the Plan in the name of and on behalf of the Reorganized Debtors, without the need for any
approvals, authorization, or consents except for those expressly required pursuant to the Plan or the Plan
Supplement.

P.      Management Incentive Plan.

         A management incentive plan may be established and grants may be made from time to time to
employees, officers, and directors of the Reorganized Debtors at the discretion of the New Board effective
as of the Effective Date. The terms and conditions (including, without limitation, with respect to
participants, allocation, timing, and the form and structure of the equity-link awards) shall be determined
at the discretion of the New Board after the Effective Date.

Q.      Preservation of Causes of Action

        In accordance with section 1123(b) of the Bankruptcy Code, each Reorganized Debtor or the
Creditor Trust, as applicable, shall retain and may enforce all rights to commence and pursue, as
appropriate, any and all Causes of Action of the Debtors and their Estates, whether arising before or after
the Petition Date, including any actions specifically enumerated in the Schedule of Retained Causes of
Action, and the Reorganized Debtors’ rights to commence, prosecute, or settle such retained Causes of
Action shall be preserved notwithstanding the occurrence of the Effective Date or any other provision of
the Plan to the contrary, other than the Released Claims.

        The Reorganized Debtors or the Creditor Trust, as applicable, may pursue such retained
Causes of Action, as appropriate. No Entity may rely on the absence of a specific reference in the
Plan, the Plan Supplement, or the Disclosure Statement to any retained Cause of Action against it as
any indication that the Debtors, the Reorganized Debtors, or the Creditor Trust, as applicable, will
not pursue any and all available retained Causes of Action against it. The Debtors, the Reorganized
Debtors, and the Creditor Trust expressly reserve all rights to prosecute any and all retained
Causes of Action against any Entity (other than the Causes of Action and Direct Claims released
under the Plan and subject to the exculpations contained in the Plan). Unless any Causes of Action
or Direct Claims against an Entity are expressly waived, relinquished, exculpated, released,
compromised, or settled in the Plan or a Final Order (and for the avoidance of doubt, any Causes of
Action on the Schedule of Retained Causes of Action shall not be expressly relinquished, exculpated,
released, compromised, or settled in the Plan), the Reorganized Debtors or the Creditor Trust, as
applicable, expressly reserve all retained Causes of Action for later adjudication and, therefore, no
preclusion doctrine, including the doctrines of res judicata, collateral estoppel, issue preclusion,
claim preclusion, estoppel (judicial, equitable, or otherwise), or laches, shall apply to such retained
Causes of Action upon, after, or as a consequence of the Confirmation or Consummation.

        The Reorganized Debtors and the Creditor Trust, as applicable, reserve and shall retain such
retained Causes of Action notwithstanding the rejection or repudiation of any Executory Contract or
Unexpired Lease during the Chapter 11 Cases or pursuant to the Plan. In accordance with section
1123(b)(3) of the Bankruptcy Code, any retained Causes of Action against any Entity shall vest in the
Reorganized Debtors or the Creditor Trust, as applicable. The applicable Reorganized Debtors or the
Creditor Trust, through their authorized agents or representatives, shall retain and may exclusively enforce
any and all such retained Causes of Action. The Reorganized Debtors or the Creditor Trust, as applicable,
shall have the exclusive right, authority, and discretion to determine and to initiate, file, prosecute,
enforce, abandon, settle, compromise, release, withdraw, or litigate to judgment any such retained Causes

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of Action and to decline to do any of the foregoing without the consent or approval of any third party or
further notice to or action, order, or approval of the Bankruptcy Court except as otherwise released in this
Plan.

R.      Sale Option

         At the election of the DIP Lenders and the Foris Prepetition Secured Lenders, which may be made
in their sole discretion at any time prior to the Confirmation Date, the Debtors shall close a sale of the
Other Assets pursuant to the Other Assets Bidding Procedures with the consideration for sale of the Other
Assets to be distributed, as part of the Net Proceeds, as provided for in the Plan. The sale of the Other
Assets will be conducted in accordance with the Other Assets Bidding Procedures, with the DIP Lender
and the Foris Prepetition Secured Lenders providing an Other Assets Stalking Horse Credit Bid.

S.      Convertible Notes Trustee Fees and Expenses.

         On the Effective Date, subject to the occurrence of the Ad Hoc Group Acceptance Event, without
any further notice to, or action, order, or approval of the Bankruptcy Court, the Debtors or Reorganized
Debtors, as applicable, shall distribute Cash to the Convertible Notes Trustee in an amount equal to the
Convertible Notes Trustee Fees and Expenses, which shall include an estimate of Convertible Notes
Trustee Fees and Expenses to be incurred after the Effective Date related to distributions to be made
pursuant to the Plan, without a reduction to recoveries to Holders of the Convertible Notes Claims;
provided that the amount of Convertible Notes Trustee Fees and Expenses payable by the Debtors or
Reorganized Debtors shall not, in the aggregate amount, exceed $250,000; provided, further, that the
limitations on the Debtors’ and Reorganized Debtors’ obligations to pay Convertible Notes Trustee Fees
and Expenses, including the occurrence of the Ad Hoc Group Acceptance Event and the dollar limitation
in the foregoing proviso, shall in no way impair the Convertible Notes Trustee’s rights to compensation
and indemnification as against Plan Distributions distributable to the Holders of the Convertible Notes
Claims, including the Convertible Notes Trustee’s right to maintain, enforce, and exercise its charging
liens against such Plan Distributions.



                                               ARTICLE V.
                                            CREDITOR TRUST

A.      Creation and Governance of the Creditor Trust.

         Unless otherwise determined pursuant to the terms of the Plan, on the Effective Date the Debtors
shall transfer, or cause to be transferred, to the Creditor Trust all of their rights, title, and interest in the
Creditor Trust Assets, and the Creditor Trustee shall execute the Creditor Trust Agreement and take all
steps necessary to establish the Creditor Trust in accordance with the Plan and the Creditor Trust
Agreement. Such transfers shall be exempt from any stamp, real estate transfer, mortgage reporting, sales,
use, or other similar tax. The Creditor Trust shall be governed by the Creditor Trust Agreement and
administered by the Creditor Trustee, under the direction of the Creditor Trust Oversight Committee.

        To the extent necessary to the performance of the Creditor Trustee’s duties and responsibilities,
and subject to the Creditor Trust Agreement, the Debtors or Reorganized Debtors, as applicable, shall
share with the Creditor Trustee communications or documents that are subject to the attorney-client
privilege, work product protection, or other applicable privilege; the sharing of such information shall not
operate as a waiver of any applicable privileges. The parties shall agree on how to document the sharing


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of the attorney-client privilege such that the privilege is preserved, and in the absence of an agreement the
Bankruptcy Court shall decide as set forth in the Confirmation Order or any other order(s).

B.      Purpose of the Creditor Trust.

         The Creditor Trust shall be established for the purpose of liquidating the Creditor Trust Assets,
and distributing the proceeds of the Creditor Trust Assets to the Creditor Trust Beneficiaries in
accordance with the terms of the Plan and the Creditor Trust Agreement. The Creditor Trust is intended
to qualify as a liquidating trust pursuant to Treasury Regulations section 301.7701-4(d), with no objective
to continue or engage in the conduct of a trade or business, except to the extent reasonably necessary and
consistent with, the purpose of the Creditor Trust.

C.      Creditor Trust Agreement and Funding the Creditor Trust.

        The Creditor Trust Agreement generally will provide for, among other things: (a) the payment of
the Creditor Trust Expenses; (b) the retention of counsel, accountants, financial advisors, or other
professionals and the payment of their reasonable compensation; (c) the investment of Cash by the
Creditor Trustee within certain limitations, including those specified in the Plan and Creditor Trust
Agreement; and (d) the orderly liquidation of the Creditor Trust Assets.

        The Creditor Trust Expenses shall be paid from the Creditor Trust Assets in accordance with the
Plan and the Creditor Trust Agreement. The Creditor Trustee, on behalf of the Creditor Trust, may
employ, without further order of the Bankruptcy Court, professionals to assist in carrying out its duties
hereunder and may compensate and reimburse the reasonable expenses of these professionals without
further order of the Bankruptcy Court from the Creditor Trust Assets in accordance with the Plan and the
Creditor Trust Agreement.

D.      Valuation of Assets.

         Except as otherwise provided in the Creditor Trust Agreement, as soon as reasonably practicable
following the establishment of the Creditor Trust, the Creditor Trustee shall determine the value of the
assets transferred to the Creditor Trust, based on the good faith determination of the Creditor Trustee, and
the Creditor Trustee shall apprise, in writing, the Creditor Trust Beneficiaries of such valuation, from time
to time as relevant for tax reporting purposes. The valuation shall be used consistently by all parties
(including, without limitation, the Debtors, the Creditor Trust, the Creditor Trustee, and the Creditor Trust
Beneficiaries) for all applicable U.S. federal, state, and local income tax purposes.

        In connection with the preparation of the valuation contemplated by the Plan and the Creditor
Trust Agreement, the Creditor Trust shall be entitled to retain such professionals and advisors as the
Creditor Trustee shall determine to be appropriate or necessary, and the Creditor Trustee shall take such
other actions in connection therewith as it determines to be appropriate or necessary. The Creditor Trust
shall bear all of the reasonable costs and expenses incurred in connection with determining such value,
including the fees and expenses of any professionals retained in connection therewith.

E.      Creditor Trustee.

        The Creditor Trustee shall be appointed on the Effective Date. The Creditor Trustee shall be a
professional person or a financial institution with experience administering other creditor trusts, and shall
be selected by the Creditors’ Committee and the Ad Hoc Group.



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F.      Creditor Trust Interests.

         Creditor Trust Interests shall be passive and shall not have voting, consent, or other
shareholder-like control rights with respect to the Creditor Trust. The Creditor Trust Interests shall be
uncertificated and shall be reflected only on the records of the Creditor Trustee. The Creditor Trust
Interests shall be non-transferable other than if transferred by will, intestate succession, or otherwise by
operation of Law.

G.      Cooperation of the Reorganized Debtors.

        Subject to Article V.A, the Creditor Trust Agreement shall provide for the Reorganized Debtors’
records and information relating to the Creditor Trust Assets or copies thereof to be, to the extent
reasonably practicable, transferred to the Creditor Trust, including electronic records or documents, to the
extent (a) necessary to liquidate the Creditor Trust Assets and (b) consistent with applicable Law, but
shall further provide that any records or information so shared shall continue to be protected by the
attorney-client, work product, or common interest privileges. The transfer of such records and documents
to the Creditor Trust shall not waive any applicable privileges (or similar protections) to which such
documents, records, information, and work product may have been subject before such transfer to the
Creditor Trust.

         Except as otherwise provided in the Plan, the Confirmation Order, or the Creditor Trust
Agreement, and subject to Article V.A, the Reorganized Debtors, upon reasonable notice, shall reasonably
cooperate with the Creditor Trustee in the administration of the Creditor Trust, including by providing
reasonable access to pertinent documents, including books and records, to the extent the Reorganized
Debtors have such information and/or documents, to the Creditor Trustee sufficient to enable the Creditor
Trustee to perform its duties hereunder. The Reorganized Debtors shall reasonably cooperate with the
Creditor Trustee in the administration of the Creditor Trust, including by providing reasonable access to
documents and current officers and directors with respect to contesting, settling, compromising,
reconciling, and objecting to General Unsecured Claims (at the expense of the Creditor Trust as set forth in
the Creditor Trust Agreement). The Reorganized Debtors shall make reasonable best efforts to retain and
transfer all documents relating to the Creditor Trust Assets to the Creditor Trust; provided that, in each
case, the Creditor Trust agrees upon request to reimburse reasonable and documented out-of-pocket
expenses for preservation of documents, copying, or similar expenses. The collection, review, and
preservation of documents for any investigation or litigation by the Creditor Trustee shall be at the
expense of the Creditor Trust.

H.      United States Federal Income Tax Treatment of the Creditor Trust.

        For all United States federal income tax purposes, all parties shall treat the transfer of the Creditor
Trust Assets to the Creditor Trust for the benefit of the Creditor Trust Beneficiaries, whether their Claims
are Allowed on or after the Effective Date, including any amounts or other assets subsequently transferred
to the Creditor Trust (but only at such time as actually transferred) as (a) a transfer of the Creditor Trust
Assets (subject to any obligations relating to such Creditor Trust Assets) to the Creditor Trust
Beneficiaries and, to the extent the Creditor Trust Assets are allocable to, or retained on account of, any
Disputed Claims (the “Trust Claims Reserve”), followed by (b) the transfer by the Creditor Trust
Beneficiaries to the Creditor Trust of the Creditor Trust Assets (other than the Trust Claims Reserve) in
exchange for the Creditor Trust Interests. Accordingly, the Creditor Trust Beneficiaries shall be treated
for U.S. federal income tax purposes as the grantors and owners of their respective share of the Creditor
Trust Assets (other than Trust Claims Reserve). The foregoing treatment shall also apply, to the extent
permitted by applicable Law, for applicable U.S. state and local income tax purposes.


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         Subject to contrary definitive guidance from the IRS (as determined by the Creditor Trustee in its
reasonable discretion) (including the receipt by the Creditor Trustee of a private letter ruling if the
Creditor Trustee so requests, or the receipt of an adverse determination by the IRS upon audit if not
contested by the Creditor Trustee) or a court of competent jurisdiction, the Creditor Trustee may (a)
timely elect to treat the Trust Claims Reserve as a “disputed ownership fund” governed by Treasury
Regulation section 1.468B-9 and (b) to the extent permitted by applicable Law, report consistently with
the foregoing for applicable U.S. state and local income tax purposes. All parties (including, without
limitation, the Debtors, the Creditor Trust, the Creditor Trustee, and the Creditor Trust Beneficiaries)
shall report for U.S. federal and applicable U.S. state and local income tax purposes consistently with the
foregoing.

I.      Withholding

         The Creditor Trustee may deduct and withhold and pay to the appropriate taxing authority all
amounts required to be deducted or withheld pursuant to the Tax Code or any provision of any state, local,
or non-U.S. tax Law with respect to any Creditor Trust Beneficiaries, including with respect to any
payment or distribution to the Creditor Trust Beneficiaries, any amounts received by, collections of, or
earnings of the Creditor Trust and any proceeds from the Creditor Trust Assets. Notwithstanding the
above, each Holder of an Allowed Claim that is to receive a distribution under the Plan shall have the sole
and exclusive responsibility for the satisfaction and payment of any taxes imposed on such Holder by any
governmental authority, including income, withholding and other tax obligations, on account of such
distribution or with respect to its ownership of the Creditor Trust Interests. All such amounts deducted or
withheld and timely paid to the appropriate taxing authority shall be treated as amounts distributed to such
Creditor Trust Beneficiaries for all purposes of this Agreement, to the extent permitted by applicable Law.
The Creditor Trustee shall be authorized to collect such tax information from the Creditor Trust
Beneficiaries (including social security numbers or other tax identification numbers) as it, in its sole
discretion, deems necessary to effectuate the Plan, the Confirmation Order, and the Creditor Trust
Agreement and to determine whether any deduction or withholding applies with respect to a payment to
such Creditor Trust Beneficiary and the amount of such deduction or withholding.

        As a condition to receiving, or being entitled to receive, distributions under the Plan or from the
Creditor Trust, all Creditor Trust Beneficiaries may be required to identify themselves to the Creditor
Trustee and provide tax information and the specifics of their holdings, to the extent requested by the
Creditor Trustee, including an IRS Form W-9 or, in the case of Creditor Trust Beneficiaries that are not
U.S. persons for U.S. federal income tax purposes, certification of foreign status on an applicable IRS
Form W-8, including all applicable supporting documents. This identification requirement may, in certain
cases, extend to Holders who hold their securities in street name. The Creditor Trustee may refuse to
make a distribution to any Creditor Trust Beneficiary that fails to furnish such information in a timely
fashion, until (at a minimum) such information is delivered; provided, however, that upon the delivery of
such information by a Creditor Trust Beneficiary, the Creditor Trustee shall make such distribution to
which the Creditor Trust Beneficiary is entitled, without interest; provided, further, that if the Creditor
Trustee fails to withhold in respect of amounts received or distributable with respect to any such Holder
and the Creditor Trustee is later held liable for the amount of such withholding, such Holder shall
reimburse the Creditor Trustee for such liability. If a Creditor Trust Beneficiary fails to comply with such
a request for tax information within ninety days, the Creditor Trustee may file a document with the
Bankruptcy Court that will provide twenty one days’ notice before such distribution may be deemed an
Unclaimed Distribution, and shall not be entitled to any subsequent distributions. In the event that the
Creditor Trustee elects to make distributions through an intermediary (such as DTC), the party who would
be the withholding agent with respect to distributions to the Creditor Trust Beneficiary under U.S. federal



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income tax principles shall be responsible for withholding tax compliance with respect to any such
distribution, based on instructions on the character of the income from the Creditor Trustee.

J.      Dissolution of the Creditor Trust.

         Except as otherwise provided in the Creditor Trust Agreement, the Creditor Trustee and the
Creditor Trust shall be discharged or dissolved, as the case may be, at such time as (a) the Creditor
Trustee determines that all Creditor Trust Assets have been liquidated or otherwise disposed of, or the
liquidation or other disposition of any remaining Creditor Trust Assets is not likely to yield sufficient
additional proceeds to justify further actions with respect to the Creditor Trust Assets and (b) all
distributions of Creditor Trust Assets required to be made by the Creditor Trustee have been made, but in
no event shall the Creditor Trust be dissolved later than five years from the Effective Date unless the
Bankruptcy Court, upon motion made within the six-month period before such fifth anniversary (and, in
the event of further extension, within the six-month period before the end of the preceding extension),
determines that a fixed-period extension (not to exceed three years, together with any prior extensions,
without a favorable letter ruling from the IRS or based on advice or an opinion of counsel satisfactory to
Creditor Trustee that any further extension would not adversely affect the status of the Creditor Trust as a
liquidating trust for U.S. federal income tax purposes) is necessary to facilitate or complete the recovery
on, and liquidation of, the Creditor Trust Assets.

         Upon dissolution of the Creditor Trust, any remaining Creditor Trust Assets shall be distributed to
all Creditor Trust Beneficiaries in accordance with the Plan and the Creditor Trust Agreement as
appropriate; provided, however, that if the Creditor Trustee reasonably determines that such remaining
Creditor Trust Assets are insufficient to render a further distribution practicable, the Creditor Trustee may
(i) reserve any amount necessary to dissolve the Creditor Trust, (ii) donate any balance to a charitable
organization (A) described in section 501(c)(3) of the Tax Code, (B) exempt from U.S. federal income tax
under section 501(a) of the Tax Code, (C) not a “private foundation” as defined in section 509(a) of the
Tax Code, and (D) that is unrelated to the Debtors, the Creditor Trust, and any insider of the Creditor
Trustee, and (iii) dissolve the Creditor Trust.

K.      Tax Reporting.

         The Creditor Trust has been structured to qualify as a “liquidating trust” under section 301.7701-4
of the Treasury Regulations (other than with respect to the Trust Claims Reserve), with the Creditor Trust
Beneficiaries treated as the grantors and owners of the Creditor Trust. The “taxable year” of the Creditor
Trust shall be the “calendar year” as such terms are defined in section 441 of the Tax Code. The Creditor
Trustee shall file tax returns for the Creditor Trust treating the Creditor Trust as a grantor trust pursuant to
Treasury Regulations section 1.671-4(a) to the extent permitted by applicable Law, subject to the
treatment of the Trust Claims Reserve. The Creditor Trustee shall also annually send or make available to
each Creditor Trust Beneficiary of record, in accordance with applicable Law, a separate statement setting
forth such holder’s share of items of income, gain, loss, deduction or credit (including the receipts and
expenditures of the Creditor Trust) as relevant for U.S. federal income tax purposes and will instruct all
such Creditor Trust Beneficiaries to use such information in preparing their U.S. federal income tax
returns (including, for the avoidance of doubt, with respect to withholding tax) or to forward the
appropriate information to such Creditor Trust Beneficiary’s underlying beneficial holders with
instructions to utilize such information in preparing their U.S. federal income tax returns; provided that if
the Creditor Trustee elects to make distributions through an intermediary (such as DTC), it shall provide
such statement to such intermediaries for them to provide to such Creditor Trust Beneficiaries.




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        The Creditor Trustee also shall file (or cause to be filed) any other statements, returns, or
disclosures relating to the Creditor Trust that are required by any Governmental Unit.

         The Creditor Trustee shall be responsible for payment, out of the Creditor Trust Assets, of any
taxes imposed on the Creditor Trust or the Creditor Trust Assets, including the Trust Claims Reserve. In
the event, and to the extent, any Cash retained on account of a Disputed Claim in the Trust Claims
Reserve is insufficient to pay the portion of any such taxes attributable to the taxable income arising from
the assets allocable to, or retained on account of, such Disputed Claims, the Creditor Trustee may, in its
discretion, (a) sell any non-Cash assets relating to such Claim (including any assets distributable as a
result of disallowance of such Claim) to pay such taxes or (b) reimburse the Creditor Trust for the
payment of such taxes from any subsequent Cash amounts allocable to, or retained on account of, such
taxes from any subsequent Cash amounts allocable to, or retained on account of, such Disputed Claim
(including any Cash distributable as a result of disallowance of such Claims).

         The Creditor Trustee may request an expedited determination of taxes of the Creditor Trust,
including the Trust Claims Reserve, under section 505(b) of the Bankruptcy Code, for all tax returns filed
for, or on behalf of, the Creditor Trust for all taxable periods through the dissolution of the Creditor Trust.

L.      Transferred Privileges.

         Subject to Article V.A in all events, in respect of privileges (if any) transferred to the Creditor
Trust under the Creditor Trust Agreement (the “Transferred Privileges”), the Creditor Trust Agreement
shall contain terms substantially reflecting the following: subject to Article V.A, the Creditor Trust may
not waive any Transferred Privileges in respect of records, documents, or information related to the
Creditor Trust Assets without first providing to the Reorganized Debtors reasonable advance written
notice and an opportunity to protect their respective rights with respect to any subsequent disclosure and
the terms of any protective order, confidentiality stipulation, or similar agreement relating to such
disclosure. The Reorganized Debtors may not make disclosure in a manner that could effectuate a waiver
of any Transferred Privileges in respect of records, documents, or information related to the Creditor Trust
Assets without first providing to the Creditor Trustee reasonable advance written notice (in no event less
than five Business Days) and an opportunity to protect the Creditor Trust’s rights with respect to any
subsequent disclosure and the terms of any protective order, confidentiality stipulation, or similar
agreement relating to such disclosure. If the Creditor Trustee or the Reorganized Debtors object to an
action proposed to be taken by the other with regard to records, documents, or information related to the
Creditor Trust Assets that are covered by the Transferred Privilege (or a disclosure that would result in a
waiver), the parties shall be permitted to raise the issue promptly with the Bankruptcy Court. The party
providing advance written notice may take its proposed action unless the Bankruptcy Court determines
that (a) such action would cause material adverse harm to the other party, or (b) the harm to the objecting
party would substantially outweigh the benefit to the party seeking to take the proposed action. The
objecting party shall bear the burden of proof. Each of the parties shall bear its own costs and expenses,
including attorneys’ fees, incurred in connection with such dispute.

                                  ARTICLE VI.
            TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

A.      Assumption and Rejection of Executory Contracts and Unexpired Leases.

        On the Effective Date, except as otherwise provided herein, all Executory Contracts or Unexpired
Leases not otherwise assumed or rejected will be deemed rejected by the applicable Reorganized Debtor
in accordance with the provisions and requirements of sections 365 and 1123 of the Bankruptcy Code,
other than those that: (a) are identified on the Schedule of Assumed Executory Contracts and Unexpired

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Leases; (b) have previously expired or terminated pursuant to their own terms or agreement of the parties
thereto; (c) have been previously assumed or rejected by the Debtors pursuant to a Final Order; or (d) are,
as of the Effective Date, the subject of (i) a motion to assume that is pending or (ii) an order of the
Bankruptcy Court that is not yet a Final Order.

         Entry of the Confirmation Order shall constitute an order of the Bankruptcy Court approving the
assumptions, assumptions and assignments, or rejections of the Executory Contracts or Unexpired Leases
as set forth in the Plan, or the Schedule of Assumed Executory Contracts and Unexpired Leases or the
Schedule of Proposed Cure Amounts, pursuant to sections 365(a) and 1123 of the Bankruptcy Code.
Except as otherwise specifically set forth herein, assumptions or rejections of Executory Contracts and
Unexpired Leases pursuant to the Plan are effective as of the Effective Date. Notwithstanding anything
herein to the contrary, the effective date of the rejection of any such Unexpired Lease shall be the later of
(i) the Effective Date and (ii) the date upon which the Debtors notify the landlord in writing (e-mail being
sufficient) that they have surrendered the premises to the landlord and returned the keys, key codes, or
security codes, as applicable. Each Executory Contract or Unexpired Lease assumed pursuant to the Plan
or by Bankruptcy Court order but not assigned to a third party before the Effective Date shall revest in and
be fully enforceable by the applicable contracting Reorganized Debtor in accordance with its terms,
including in accordance with any amendments executed by the Debtors and the counterparties to the
applicable Executory Contract or Unexpired Lease during these Chapter 11 Cases and effective upon
assumption by the Debtors, except as such terms may have been modified by the provisions of the Plan or
any order of the Bankruptcy Court authorizing and providing for its assumption. Any motions to assume
Executory Contracts or Unexpired Leases pending on the Confirmation Date shall be subject to approval
by a Final Order on or after the Confirmation Date in accordance with any applicable terms herein, unless
otherwise settled by the applicable Debtors and counterparties.

         Except as otherwise provided herein or agreed to by the Debtors and the applicable counterparty,
each assumed Executory Contract or Unexpired Lease shall include all modifications, amendments,
supplements, restatements, or other agreements related thereto, and all rights related thereto, if any,
including all easements, licenses, permits, rights, privileges, immunities, options, rights of first refusal,
and any other interests. Modifications, amendments, supplements, and restatements to prepetition
Executory Contracts and Unexpired Leases that have been executed by the Debtors during the Chapter 11
Cases shall not be deemed to alter the prepetition nature of the Executory Contract or Unexpired Lease or
the validity, priority, or amount of any Claims that may arise in connection therewith.

          To the maximum extent permitted by Law, the transactions contemplated by the Plan shall not
constitute a “change of control” or “assignment” (or terms with similar effect) under any Executory
Contract or Unexpired Lease assumed or assumed and assigned pursuant to the Plan, or any other
transaction, event, or matter that would (a) result in a violation, breach or default under such Executory
Contract or Unexpired Lease, (b) increase, accelerate or otherwise alter any obligations, rights or
liabilities of the Debtors or the Reorganized Debtors under such Executory Contract or Unexpired Lease,
or (c) result in the creation or imposition of a Lien upon any property or asset of the Debtors or the
Reorganized Debtors pursuant to the applicable Executory Contract or Unexpired Lease. Any consent or
advance notice required under such Executory Contract or Unexpired Lease shall be deemed satisfied by
Confirmation.

        Notwithstanding anything to the contrary in the Plan, after the Confirmation Date, an Executory
Contract or Unexpired Lease on the Schedule of Assumed Contracts and Unexpired Leases as of the
Confirmation Date may not be assumed by the applicable Debtor(s) unless the applicable lessor or
contract counterparty has (x) consented to such assumption, (y) objected to the rejection of such
Executory Contract or Unexpired Lease on the grounds that such Executory Contract or Unexpired Lease
should not be rejected and should instead be assumed (and such objection remains outstanding), or (z), in
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the case of Unexpired Leases, consented to an extension of the time period in which the applicable
Debtor(s) must assume or reject such Unexpired Lease pursuant to section 365(d)(4) of the Bankruptcy
Code (as extended with the applicable lessor’s consent, the “Deferred Deadline”), in which case for
purposes of clause (z) the applicable Debtor(s) shall have until the Deferred Deadline to assume such
Unexpired Lease, subject to the applicable lessor’s right to object to such assumption, or such Unexpired
Lease shall be deemed rejected. For any Executory Contract or Unexpired Lease assumed pursuant to this
paragraph, all Cure amounts shall be paid on the Effective Date or as soon as reasonably practicable
thereafter, unless subject to a dispute with respect to Cure cost, such dispute shall be addressed in
accordance with Article VI.D.

        To the extent any provision of the Bankruptcy Code or the Bankruptcy Rules require the Debtors
to assume or reject an Executory Contract or Unexpired Lease by a deadline, including section 365(d) of
the Bankruptcy Code, such requirement shall be satisfied if the Debtors make an election, either through
the Filing of a motion or identification in the Plan Supplement, to assume or reject such Executory
Contract or Unexpired Lease prior to the applicable deadline, regardless of whether or not the Bankruptcy
Court has actually ruled on such proposed assumption or rejection prior to such deadline.

B.      Indemnification Obligations.

        All indemnification provisions, consistent with applicable Law, in place as of the Effective Date
(whether in the bylaws, certificates of incorporation or formation, limited liability company agreements,
other organizational documents, board resolutions, indemnification agreements, employment contracts,
or otherwise) for current directors, officers, managers, employees, attorneys, accountants, investment
bankers, and other professionals of the Debtors, as applicable shall be Reinstated and remain intact,
irrevocable, and shall survive the effectiveness of the Plan on the same terms that existed prior to the
Effective Date; provided that nothing herein shall expand any of the Debtors’ indemnification
obligations in place as of the Petition Date.

         Upon the Effective Date, the Debtors’ existing D&O Liability Insurance Policy expires and the
Endorsement #94: “Run off Endorsement” will be in place and shall not be altered, amended or modified
by the Plan. For the avoidance of doubt, the Reorganized Debtors do not assume any indemnification
obligation for any insured under the Debtors’ D&O Liability Insurance Policies, including, but not
limited to, any Excluded Party who is an insured under the Debtors’ D&O Liability Insurance Policies,
and no insured, including any Excluded Party, shall have any recourse to the Reorganized Debtors with
respect to any such indemnification obligation under such policies.

C.      Claims Based on Rejection of Executory Contracts or Unexpired Leases.

        Entry of the Confirmation Order shall constitute a Bankruptcy Court Order approving the
rejections, if any, of any Executory Contracts or Unexpired Leases not on the Schedule of Assumed
Executory Contracts and Unexpired Leases. Any objection to the rejection of an Executory Contract or
Unexpired Lease under the Plan must be Filed with the Bankruptcy Court on or before fourteen days after
the service of notice of rejection on the affected counterparty. Unless otherwise provided by a Final Order
of the Bankruptcy Court, all Proofs of Claim with respect to Claims arising from the rejection of
Executory Contracts or Unexpired Leases, pursuant to the Plan or the Confirmation Order, if any, must be
Filed with the Bankruptcy Court within thirty days after the later of (a) the date of entry of an order of the
Bankruptcy Court (including the Confirmation Order) approving such rejection and (b) the effective date
of such rejection. Any Claims arising from the rejection of an Executory Contract or Unexpired
Lease not Filed with the Bankruptcy Court within such time will be automatically disallowed,
forever barred from assertion, and shall not be enforceable against the Debtors or the Reorganized
Debtors, the Estates, the Creditor Trust, or their property without the need for any objection by the
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Reorganized Debtors or further notice to, or action, order, or approval of the Bankruptcy Court or
any other Entity, and any Claim arising out of the rejection of the Executory Contract or Unexpired
Lease shall be deemed fully satisfied, released, and discharged, notwithstanding anything in the
Proof of Claim to the contrary; provided, however, that this nothing in this Article shall prejudice
any rights under 11 U.S.C. § 365(n), if any, held by a counterparty to a rejected contract. For the
avoidance of doubt, unless otherwise agreed, any property remaining on the premises subject to a rejected
Unexpired Lease shall be deemed abandoned by the Debtors or the Reorganized Debtors, as applicable, as
of the effective date of the rejection, and the counterparty to such Unexpired Lease shall be authorized to
(i) use or dispose of any property left on the premises in its sole and absolute discretion without notice or
liability to the Debtors or the Reorganized Debtors, as applicable, or any third party, and (ii) shall be
authorized to assert a Claim for any and all damages arising from the abandonment of such property by
filing a Claim in accordance with this Article VI.C.

D.      Cure of Defaults for Assumed Executory Contracts and Unexpired Leases.

         On the Effective Date or as soon as reasonably practicable thereafter, the Debtors or the
Reorganized Debtors, as applicable, shall, in accordance with the Schedule of Proposed Cure Amounts,
pay all Cure costs relating to Executory Contracts and Unexpired Leases that are being assumed under the
Plan. Unless otherwise agreed upon in writing by the parties to the applicable Executory Contract or
Unexpired Lease, all objections to any Cures set forth in the Schedule of Proposed Cure Amounts must be
Filed with the Bankruptcy Court on or before 14 days after the service of the Schedule of Proposed Cure
Amounts on affected counterparties. Any such request that is not timely Filed shall be disallowed and
forever barred, estopped, and enjoined from assertion, and shall not be enforceable against any Debtor or
Reorganized Debtor, without the need for any objection by the Debtors or the Reorganized Debtors or any
other party in interest or any further notice to or action, order, or approval of the Bankruptcy Court. Any
Cure costs shall be deemed fully satisfied, released, and discharged upon payment by the Debtors or the
Reorganized Debtors of the applicable Cure costs; provided, however, that nothing herein shall prevent
the Reorganized Debtors from paying any Cure costs despite the failure of the relevant counterparty to file
such request for payment of such Cure costs. The Reorganized Debtors also may settle any disputes
related to Cure costs without any further notice to or action, order, or approval of the Bankruptcy Court.
In addition, any objection to the assumption of an Executory Contract or Unexpired Lease under the Plan
must be Filed with the Bankruptcy Court on or before 14 days after the service of notice of assumption on
affected counterparties. Any such objection will be scheduled to be heard by the Bankruptcy Court at the
Confirmation Hearing or at the Debtors’ or the Reorganized Debtors’, as applicable, first scheduled
omnibus hearing for which such objection is timely Filed, unless otherwise agreed to by the parties or
ordered by the Bankruptcy Court. Any counterparty to an Executory Contract or Unexpired Lease that
fails to timely object to the proposed assumption or assumption and assignment, as applicable, of any
Executory Contract or Unexpired Lease will be deemed to have consented to such assumption or
assumption and assignment.

        If there is any dispute regarding any Cure costs, the ability of the Reorganized Debtors or any
assignee to provide “adequate assurance of future performance” within the meaning of section 365 of the
Bankruptcy Code, or any other matter pertaining to assumption or assumption and assignment, then
payment of any Cure costs shall occur as soon as reasonably practicable after (a) entry of a Final Order
resolving such dispute, approving such assumption (and, if applicable, assignment) or (b) as may be
agreed upon by the Debtors or the Reorganized Debtors, as applicable, and the counterparty to the
Executory Contract or Unexpired Lease.

       If the Bankruptcy Court determines that the Allowed Cure cost with respect to any Executory
Contract or Unexpired Lease is greater than the amount set forth in the Schedule of Proposed Cure
Amounts (such greater amount, the “Court-Ordered Cure Cost”), the Debtors shall have the right to (a)
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pay the Court-Ordered Cure Cost as soon as reasonably practicable thereafter and assume such Executory
Contract or Unexpired Lease in accordance with the terms herein or (b) remove such Executory Contract
or Unexpired Lease from the Schedule of Assumed Executory Contracts and Unexpired Leases, in which
case such Executory Contract or Unexpired Lease will be deemed rejected on the date of entry of the
Court-Ordered Cure Cost and in the case of an Unexpired Lease, the Debtors shall, pursuant to section
365(d)(4) of the Bankruptcy Code, immediately surrender the related premises to the lessor unless
otherwise agreed with the applicable lessor, subject to the applicable counterparty’s right to object to such
rejection; provided that, after the deadline to assume an Executory Contract or Unexpired Lease set forth
in section 365(d) of the Bankruptcy Code, an Executory Contract or Unexpired Lease may only be
removed from the Schedule of Assumed Executory Contracts and Unexpired Leases if (i) the applicable
counterparty consents to such rejection, (ii) the applicable counterparty objected to the assumption or
Cure of such Executory Contract or Unexpired Lease on the grounds that such Executory Contract or
Unexpired Lease should not be assumed and should instead be rejected, including alleging an incurable
default (and such objection remains outstanding), or (iii) the Court-Ordered Cure Cost is greater than the
amount set forth in the Schedule of Proposed Cure Amounts, as set forth at the beginning of this
paragraph. Notwithstanding anything to the contrary herein, the Reorganized Debtors and the applicable
counterparty shall be entitled to the full benefits of the Executory Contract or Unexpired Lease (including
without limitation, any license thereunder) pending the resolution of any Cure dispute.

        Assumption of any Executory Contract or Unexpired Lease pursuant to the Plan or otherwise shall
result in the full release and satisfaction of any Cures, Claims, or defaults, whether monetary or
nonmonetary, including defaults of provisions restricting the change in control or ownership interest
composition or any bankruptcy-related defaults, arising at any time prior to the effective date of
assumption, upon the payment of all applicable Cures. Any and all Proofs of Claim based upon
Executory Contracts or Unexpired Leases that have been assumed in the Chapter 11 Cases,
including pursuant to the Confirmation Order, shall be deemed disallowed and expunged as of the
later of (i) the date of entry of an order of the Bankruptcy Court (including the Confirmation
Order) approving such assumption, (ii) the effective date of such assumption, or (iii) the Effective
Date without the need for any objection thereto or any further notice to or action, order, or
approval of the Bankruptcy Court; provided, however, that nothing herein shall affect the allowance
of Claims or any Cure agreed to by the Debtors in any written agreement amending or modifying
any Executory Contract or Unexpired Lease prior to assumption pursuant to the Plan or otherwise.

E.      Preexisting Obligations to the Debtors under Executory Contracts and Unexpired Leases.

        Rejection of any Executory Contract or Unexpired Lease pursuant to the Plan or otherwise shall
not constitute a termination of preexisting obligations owed to the Debtors or the Reorganized Debtors, as
applicable, under such Executory Contracts or Unexpired Leases.

F.      Insurance Policies.

         Each of the Debtors’ insurance policies and any agreements, documents, or instruments relating
thereto, are treated as Executory Contracts under the Plan. Unless otherwise provided in the Plan, on the
Effective Date, (a) the Debtors shall be deemed to have assumed all insurance policies and any
agreements, documents, and instruments relating to coverage of all insured Claims and (b) such insurance
policies and any agreements, documents, or instruments relating thereto shall revest in the Reorganized
Debtors.




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G.      Reservation of Rights.

        Nothing contained in the Plan or the Plan Supplement shall constitute an admission by the
Debtors or any other party that any contract or lease is in fact an Executory Contract or Unexpired Lease
or that any Reorganized Debtor has any liability thereunder. If there is a dispute regarding whether a
contract or lease is or was executory or unexpired at the time of assumption or rejection, the Debtors or
the Reorganized Debtors, as applicable, shall have forty-five days following entry of a Final Order
resolving such dispute to alter their treatment of such contract or lease.

H.      Nonoccurrence of Effective Date.

        In the event that the Effective Date does not occur, the Bankruptcy Court shall retain jurisdiction
with respect to any request to extend the deadline for assuming or rejecting Unexpired Leases pursuant to
section 365(d)(4) of the Bankruptcy Code.

                                        ARTICLE VII.
                           PROVISIONS GOVERNING DISTRIBUTIONS

A.      Distributions on Account of Claims or Interests Allowed as of the Effective Date.

         Unless otherwise provided in the Plan, on or as soon as reasonably practicable after the Effective
Date (or, if a Claim is not an Allowed Claim on the Effective Date, on the date that such Claim becomes
an Allowed Claim, or as soon as reasonably practicable thereafter), each Holder of an Allowed Claim
shall receive the full amount of the distributions that the Plan provides for Allowed Claims in the
applicable Class. In the event that any payment or act under the Plan is required to be made or performed
on a date that is not a Business Day, then the making of such payment or the performance of such act may
be completed on the next succeeding Business Day, but shall be deemed to have been completed as of the
required date. If and to the extent that there are Disputed Claims, distributions on account of any such
Disputed Claims shall be made pursuant to the provisions set forth in Article VIII hereof. Except as
otherwise provided in the Plan, Holders of Claims shall not be entitled to interest, dividends, or accruals
on the distributions provided for in the Plan, regardless of whether such distributions are delivered on or
at any time after the Effective Date.

        Notwithstanding the foregoing, (a) Allowed Administrative Claims with respect to liabilities
incurred by the Debtors in the ordinary course of business during the Chapter 11 Cases or assumed by the
Debtors prior to the Effective Date shall be paid or performed in the ordinary course of business in
accordance with the terms and conditions of any controlling agreements, course of dealing, course of
business, or industry practice and (b) Allowed Priority Tax Claims shall be paid in accordance with
Article II.D of the Plan. To the extent any Allowed Priority Tax Claim is not due and owing on the
Effective Date, such Claim shall be paid in full in Cash in accordance with the terms of any agreement
between the Debtors and the Holder of such Claim or as may be due and payable under applicable
non-bankruptcy Law or in the ordinary course of business. Thereafter, a Distribution Date shall occur no
less frequently than once in every 180-day period, as necessary, in the discretion of the Reorganized
Debtors. The timing of distribution(s) to Holders of Allowed General Unsecured Claims shall be
determined by the Plan Administrator in its sole discretion.




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B.      Disbursing Agent.

        Except as otherwise set forth in this Article VII.B or the Plan Supplement, all distributions under
the Plan shall be made by the applicable Disbursing Agent. The Disbursing Agent shall not be required to
give any bond or surety or other security for the performance of its duties.

       The Disbursing Agent shall, among other things, implement, administer, and make distributions
on account of Allowed Claims, including:

                Making distributions as provided for in the Plan on account of unclassified Allowed
                 Claims and on account of Allowed Claims in Classes 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, 13
                 and 14 to the extent applicable.

                Making distributions of the Estate Claims Settlement Amount to Holders of Allowed
                 Claims in Class 7 and Class 8;

                Making distributions of the Third-Party Release Settlement Amount to Holders of Claims
                 and Interests who are bound by the Third-Party Release Settlement Agreement; and

                Making all other distributions as provided for in the Plan.

         Notwithstanding any provision in the Plan to the contrary, distributions to the Holders of
Convertible Notes Claims may be made to or at the direction of the Convertible Notes Trustee, which may
act as Disbursing Agent (or direct the Disbursing Agent) for distributions to the Holders of Convertible
Notes Claims in accordance with the Plan and the Convertible Notes Documents. The Convertible Notes
Trustee may transfer or direct the transfer of such distributions directly through the facilities of DTC
(whether by means of book-entry exchange, free delivery or otherwise) and will be entitled to recognize
and deal for all purposes under the Plan with the Holders of the Convertible Notes Claims to the extent
consistent with the customary practices of DTC; provided, that, under no circumstances will the
Convertible Notes Trustee be responsible for making or required to make any distribution under the Plan
to Holders of Convertible Notes Claims if such distribution is not eligible to be distributed through the
facilities of DTC. Notwithstanding anything to the contrary herein, such distributions shall be subject in
all respects to any rights of the Convertible Notes Trustee to assert charging liens against such
distributions.

C.      Rights and Powers of Disbursing Agent.

        1. Powers of the Disbursing Agent.

        The Disbursing Agent shall be empowered to: (a) effect all actions and execute all agreements,
instruments, and other documents necessary to perform its duties under the Plan; (b) make all distributions
contemplated hereby; (c) employ professionals to represent it with respect to its responsibilities; and (d)
exercise such other powers as may be vested in the Disbursing Agent by order of the Bankruptcy Court,
pursuant to the Plan, or as deemed by the Disbursing Agent to be necessary and proper to implement the
provisions hereof.

        2. Expenses Incurred On or After the Effective Date.

       Except as otherwise ordered by the Bankruptcy Court, the amount of any reasonable fees and
expenses incurred by the Disbursing Agent on or after the Effective Date (including taxes), and any
reasonable compensation and expense reimbursement Claims (including reasonable attorney fees and
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expenses), made by the Disbursing Agent shall be paid in Cash by the Reorganized Debtors, Plan
Administrator, or the Creditor Trustee, as applicable.

D.      Delivery of Distributions and Undeliverable or Unclaimed Distributions.

        1. Record Date for Distribution.

         On the Distribution Record Date, the Claims Register shall be closed and any party responsible
for making distributions is and shall be authorized and entitled to recognize only those record Holders
listed on the Claims Register as of the close of business on the Distribution Record Date. Unless
otherwise provided in a Final Order from the Bankruptcy Court, if a Claim, other than one based on a
Security that is traded on a recognized securities exchange, is transferred twenty or fewer days before the
Distribution Record Date, the Disbursing Agent shall make distributions to the transferee only to the
extent practical and, in any event, only if the relevant transfer form contains an unconditional and explicit
certification and waiver of any objection to the transfer by the transferor.

        2. Delivery of Distributions in General.

         Except as otherwise provided herein or in the Plan Supplement, the Disbursing Agent shall make
distributions, including to Holders of Allowed Claims and Allowed Interests, as applicable, as of the
Distribution Record Date at the address for each such Persons as indicated on the Debtors’ records as of
the date of any such distribution; provided that the manner of such distributions shall be determined at the
discretion of the Reorganized Debtors or the Disbursing Agent, as applicable.

        3. Minimum Distributions.

         The Disbursing Agent shall not make any distributions, including to a Holder of an Allowed
Claim or Allowed Interest on account of such Allowed Claim or Allowed Interest of Cash, where such
distribution is valued, in the reasonable discretion of the applicable Disbursing Agent, at less than $250.
When any distribution pursuant to the Plan, as applicable, would otherwise result in the issuance of a
number of shares of the New Common Stock that is not a whole number, the actual distribution of shares
of the New Common Stock shall be rounded as follows: (a) fractions of one-half or greater shall be
rounded to the next higher whole number; and (b) fractions of less than one-half shall be rounded to the
next lower whole number with no further payment therefor. The total number of authorized shares of the
New Common Stock to be distributed under the Plan shall be adjusted as necessary to account for the
foregoing rounding. No fractional shares of the New Common Stock shall be distributed and no Cash
shall be distributed in lieu of such fractional amounts. Each distribution, including on account of a Claim
or Interest, to which these limitations apply shall be discharged pursuant to Article I. of the Plan and its
Holder shall be forever barred pursuant to Article IX of the Plan from asserting that Claim or Interest
against the Released Parties.

       Any amounts owed that are under $250 shall revest in the applicable Reorganized Debtor
automatically (and without need for a further order by the Bankruptcy Court).

        4. Undeliverable and Unclaimed Distributions.

        If any distribution is returned to the Disbursing Agent as undeliverable, no distribution shall be
made unless and until the Disbursing Agent is notified in writing of such Person’s then-current address or
other necessary information for delivery, at which time all currently due missed distributions shall be
made to such Person on the next Distribution Date without interest. Except with respect to the
Third-Party Release Settlement Amounts as provided for herein, undeliverable distributions shall remain

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in the possession of the Plan Administrator or the Creditor Trust until such time as a distribution becomes
deliverable, or such distribution reverts to the Plan Administrator or the Creditor Trust or is cancelled
pursuant to this Article VII, and shall not be supplemented with any interest, dividends, or other accruals
of any kind.

         Any distribution under the Plan that is an Unclaimed Distribution or remains undeliverable for a
period of 180 days after distribution shall be deemed unclaimed property under section 347(b) of the
Bankruptcy Code and such Unclaimed Distribution or undeliverable distribution shall revest in the Plan
Administrator or the Creditor Trust, as applicable, automatically (and without need for a further order by
the Bankruptcy Court, notwithstanding any applicable federal, provincial, or estate escheat, abandoned, or
unclaimed property Laws to the contrary), except with respect to any Third-Party Release Settlement
Amounts, which shall revest in the Foris Secured Parties, and, to the extent such Unclaimed Distribution
is comprised of the New Common Stock, such New Common Stock shall be cancelled. Upon such
revesting, the Claim of the Person or its successors with respect to such property shall be cancelled,
released, discharged, and forever barred notwithstanding any applicable federal or state escheat,
abandoned, or unclaimed property Laws, or any provisions in any document governing the distribution
that is an Unclaimed Distribution, to the contrary. The Disbursing Agent shall adjust the distributions of
the New Common Stock to reflect any such cancellation.

        5. Surrender of Cancelled Instruments or Securities.

         On the Effective Date or as soon as reasonably practicable thereafter, each holder of a certificate
or instrument evidencing a Claim or an Interest that has been cancelled in accordance with Article IV.KK
hereof shall be deemed to have surrendered such certificate or instrument to the Disbursing Agent. Such
surrendered certificate or instrument shall be cancelled solely with respect to the Debtors, and such
cancellation shall not alter the obligations or rights of any non-Debtor third parties vis-à-vis one another
with respect to such certificate or instrument, including with respect to any indenture or agreement that
governs the rights of the Holder of a Claim or Interest, which shall continue in effect for purposes of
allowing Holders to receive distributions under the Plan, charging liens, priority of payment, and
indemnification rights. Notwithstanding anything to the contrary herein, this paragraph shall not apply to
certificates or instruments evidencing Claims that are Unimpaired under the Plan.

E.      Manner of Payment.

        Except as otherwise provided in the Plan, the Plan Supplement, or any agreement, instrument, or
other document incorporated in the Plan or the Plan Supplement, all distributions of the New Common
Stock to the Holders of the applicable Allowed Claims or Allowed Interests, in each case if any, under the
Plan shall be made by the Disbursing Agent on behalf of the Debtors or the Reorganized Debtors, as
applicable.

         All distributions of Cash, including to the Holders of the applicable Allowed Claims or Allowed
Interests, in each case if any, under the Plan shall be made by the Disbursing Agent on behalf of the
applicable Debtor or Reorganized Debtor.

        At the option of the applicable Disbursing Agent, any Cash payment to be made hereunder may be
made by check, Automated Clearing House, or wire transfer or as otherwise required or provided in
applicable agreements.




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F.      Compliance with Tax Requirements.

        In connection with the Plan, to the extent applicable, the Debtors, the Reorganized Debtors, the
Disbursing Agent, and any applicable withholding agent shall comply with all tax withholding and
reporting requirements imposed on them by any Governmental Unit, and all distributions made pursuant
to the Plan shall be subject to such withholding and reporting requirements. Notwithstanding any
provision in the Plan to the contrary, such parties shall be authorized to take all actions necessary or
appropriate to comply with such withholding and reporting requirements, including liquidating a portion
of the distribution to be made under the Plan to generate sufficient funds to pay applicable withholding
taxes, withholding distributions pending receipt of information necessary to facilitate such distributions,
or establishing any other mechanisms they believe are reasonable and appropriate.

G.      Allocations.

        Distributions in respect of Allowed Claims shall be allocated first to the principal amount of such
Claims (as determined for United States federal income tax purposes) and then, to the extent the
consideration exceeds the principal amount of the Claims, to any portion of such Claims for accrued but
unpaid interest.

H.      No Postpetition Interest on Claims.

         Unless otherwise specifically provided for in the DIP Orders, the Plan, or the Confirmation Order,
or required by applicable bankruptcy and non-bankruptcy Law, postpetition interest shall not accrue or be
paid on any prepetition Claims, and no Holder of a Claim shall be entitled to interest accruing on or after
the Petition Date on such Claim. Additionally, and without limiting the foregoing, interest shall not
accrue or be paid on any Disputed Claim with respect to the period from the Effective Date to the date a
final distribution is made on account of such Disputed Claim, if and when such Disputed Claim becomes
an Allowed Claim.

I.      Preservation of Setoffs and Recoupment.

        Except as expressly provided in the Plan or the Plan Supplement, each Reorganized Debtor may,
pursuant to section 553 of the Bankruptcy Code, set off and/or recoup against any Plan Distributions to be
made on account of any Allowed Claim, any and all claims, rights, and Causes of Action (other than
Avoidance Actions) that such Reorganized Debtor may hold against the Holder of such Allowed Claim to
the extent such setoff or recoupment is either (a) agreed in amount among the relevant Reorganized
Debtor(s) and the Holder of the Allowed Claim or (b) otherwise adjudicated by the Bankruptcy Court or
another court of competent jurisdiction; provided that neither the failure to effectuate a setoff or
recoupment nor the allowance of any Claim hereunder shall constitute a waiver or release by a
Reorganized Debtor or their applicable successor of any and all claims, rights, and Causes of Action that
such Reorganized Debtor or their applicable successor may possess against the applicable Holder. In no
event shall any Holder of a Claim be entitled to recoup such Claim against any claim, right, or Cause of
Action of the Debtors, the Reorganized Debtors, unless such Holder actually has performed such
recoupment and provided notice thereof in writing to the Debtors in accordance with Article XIII.G hereof
on or before the Effective Date, notwithstanding any indication in any Proof of Claim or otherwise that
such Holder asserts, has, or intends to preserve any right of recoupment.

        Notwithstanding anything to the contrary herein, nothing in the Plan or the Confirmation Order
shall modify the rights, if any, of any counterparty to an Executory Contract or Unexpired Lease to assert
any right of setoff or recoupment that such party may have under applicable bankruptcy Law or
non-bankruptcy Law, including, but not limited to, the (i) ability, if any, of such parties to setoff or recoup

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a security deposit held pursuant to the terms of their Unexpired Lease(s) with the Debtors, or any
successors to the Debtors, under the Plan, (ii) assertion of rights of setoff or recoupment, if any, in
connection with Claims reconciliation, or (iii) assertion of setoff or recoupment as a defense, if any, to any
Claim or action by the Debtors, the Reorganized Debtors, or any successors of the Debtors.

J.      Claims Paid or Payable by Third Parties.

        1. Claims Paid by Third Parties.

         The Debtors or the Reorganized Debtors, as applicable, shall reduce in full a Claim, and such
Claim shall be disallowed without a Claim Objection having to be Filed and without any further notice to
or action, order, or approval of the Bankruptcy Court, to the extent that the Holder of such Claim receives
payment in full on account of such Claim from a party that is not a Debtor or a Reorganized Debtor.
Subject to the last sentence of this paragraph, to the extent a Holder of a Claim receives a distribution on
account of such Claim and receives payment from a party that is not a Debtor or a Reorganized Debtor on
account of such Claim, such Holder shall, within fourteen calendar days of receipt thereof, repay or return
the distribution to the applicable Reorganized Debtor, to the extent the Holder’s total recovery on account
of such Claim from the third party and under the Plan exceeds the amount of such Claim as of the date of
any such distribution under the Plan. The failure of such Holder to timely repay or return such
distribution shall result in the Holder owing the applicable Reorganized Debtor annualized interest at the
Federal Judgment Rate on such amount owed for each Business Day after the fourteen-day grace period
specified above until the amount is repaid.

        2. Claims Payable by Third Parties.

         No distributions under the Plan shall be made on account of an Allowed Claim that is payable
pursuant to one of the Debtors’ insurance policies until the Holder of such Allowed Claim has exhausted
all remedies with respect to such insurance policy. To the extent that one or more of the Debtors’ insurers
agrees to satisfy in full or in part a Claim (if and to the extent adjudicated by a court of competent
jurisdiction), then immediately upon such insurers’ agreement, the applicable portion of such Claim may
be expunged without a Claim Objection having to be Filed and without any further notice to or action,
order, or approval of the Bankruptcy Court.

        3. Applicability of Insurance Policies.

        Except as otherwise provided in the Plan or the Plan Supplement, distributions to Holders of
Allowed Claims shall be in accordance with the provisions of any applicable insurance policy. Nothing
contained in the Plan shall constitute or be deemed a waiver of any Cause of Action that the Debtors or
any Entity may hold against any other Entity, including insurers under any policies of insurance, nor shall
anything contained herein constitute or be deemed a waiver by such insurers of any defenses, including
coverage defenses, held by such insurers.

                                      ARTICLE VIII.
                         PROCEDURES FOR RESOLVING CONTINGENT,
                           UNLIQUIDATED, AND DISPUTED CLAIMS

A.      Allowance of Claims.

        After the Effective Date, each of the Reorganized Debtors shall have and retain any and all rights
and defenses the applicable Debtor had with respect to any Claim or Interest immediately before the
Effective Date; provided, however, the Plan Administrator or Creditor Trust shall have and retain any and

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all rights and defenses that the Debtors had with regard to any Claim to which they may object, except
with respect to any Claim that is Allowed. Except as expressly provided in the Plan or in any order
entered in the Chapter 11 Cases before the Effective Date (including the Confirmation Order), no Claim or
Interest shall become an Allowed Claim or Interest unless and until such Claim or Interest, as applicable,
is deemed Allowed under the Plan or the Bankruptcy Code, or the Bankruptcy Court has entered a Final
Order, including the Confirmation Order (when it becomes a Final Order), in the Chapter 11 Cases
allowing such Claim or Interest.

B.      Claims Administration Responsibilities.

        1. Claims.

        With respect to all Classes of Claims, and amounts distributable under the Plan, and except as
otherwise specifically provided in the Plan and notwithstanding any requirements that may be imposed
pursuant to Bankruptcy Rule 9019, after the Effective Date, the Plan Administrator or the Creditor Trust,
as applicable, shall have the sole authority (solely in relation to Class 8 Claims in the case of the Creditor
Trust, and in relation to any other Claims in the case of the Plan Administrator) to: (a) File and prosecute
Claim Objections; (b) settle, compromise, withdraw, litigate to judgment, or otherwise resolve any and all
Claim Objections, regardless of whether such Claims are in a Class or otherwise; (c) settle, compromise,
or resolve any Disputed Claim without any further notice to or action, order, or approval by the
Bankruptcy Court; and (d) administer and adjust the Claims Register to reflect any such settlements or
compromises without any further notice to or action, order, or approval by the Bankruptcy Court. After
the Effective Date, the Plan Administrator or the Creditor Trust, as applicable, shall resolve Disputed
Claims in accordance with their fiduciary duties and pursuant to the terms of the Plan.

C.      Estimation of Claims.

         Before, on, or after the Effective Date, the Debtors, the Reorganized Debtors, Plan Administrator,
or Creditor Trust (as applicable) may (but are not required to) at any time request that the Bankruptcy
Court estimate any Claim pursuant to applicable Law, including pursuant to section 502(c) of the
Bankruptcy Code and/or Bankruptcy Rule 3012, for any reason, regardless of whether any party
previously has objected to such Claim or Interest or whether the Bankruptcy Court has ruled on any such
objection, and the Bankruptcy Court shall retain jurisdiction to estimate any such Claim, including during
the litigation of any objection to any Claim or during the pendency of any appeal relating to such
objection.

D.      Disputed Claims Reserve.

        On or before the Effective Date, the Reorganized Debtors, Plan Administrator, or Creditor Trust
(as applicable) shall establish one or more reserves of the applicable consideration for any Claims against
any Debtor that are Disputed Claims as of the Distribution Record Date, which reserves shall be
administered by the Disbursing Agent.
         After the Effective Date, the applicable Disbursing Agent shall hold such consideration in such
reserve(s) in trust for the benefit of such Disputed Claims as of the Distribution Record Date, that are
ultimately determined to be Allowed after the Distribution Record Date. The Disbursing Agent shall
distribute such amounts (net of any expenses, including any taxes relating thereto), as provided herein, as
such Claims are resolved by a Final Order or agreed to by settlement, and such amounts will be
distributable on account of such Claims as such amounts would have been distributable had such Claims
been Allowed Claims as of the Effective Date under Article III of the Plan solely to the extent of the
amounts available in the applicable reserve(s).

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         Upon a Disputed Claim becoming disallowed by a Final Order, the applicable amount of the
consideration that was in the disputed claims reserve on account of such Disputed Claim shall be canceled
by the Reorganized Debtors or the applicable Disbursing Agent. The Disbursing Agent shall adjust the
distributions of the consideration to reflect any such cancellation.
         The Debtors, the Reorganized Debtors, Plan Administrator, or Creditor Trust (as applicable) may
take the position that grantor trust treatment applies in whole or in part to any assets held in a disputed
claims reserve. To the extent such treatment applies to any such account or fund, for all U.S. federal
income tax purposes, the beneficiaries of any such account or fund would be treated as grantors and
owners thereof, and it is intended, to the extent reasonably practicable, that any such account or fund
would be classified as a liquidating trust under section 301.7701-4 of the Treasury Regulations.
Accordingly, subject to the immediately foregoing sentence, if such intended U.S. federal income tax
treatment applied, then for U.S. federal income tax purposes, the beneficiaries of any such account or fund
would be treated as if such beneficiaries had received an interest in such account or fund’s assets and then
contributed such interests to such account or fund. Alternatively, any assets held in the Trust Claims
Reserve for certain Disputed Claims may be subject to the tax rules that apply to “disputed ownership
funds” under 26 C.F.R. 1.468B–9. To the extent such treatment applies, such assets will be subject to
entity-level taxation, and the Reorganized Debtors shall be required to comply with the relevant rules.

E.      Time to File Objections to Claims.

        Any objections to Claims or Interests shall be Filed on or before the later of (i) 180 days after the
Effective Date and (ii) such other period of limitation as may be specifically fixed by the Bankruptcy
Court upon a motion by the Debtors, the Reorganized Debtors.

F.      Disallowance of Claims or Interests.

        Except as otherwise expressly set forth herein, all Claims and Interests of any Entity from which
property is sought by the Debtors under sections 542, 543, 550, or 553 of the Bankruptcy Code or that the
Debtors or the Reorganized Debtors allege is a transferee of a transfer that is avoidable under sections
522(f), 522(h), 544, 545, 547, 548, 549, or 724(a) of the Bankruptcy Code shall be disallowed if: (a) the
Entity, on the one hand, and the Debtors or the Reorganized Debtors, as applicable, on the other hand,
agree or the Bankruptcy Court has determined by Final Order that such Entity or transferee is liable to
turn over any property or monies under any of the aforementioned sections of the Bankruptcy Code; and
(b) such Entity or transferee has failed to turn over such property by the date set forth in such agreement
or Final Order.

G.      No Distributions Pending Allowance.

         Notwithstanding any other provision of the Plan, if any portion of a Claim or Interest is a
Disputed Claim or Interest, as applicable, no payment or distribution provided hereunder shall be made on
account of such Claim or Interest unless and until such Disputed Claim or Interest becomes an Allowed
Claim or Interest; provided that if only the Allowed amount of an otherwise valid Claim or Interest is
Disputed, such Claim or Interest shall be deemed Allowed in the amount not Disputed and payment or
distribution shall be made on account of such undisputed amount pending resolution of the dispute.

H.      Distributions After Allowance.

         To the extent that a Disputed Claim or Interest ultimately becomes an Allowed Claim or Interest,
distributions (if any) shall be made to the Holder of such Allowed Claim or Interest in accordance with the
provisions of the Plan. As soon as reasonably practicable after the date that the order or judgment of the
Bankruptcy Court allowing any Disputed Claim or Interest becomes a Final Order, the Disbursing Agent
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shall provide to the Holder of such Claim or Interest the distribution (if any) to which such Holder is
entitled under the Plan as of such date, without any interest to be paid on account of such Claim or
Interest.

I.      Single Satisfaction of Claims.

        Holders of Allowed Claims or Allowed Interests may assert such Claims against or Interests in the
Debtors obligated with respect to such Claims or Interests, and such Claims and Interests shall be entitled
to share in the recovery provided for the applicable Claim or Interest against the Debtors based upon the
full Allowed amount of such Claims or Interests. Notwithstanding the foregoing, in no case shall the
aggregate value of all property received or retained under the Plan on account of any Allowed Claim or
Allowed Interest exceed the amount of the Allowed Claim or Allowed Interest.

                                     ARTICLE IX.
             SETTLEMENT, RELEASE, INJUNCTION, AND RELATED PROVISIONS

A.      Discharge of Claims and Termination of Interests.

         Pursuant to section 1141(d) of the Bankruptcy Code, and except as otherwise specifically
provided in the Plan, the Confirmation Order, any other Definitive Document, or in any contract,
instrument, or other agreement or document created or entered into pursuant to the Plan or the Plan
Supplement, the distributions, rights, and treatment that are provided in the Plan shall be in complete
satisfaction, discharge, and release, effective as of the Effective Date, of Claims (including any
Intercompany Claims resolved or compromised after the Effective Date by the Reorganized Debtors),
Interests, and Causes of Action of any nature whatsoever, including any interest accrued on Claims or
Interests from and after the Petition Date, whether known or unknown, against, liabilities of, Liens on,
obligations of, rights against, and interests in, the Debtors or any of their assets or properties, regardless of
whether any property shall have been distributed or retained pursuant to the Plan on account of such
Claims and Interests, including demands, liabilities, and Causes of Action that arose before the Effective
Date, and all debts of the kind specified in sections 502(g), 502(h), or 502(i) of the Bankruptcy Code, in
each case whether or not: (a) a Proof of Claim based upon such debt or right is Filed or deemed Filed
pursuant to section 501 of the Bankruptcy Code; (b) a Claim or Interest based upon such debt, right, or
interest is Allowed pursuant to section 502 of the Bankruptcy Code; or (c) the Holder of such a Claim or
Interest has accepted the Plan; provided, however, any DIP Facility Claims and/or Foris Prepetition
Secured Claims that are rolled up, converted, exchanged, refinanced or amended and restated into the Exit
First Lien Facility and/or New Common Stock of Reorganized Amyris shall not be deemed satisfied and
discharged and shall continue in full force and effect. Any default by the Debtors or their Affiliates with
respect to any Claim or Interest that existed immediately prior to or on account of the filing of the Chapter
11 Cases shall be deemed cured on the Effective Date. The Confirmation Order shall be a judicial
determination of the discharge of all Claims (other than the Reinstated Claims) and Interests (other than
the Intercompany Interests that are Reinstated) subject to the occurrence of the Effective Date.

B.      Release of Liens.

        Except as otherwise provided herein, in the Exit First Lien Facility Documents, the DSM
Plan Promissory Note, the DSM Plan Pledge Agreement, the Plan Supplement, the Confirmation
Order, or in any contract, instrument, release, or other agreement or document created pursuant to
the Plan, and other than as to the DIP Facility Claims and Foris Prepetition Secured Claims rolled
up, converted, exchanged, refinanced or amended and restated, into the Exit First Lien Facility, on
the Effective Date and concurrently with the applicable distributions made pursuant to the Plan
and, in the case of a Secured Claim, satisfaction in full of the portion of the Secured Claim that is

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Allowed as of the Effective Date, except for Other Secured Claims that the Debtors elect to
Reinstate in accordance with the Plan, all mortgages, deeds of trust, Liens, pledges, or other
security interests against any property of the Estates shall be fully released and discharged, and all
of the right, title, and interest of any Holder of such mortgages, deeds of trust, Liens, pledges, or
other security interests shall revert to the Reorganized Debtors and their successors and assigns, in
each case, without any further approval or order of the Bankruptcy Court and without any action
or Filing being required to be made by the Debtors or the Reorganized Debtors, or any other
Holder of a Secured Claim. Any Holder of such Secured Claim (and the applicable agents for such
Holder) shall be authorized and directed, at the sole cost and expense of the Reorganized Debtors, to
release any collateral or other property of any Debtor (including any cash collateral and possessory
collateral) held by such Holder (and the applicable agents for such Holder), and to take such actions
as may be reasonably requested by the Reorganized Debtors to evidence the release of such Liens
and/or security interests, including the execution, delivery, and filing or recording of such releases.
The presentation or filing of the Confirmation Order to or with any federal, state, provincial, or
local agency, records office, or department shall constitute good and sufficient evidence of, but shall
not be required to effect, the termination of such mortgages, deeds of trust, Liens, pledges, and
other security interests.

        To the extent that any Holder of a Secured Claim that has been satisfied or discharged in
full pursuant to the Plan, or any agent for such Holder, has filed or recorded publicly any Liens
and/or security interests to secure such Holder’s Secured Claim, then as soon as practicable on or
after the Effective Date, such Holder (or the agent for such Holder) shall take any and all steps
requested by the Debtors, the Reorganized Debtors, or the Exit First Lien Facility Agent, that are
necessary or desirable to record or effectuate the cancellation and/or extinguishment of such Liens
and/or security interests, including the making of any applicable filings or recordings, and the
Reorganized Debtors shall be entitled to make any such filings or recordings on such Holder’s
behalf.
C.
        Releases by the Debtors.

         Except as otherwise expressly provided in the Plan or the Confirmation Order, on the
Effective Date, for good and valuable consideration, each of the Debtors, on its own behalf and as a
representative of its Estates, to the fullest extent permitted under applicable law, shall, and shall be
deemed to, completely and forever release, waive, void and extinguish unconditionally, as against
each and all of the Released Parties, any and all Claims, Estate Causes of Action, interests,
obligations, suits, judgments, damages, debts, rights, remedies, set offs, and Liabilities of any nature
whatsoever, whether liquidated or Unliquidated, fixed or Contingent, matured or unmatured,
known or unknown, foreseen or unforeseen, then existing or thereafter arising, in law, equity, tort,
contract, or otherwise, that are or may be based in whole or part on any act, omission, transaction,
event, occurrence, or other circumstance, whether direct or derivative, taking place or existing on
or prior to the Effective Date (including prior to the Petition Date) arising from, in connection with,
or related to, directly or indirectly, in any manner whatsoever, the Debtors or their operations,
assets, liabilities, financings, the Estates, or the Chapter 11 Cases, that may be asserted by or on
behalf of such Debtor or its Estate, against any of the Released Parties; provided, however, that
nothing in this section shall operate as a release, waiver, discharge or impairment of any Estate
Causes of Action transferred to the Creditor Trust, which are preserved notwithstanding anything
to the contrary in this section.

        Notwithstanding anything to the contrary in the foregoing, the releases set forth above do
not release: (a) any post-Effective Date obligations of any party or Entity under the Plan, the
Confirmation Order, any Restructuring Transaction, any Definitive Document, or any other
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document, instrument, or agreement (including those set forth in the Plan Supplement) executed to
implement the Plan or the Restructuring Transactions; (b) the rights of any Holder of Allowed
Claims to receive distributions under the Plan; (c) any Claims for indemnification that are
expressly assumed by the Reorganized Debtors pursuant to the Plan or any document, instrument,
or agreement executed to implement the Plan or the Restructuring Transactions; or (d) any
obligations arising under business or commercial agreements or arrangements among the Released
Parties and any non-Debtor Entity.

       Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval,
pursuant to Bankruptcy Rule 9019, of the Debtor Release, which includes by reference each of the
related provisions and definitions contained in the Plan, and further, shall constitute the
Bankruptcy Court’s finding that the Debtor Release is: (i) in exchange for the good and valuable
consideration provided by the Released Parties; (ii) a good faith settlement and compromise of the
claims or Causes of Action released by the Debtor Release; (iii) in the best interests of the Debtors,
the Estates, and all Holders of Claims and Interests; (iv) fair, equitable and reasonable; (v) given
and made after reasonable investigation by the Debtors and after notice and opportunity for
hearing; and (vi) a bar to any of the Debtors, the Reorganized Debtors, or the Estates asserting any
claim or Cause of Action released by the Debtor release against any of the Released Parties.

D.      Third-Party Release by the Releasing Parties.

        Notwithstanding anything contained in the Plan to the contrary, as of the Effective Date,
for good and valuable consideration, the adequacy of which is hereby confirmed, the Releasing
Parties shall be deemed to forever release and waive, as against each and all of the Released Parties,
any and all Direct Claims, whether liquidated or unliquidated, fixed or contingent, matured or
unmatured, known or unknown, foreseen or unforeseen, then existing or hereafter arising, in law,
equity, or otherwise that are or may be based in whole or in part upon any act, omission,
transaction, event, or other occurrence taking place or existing on or prior to the Effective Date;
provided, however, that nothing in this section shall operate as a release, waiver, discharge or
impairment of (i) any Estate Causes of Action or liabilities arising out of actual fraud, willful
misconduct, or gross negligence of any such Released Party as determined by a Final Order, or (ii)
any Causes of Action transferred to the Creditor Trust, which Causes of Action are preserved
notwithstanding anything to the contrary in this section, or (iii) any Excluded Party Direct Claims.

        Notwithstanding anything to the contrary in the foregoing, the releases set forth above do
not release: (a) any post-Effective Date obligations of any party or Entity under the Plan, the
Confirmation Order, any Restructuring Transaction, any Definitive Document, or any other
document, instrument, or agreement (including those set forth in the Plan Supplement) executed to
implement the Plan or the Restructuring Transactions, including the Exit First Lien Facility
Documents; (b) the rights of any Holder of Allowed Claims or Allowed Interests to receive
distributions under the Plan; and (c) any obligations arising under business or commercial
agreements or arrangements among the Released Parties and any non-Debtor Entity.

         If the Third-Party Release is not approved by the Bankruptcy Court, each holder of a Direct
Claim may voluntarily elect to receive its Pro Rata portion of the Third-Party Release Amounts to
which it is entitled by electing to grant the Third-Party Release, through the following methods: (x)
for (i) holders of Claims who are entitled to submit a ballot to vote on the Plan and vote to accept
the Plan, (ii) holders of Claims who are entitled to submit a ballot to vote on the Plan and (a) vote to
reject the Plan or (b) abstain from voting on the Plan and, in either case, do not elect to exercise
their right to opt out of granting the Third-Party Release, and (y) for holders of Claims and
Interests who are deemed to accept or reject the Plan and are provided with a notice of non-voting
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status providing them with the right to opt out of granting the Third-Party Release and do not elect
to exercise such right; provided, that, as applicable, the Direct Claims Threshold is satisfied.

         Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval,
pursuant to Bankruptcy Rule 9019, of the Third-Party Release, which includes by reference each of
the related provisions and definitions contained in the Plan, and, further, shall constitute the
Bankruptcy Court’s finding that the Third-Party Release is: (i) essential to the Confirmation; (ii)
given in exchange for the good and valuable consideration provided by the Released Parties,
including, without limitation, the Released Parties’ contributions to facilitating the Creditor Trust
and the Third-Party Release Settlement Amounts and the restructuring and implementing the Plan;
(iii) a good faith settlement and compromise of the claims or Causes of Action released by the
Third-Party Release; (iv) in the best interests of the Debtors and their Estates; (v) fair, equitable,
and reasonable; (vi) given and made after due notice and opportunity for hearing; and (vii) a bar to
any of the Releasing Parties asserting any Direct Claim released pursuant to the Third-Party
Release.

E.      Exculpation.

        Except as otherwise specifically provided in the Plan or the Confirmation Order, no
Exculpated Party shall have or incur liability for, and each Exculpated Party shall be released and
exculpated from any claims and Causes of Action for any claim related to any act or omission in
connection with, relating to, or arising out of, the Chapter 11 Cases, the formulation, preparation,
dissemination, negotiation, filing, or termination of prepetition transactions (including with respect
to the Debt Documents), the Disclosure Statement, the DIP Facility, the Plan, the Plan Supplement,
the Exit First Lien Facility Documents, or any Restructuring Transaction, contract, instrument,
release or other agreement or document (including any legal opinion requested by any Entity
regarding any transaction, contract, instrument, document, or other agreement contemplated by
the Plan or the reliance by any Released Party on the Plan or the Confirmation Order in lieu of
such legal opinion) created or entered into in connection with the Disclosure Statement, the DIP
Facility, the Plan, the Plan Supplement, the Exit First Lien Facility, the filing of the Chapter 11
Cases, the pursuit of Confirmation, the pursuit of Consummation, the administration and
implementation of the Plan, including the issuance or distribution of securities pursuant to the Plan,
or the distribution of property under the Plan or any other related agreement, or upon any other
related act or omission, transaction, agreement, event, or other occurrence, except for claims
related to any act or omission that is determined in a Final Order by a court of competent
jurisdiction to have constituted actual fraud, willful misconduct, or gross negligence, but in all
respects such Entities shall be entitled to reasonably rely upon the advice of counsel with respect to
their duties and responsibilities pursuant to the Plan.

        The Exculpated Parties have, and upon Confirmation shall be deemed to have, participated
in good faith and in compliance with the applicable Law with regard to the solicitation of votes and
distribution of consideration pursuant to the Plan and, therefore, are not, and on account of such
distributions shall not be, liable at any time for the violation of any applicable Law, rule, or
regulation governing the solicitation of acceptances or rejections of the Plan or such distributions
made pursuant to the Plan.

F.      Plan Injunction.

        Except as otherwise expressly provided in the Plan or the Confirmation Order or for
obligations or distributions issued or required to be paid pursuant to the Plan or the Confirmation
Order, and separate and apart from the Direct Claims Injunction, all Entities who have held, hold,

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or may hold the Released Claims are permanently enjoined from and after the Effective Date, from
taking any of the following actions against, as applicable, the Debtors, the Reorganized Debtors, the
Exculpated Parties, or the Released Parties: (a) commencing or continuing in any manner any
action, suit, or other proceeding of any kind on account of or in connection with or with respect to
any Released Claims; (b) enforcing, attaching, collecting, or recovering by any manner or means
any judgment, award, decree, or order against such Entities on account of or in connection with or
with respect to any Released Claims; (c) creating, perfecting, or enforcing any lien or encumbrance
of any kind against such Entities or the Estates of such Entities on account of or in connection with
or with respect to any Released Claims; (d) asserting any right of setoff, subrogation, or
recoupment of any kind against any obligation due from such Entities or against the property or the
Estates of such Entities on account of or in connection with or with respect to any Released Claims
unless such Entity has Filed a motion requesting the right to perform such setoff on or before the
Effective Date, and notwithstanding an indication of a Claim or Interest or otherwise that such
Entity asserts, has, or intends to preserve any right of setoff pursuant to applicable Law or
otherwise; and (e) commencing or continuing in any manner any action or other proceeding of any
kind on account of or in connection with or with respect to any Released Claims released or settled
pursuant to the Plan.

        Upon entry of the Confirmation Order, all Holders of Claims and Interests and their
respective current and former employees, agents, officers, directors, managers, principals, and
direct and indirect Affiliates, in their capacities as such, shall be enjoined from taking any actions to
interfere with the implementation or Consummation of the Plan. Each Holder of an Allowed Claim
or Allowed Interest, as applicable, by accepting, or being eligible to accept, distributions under or
Reinstatement of such Claim or Interest, as applicable, pursuant to the Plan, shall be deemed to
have consented to the injunction provisions set forth in this Article IX.F hereof.

G.      Direct Claims Injunction.

        1. General Purposes and Terms.

         The Confirmation Order shall provide that, as of the Effective Date, and irrespective of
whether any such holder has agreed to be bound by the Plan, all holders of Direct Claims and their
respective Related Parties will be permanently and forever stayed, enjoined, barred, and restrained
from taking any action, directly or indirectly, for the purposes of asserting, enforcing, or attempting
to assert or enforce any Direct Claim against the Direct Claims Injunction Parties, including all of
the following actions (collectively, the “Direct Claims Injunction”):

             a. commencing or continuing in any manner, any actions or other proceedings
                of any kind with respect to any Direct Claims against any of the Direct
                Claims Injunction Parties or against the property of any of the Direct Claims
                Injunction Parties;
             b. enforcing, levying, attaching, collecting, or otherwise recovering, by any
                manner or means, from any of the Direct Claims Injunction Parties, or the
                property of the Direct Claims Injunction Parties, any judgment, award,
                decree, or order with respect to any Direct Claim against any of the Direct
                Claims Injunction Parties, or any other person;
             c. creating, perfecting, or enforcing any lien of any kind relating to any Direct
                Claim against any of the Direct Claims Injunction Parties, or the property of
                the Direct Claims Injunction Parties; and


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             d. taking any act, in any manner, in any place whatsoever, that does not
                conform to, or comply with, the provisions of the Plan, with respect to any
                such Direct Claim.
        2. Standing of Direct Claim Injunction Parties.

        Each of the Direct Claims Injunction Parties shall have standing to seek relief from the
Bankruptcy Court or any court of competent jurisdiction for purposes of enforcement of the Direct
Claims Injunction or other Injunction or releases under the Plan to the extent that any act occurs or
is taken that is contrary to the provisions of, or would interfere with, restrict, defeat, nullify, violate
or otherwise limit the protections afforded the Direct Claims Injunction Party through the Direct
Claims Injunction.

H.      Protections Against Discriminatory Treatment.

        Consistent with section 525 of the Bankruptcy Code and the Supremacy Clause of the United
States Constitution, all Entities, including Governmental Units, shall not discriminate against the
Reorganized Debtors or deny, revoke, suspend, or refuse to renew a license, permit, charter, franchise, or
other similar grant to, condition such a grant to, discriminate with respect to such a grant against, the
Reorganized Debtors, or another Entity with whom the Reorganized Debtors have been associated, solely
because each Debtor has been a debtor under chapter 11 of the Bankruptcy Code, has been insolvent
before the commencement of the Chapter 11 Cases (or during the Chapter 11 Cases but before the Debtors
are granted or denied a discharge), or has not paid a debt that is dischargeable in the Chapter 11 Cases.

I.      Document Retention.

        On and after the Effective Date, the Reorganized Debtors may maintain documents in accordance
with their standard document retention policy, as may be altered, amended, modified, or supplemented by
the Reorganized Debtors.

J.      Reimbursement or Contribution.

        If the Bankruptcy Court disallows a Claim for reimbursement or contribution of an Entity
pursuant to section 502(e)(1)(B) of the Bankruptcy Code, then to the extent that such Claim is contingent
as of the time of allowance or disallowance, such Claim shall be forever disallowed and expunged
notwithstanding section 502(j) of the Bankruptcy Code, unless prior to the Confirmation Date: (a) such
Claim has been adjudicated as non-contingent or (b) the relevant Holder of a Claim has Filed a
non-contingent Proof of Claim on account of such Claim and a Final Order has been entered prior to the
Confirmation Date determining such Claim as no longer contingent.

                                     ARTICLE X.
                CONDITIONS PRECEDENT TO CONSUMMATION OF THIS PLAN

A.      Conditions Precedent to Approval of the Disclosure Statement

       The Creditors Committee and the holders of at least 60% of the outstanding principal amount of
the Convertible Notes) each executes a joinder to the Plan Support Agreement.




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B.      Conditions Precedent to the Confirmation Date.

         It shall be a condition to the Confirmation Date that the following conditions shall have been
satisfied:

        1. the Disclosure Statement Order shall have been entered and shall be in full force and effect
        and not have been reversed, stayed, modified, or vacated on appeal;
        2. the Plan Supplement and all of the schedules, documents, and exhibits contained therein shall
        have been filed;
        3. the Plan Support Agreement shall not have been terminated and shall be in full force and
        effect;
        4. the DIP Orders shall be in full force and effect in accordance with the terms thereof, and no
        event of default (that had not been waived) shall be continuing thereunder or occur as a result of
        entry of the Confirmation Order;
        5. the sale of the Sold Assets (including the Other Assets in the event of a Sale Option) shall
        have been approved by the Bankruptcy Court and the order approving the sale of the Sold Assets
        (including the Other Assets in the event of a Sale Option) shall be entered and not reversed,
        stayed, modified or vacated on appeal;
        6. in the event of a Sale Option, the proceeds of the Sold Assets shall in the aggregate generate
        cash Net Proceeds in an amount necessary to fund the Plan Effective Date Funding Amount;
        7. the amount of the Allowed Lavvan Secured Claim shall be determined by the Bankruptcy
        Court and such amount shall be acceptable to the DIP Lender and the Foris Prepetition Secured
        Lenders in their sole and absolute discretion;
        8. the Debtors shall negotiate modifications to the Lease dated as of March 10, 2008 by and
        between ES East Associates, LLC and Parent (as from time to time amended, modified,
        supplemented, restated or amended and restated) for the real property located at 5885 Hollis
        Street, Emeryville, California that are acceptable to the DIP Lender and the Foris Prepetition
        Secured Lenders;
        9. the (i) Allowed Administrative Claims shall not exceed the amounts set forth in the Plan
        Effective Date Funding Schedule; and (ii) the Plan Effective Date Funding Amount shall not
        exceed the amount set forth on the Plan Effective Date Funding Schedule; and
        10. the Third-Party Release, Exculpation, Injunction, and Direct Claims Injunction provisions
        provided herein shall be approved and the Released Parties and Direct Claims Injunction Parties
        shall include such persons as is acceptable to the DIP Lender and the Foris Prepetition Secured
        Lenders and the Debtors in their respective sole and absolute discretion.




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C.      Conditions Precedent to the Effective Date.

        It shall be a condition to the Effective Date that the following conditions shall have been satisfied:

        1. the Plan Support Agreement shall not have been terminated and shall be in full force and
        effect;

        2. the Final DIP Order shall be in full force and effect and not have been reversed, stayed,
        modified or vacated on appeal;

        3. the Bankruptcy Court shall have entered an order(s) approving the sale of the Sold Assets
        (including the Other Assets in the event of a Sale Option) and such order(s) shall not have been
        reversed, stayed, modified or vacated on appeal;

        4. the Bankruptcy Court shall have entered the Confirmation Order in form and substance and
        Materially Consistent (as defined in the Plan Support Agreement) with the Plan Support
        Agreement, and the Confirmation Order shall be in full force and effect and not have been
        reversed, stayed, modified, or vacated on appeal;

        5.    the Estate Claims Settlement shall have been approved by the Bankruptcy Court and
        incorporated into the Confirmation Order;

        6. the Definitive Documents shall (i) be on terms Materially Consistent (as defined in the Plan
        Support Agreement) with the Plan Support Agreement and otherwise approved by the requisite
        parties thereto consistent with their respective consent and approval rights as set forth in the Plan
        Support Agreement and (ii) have been executed or deemed executed and delivered by each party
        thereto, and any conditions precedent related thereto shall have been satisfied or waived by the
        applicable party or parties;

        7. all actions, documents, and agreements necessary to implement and consummate the Plan shall
        have been effected and executed, including, without limitation, the closing of the sales of the
        Consumer Brands Businesses;

        8. each of the Exit Facility and related documentation shall have been executed and delivered by
        each party thereto, and any conditions precedent related thereto shall have been satisfied or
        waived (with the consent of the Debtors, the DIP Lender, the Foris Prepetition Secured Lenders,
        and the Exit Facility Lenders), other than such conditions that relate to the effectiveness of the
        Plan and related transactions, including payment of fees and expenses;

        9. all fees, expenses, and other amounts payable to the DIP Lender, the Foris Prepetition Secured
        Lenders and the Consenting Stakeholders as provided for in the Plan and the Plan Support
        Agreement and on account of the Convertible Notes Trustee Fees and Expenses shall have been
        satisfied in full (or provision for such payment made); and

        10. the Debtors, the DIP Lenders and the Foris Prepetition Secured Lenders shall have obtained
        all authorizations, consents, regulatory approvals, rulings, or documents that are necessary to
        implement and effectuate the Plan and each of the other transactions contemplated by the
        Restructuring.

D.      Waiver of Conditions.


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         Except as otherwise specified in the Plan, any one or more of the conditions to Consummation set
forth in this Article X may be waived only if waived in writing by the Debtors and the DIP Lender and/or
the Foris Prepetition Secured Lenders, as applicable, without notice, leave, or order of the Bankruptcy
Court or any formal action other than proceedings to confirm or consummate the Plan.

E.      Effect of Failure of Conditions.

        If Consummation does not occur, the Plan shall be null and void in all respects and nothing
contained in the Plan, the Disclosure Statement, or any other Definitive Document shall: (a) constitute a
waiver or release of any Claims by the Debtors, Claims, or Interests; (b) prejudice in any manner the
rights of the Debtors, any Holders of Claims or Interests, or any other Entity; or (c) constitute an
admission, acknowledgment, offer, or undertaking by the Debtors, any Holders of Claims or Interests, or
any other Entity; provided that all provisions of the Plan or other any Definitive Document that survive
termination thereof shall remain in effect in accordance with the terms thereof.

F.      Substantial Consummation.

         “Substantial Consummation” of the Plan, as defined in section 1101(2) of the Bankruptcy Code,
shall be deemed to occur on the Effective Date.

                                    ARTICLE XI.
              MODIFICATION, REVOCATION, OR WITHDRAWAL OF THIS PLAN

A.      Modification and Amendments.

         Except as otherwise specifically provided in the Plan, the Debtors reserve the right to modify the
Plan, whether such modification is material or immaterial, and seek Confirmation consistent with the
Bankruptcy Code and, as appropriate, not resolicit votes on such modified Plan; provided that any such
modification (whether material or immaterial) shall be acceptable in form and substance to Foris, the
Creditors’ Committee, and the Ad Hoc Group and materially consistent with the Plan Support Agreement.
Subject to those restrictions on modifications set forth in the Plan, and the Plan Support Agreement and
the requirements of section 1127 of the Bankruptcy Code, Bankruptcy Rule 3019, and, to the extent
applicable, sections 1122, 1123, and 1125 of the Bankruptcy Code, each of the Debtors expressly reserves
its respective rights to revoke or withdraw, or to alter, amend, or modify the Plan with respect to such
Debtor, one or more times, after Confirmation, and, to the extent necessary may initiate proceedings in the
Bankruptcy Court to so alter, amend, or modify the Plan, or remedy any defect or omission, or reconcile
any inconsistencies in the Plan, the Disclosure Statement, or the Confirmation Order, in such matters as
may be necessary to carry out the purposes and intent of the Plan.

B.      Effect of Confirmation on Modifications.

        Entry of the Confirmation Order shall mean that all modifications or amendments to the Plan
since the solicitation thereof are approved pursuant to section 1127(a) of the Bankruptcy Code and do not
require additional disclosure or resolicitation under Bankruptcy Rule 3019.

C.      Revocation or Withdrawal of Plan.

        Subject to the Plan Support Agreement, the Debtors reserve the right to revoke or withdraw the
Plan prior to the Confirmation Date and to File subsequent plans of reorganization. If the Debtors revoke
or withdraw the Plan, or if Confirmation or Consummation does not occur, then: (a) the Plan shall be null
and void in all respects; (b) any settlement or compromise embodied in the Plan (including the fixing or

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limiting to an amount certain of any Claim or Interest or Class of Claims or Interests), assumption or
rejection of Executory Contracts or Unexpired Leases effected under the Plan, and any document or
agreement executed pursuant to the Plan, shall be deemed null and void; and (c) nothing contained in the
Plan shall: (i) constitute a waiver or release of any Claims or Interests; (ii) prejudice in any manner the
rights of such Debtor or any other Entity; or (iii) constitute an admission, acknowledgement, offer, or
undertaking of any sort by such Debtor or any other Entity.

                                          ARTICLE XII.
                                  RETENTION OF JURISDICTION

        Notwithstanding the entry of the Confirmation Order and the occurrence of the Effective Date, on
and after the Effective Date, the Bankruptcy Court shall retain exclusive jurisdiction over all matters
arising out of, or relating to, the Chapter 11 Cases and the Plan pursuant to sections 105(a) and 1142 of
the Bankruptcy Code, including jurisdiction to:

        a. allow, disallow, determine, liquidate, classify, estimate, or establish the priority, secured or
           unsecured status, or amount of any Claim or Interest, including the resolution of any request
           for payment of any Administrative Claim and the resolution of any and all objections to the
           secured or unsecured status, priority, amount, or allowance of Claims or Interests;

        b. decide and resolve all matters related to the granting and denying, in whole or in part, any
           applications for allowance of compensation or reimbursement of expenses to Professionals
           authorized pursuant to the Bankruptcy Code or the Plan;

        c. resolve any matters related to: (i) the assumption, assumption and assignment, or rejection of
           any Executory Contract or Unexpired Lease to which a Debtor is party or with respect to
           which a Debtor may be liable and to hear, determine, and, if necessary, liquidate, any Claims
           arising therefrom, including Cures pursuant to section 365 of the Bankruptcy Code; (ii) any
           potential contractual obligation under any Executory Contract or Unexpired Lease that is
           assumed; (iii) the Reorganized Debtors amending, modifying, or supplementing, after the
           Effective Date, pursuant to Article VI hereof, the list of Executory Contracts and Unexpired
           Leases to be assumed or rejected or otherwise; and (iv) any dispute regarding whether a
           contract or lease is or was executory or expired;

        d. ensure that distributions to Holders of Allowed Claims and Holders of Allowed Interests are
           accomplished pursuant to the provisions of the Plan;

        e. adjudicate, decide, or resolve any motions, adversary proceedings, contested or litigated
           matters, and any other matters, and grant or deny any applications involving a Debtor that may
           be pending on the Effective Date;

        f.   enter and implement such orders as may be necessary to execute, implement, or consummate
             the provisions of the Plan and all contracts, instruments, releases, indentures, and other
             agreements or documents created or entered into in connection with the Plan, the
             Confirmation Order, or the Disclosure Statement;

        g. enter and enforce any order for the sale of property pursuant to sections 363, 1123, or 1146(a)
           of the Bankruptcy Code;




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        h. resolve any cases, controversies, suits, disputes, or Causes of Action that may arise in
           connection with the Consummation, interpretation, or enforcement of the Plan or any Entity’s
           obligations incurred in connection with the Plan;

        i.   issue injunctions, enter and implement other orders, or take such other actions as may be
             necessary to restrain interference by any Entity with Consummation or enforcement of the
             Plan;

        j.   resolve any cases, controversies, suits, disputes, or Causes of Action with respect to the
             releases, injunctions, exculpations, and other provisions contained in Article IX hereof and
             enter such orders as may be necessary or appropriate to implement such releases, injunctions,
             and other provisions;

        k. resolve any cases, controversies, suits, disputes, or Causes of Action with respect to the
           repayment or return of distributions and the recovery of additional amounts owed by the
           Holder of a Claim or Interest for amounts not timely repaid pursuant to Article VII.J hereof;

        l.   enter and implement such orders as are necessary if the Confirmation Order is for any reason
             modified, stayed, reversed, revoked, or vacated;

        m. determine any other matters that may arise in connection with or relate to the Plan, the Plan
           Supplement, the Disclosure Statement, the Confirmation Order, or any contract, instrument,
           release, indenture, or other agreement or document created in connection with the Plan or the
           Disclosure Statement;

        n. enter an order or final decree concluding or closing the Chapter 11 Cases;

        o. adjudicate any and all disputes arising from or relating to distributions under the Plan or any
           transactions contemplated therein;

        p. adjudicate any and all matters relating to the Creditor Trust;

        q. consider any modifications of the Plan, to cure any defect or omission, or to reconcile any
           inconsistency in any Bankruptcy Court order, including the Confirmation Order;

        r.   determine requests for the payment of Claims and Interests entitled to priority pursuant to
             section 507 of the Bankruptcy Code;

        s. hear and determine disputes arising in connection with the interpretation, implementation, or
           enforcement of the Plan or the Confirmation Order, including disputes arising under
           agreements, documents, or instruments executed in connection with the Plan;

        t.   hear and determine matters concerning U.S. state, local, and federal taxes in accordance with
             sections 346, 505, and 1146 of the Bankruptcy Code;

        u. hear and determine all disputes involving the existence, nature, scope, or enforcement of any
           exculpations, discharges, injunctions, and releases granted in the Plan, including under Article
           IX hereof, whether occurring prior to or after the Effective Date;

        v. enforce all orders previously entered by the Bankruptcy Court; and


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        w. hear any other matter not inconsistent with the Bankruptcy Code.

                                           ARTICLE XIII.
                                    MISCELLANEOUS PROVISIONS

A.      Immediate Binding Effect.

        Subject to Article X.A hereof, and notwithstanding Bankruptcy Rules 3020(e), 6004(h), or 7062
or otherwise, upon the occurrence of the Effective Date, the terms of the Plan (including, for the
avoidance of doubt, the documents and instruments contained in the Plan Supplement) shall be
immediately effective and enforceable and deemed binding upon the Debtors, the Reorganized Debtors,
any and all Holders of Claims or Interests (irrespective of whether such Holders of Claims or Interests
have, or are deemed to have, accepted the Plan), all Entities that are parties to or are subject to the
settlements, compromises, releases, discharges, and injunctions described in the Plan, each Entity
acquiring property under the Plan, and any and all non-Debtor parties to Executory Contracts and
Unexpired Leases with the Debtors. All Claims and Interests shall be as fixed, adjusted, or compromised,
as applicable, pursuant to the Plan regardless of whether any Holder of a Claim or Interest has voted on
the Plan.

B.      SEC Matters.

        Notwithstanding any language to the contrary in the Disclosure Statement, Plan and/or
Confirmation Order, no provision shall (i) preclude the United States Securities and Exchange
Commission (“SEC”) from enforcing its police or regulatory powers; or, (ii) enjoin, limit, impair or delay
the SEC from commencing or continuing any claims, causes of action, proceeding or investigations
against any non-Debtor person or non-Debtor entity in any forum; provided that the foregoing shall not
diminish the scope of any exculpation to which any party is entitled under section 1125(e) of the
Bankruptcy Code.

C.      Additional Documents.

         On or before the Effective Date, the Debtors may file with the Bankruptcy Court such agreements
and other documents as may be necessary to effectuate and further evidence the terms and conditions of
the Plan; provided that any and all such agreements and documents shall be in form and substance
acceptable to the Debtors and the Foris Secured Parties. The Debtors or the Reorganized Debtors, as
applicable, and all Holders of Claims or Interests receiving distributions pursuant to the Plan and all other
parties in interest shall, from time to time, prepare, execute, and deliver any agreements or documents and
take any other actions as may be necessary or advisable to effectuate the provisions and intent of the Plan.

D.      Statutory Committee and Cessation of Fee and Expense Payment.

        On the Effective Date, the Creditors’ Committee and any other statutory committee appointed in
the Chapter 11 Cases shall dissolve and members thereof shall be released and discharged from all rights
and duties from or related to the Chapter 11 Cases, except for purposes of prosecution of requests for
payment of Professional Claims for services rendered and reimbursement of expenses on a final basis.
The Reorganized Debtors shall no longer be responsible for paying any fees or expenses incurred by the
members of or advisors to the Creditors’ Committee or any other statutory committees after the Effective
Date except with respect to (a) the prosecution of requests for payment of Professional Claims for services
rendered and reimbursement of expenses on a final basis. Notwithstanding the foregoing, the dissolution



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of the Creditors’ Committee shall not prohibit the Creditors’ Committee enforcing and protecting its rights
after the Effective Date.

E.      Reservation of Rights.

         Except as expressly set forth in the Plan, the Plan shall have no force or effect unless the
Bankruptcy Court shall enter the Confirmation Order, and the Confirmation Order shall have no force or
effect if the Effective Date does not occur. None of the Filing of the Plan, any statement or provision
contained in the Plan, or the taking of any action by any Debtor with respect to the Plan, the Disclosure
Statement, or the Plan Supplement shall be or shall be deemed to be an admission or waiver of any rights
of any Debtor with respect to the Holders of Claims or Interests prior to the Effective Date.

F.      Successors and Assigns.

         The rights, benefits, and obligations of any Entity named or referred to in the Plan shall be
binding on, and shall inure to the benefit of any heir, executor, administrator, successor or assign,
Affiliate, officer, manager, director, agent, representative, attorney, beneficiaries, or guardian, if any, of
each Entity.

G.      Notices.

        All notices, requests, and demands to or upon the Debtors to be effective shall be in writing
(including by facsimile transmission) and, unless otherwise expressly provided herein, shall be deemed to
have been duly given or made when actually delivered or, in the case of notice by facsimile transmission,
when received and telephonically confirmed, addressed as follows:


        If to Counsel to the Debtors:

        Pachulski Stang Ziehl & Jones LLP
        919 N. Market Street, 17th Floor, Wilmington, DE 19801
        Attn: Richard M. Pachulski (rpachulski@pszjlaw.com) and
        Debra I. Grassgreen, Esq. (dgrassgreen@pszjlaw.com)

        If to Counsel to the DIP Agent, DIP Lenders and Foris Prepetition Secured Lenders:

        Goodwin Procter LLP
        620 Eighth Avenue
        New York, NY 10018
        Attn: Michael H. Goldstein (mgoldstein@goodwinlaw.com)
        Alexander Nicas (anicas@goodwinlaw.com)
        Debora Hoehne (dhoehne@goodwinlaw.com)

        Troutman Pepper Hamilton Sanders LLP
        Hercules Plaza, Suite 5100
        1313 N. Market Street, P.O. Box 1709
        Wilmington, DE 19899
        Attn: David M. Fournier (david.fournier@troutman.com)

        If to Counsel to the Creditors’ Committee:


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        White & Case LLP
        111 South Wacker Drive, Suite 5100
        Chicago, IL 60606
        Attn: Gregory F. Pesce (gpesce@whitecase.com) and
        Andrew F. O’Neill (aoneill@whitecase.com)

        White & Case LLP
        1221 Avenue of the Americas
        New York, NY 10020
        Attn: John Ramirez (john.ramirez@whitecase.com) and
        Andrea Kropp (andrea.kropp@whitecase.com)

        Potter Anderson & Corroon LLP
        1313 N. Market Street, 6th Floor
        Wilmington, DE 19801
        Attn: Christopher M. Samis (casmis@potteranderson.com) and
        Katelin A. Morales (kmorales@potteranderson.com)

         After the Effective Date, the Reorganized Debtors have the authority to send a notice to Entities
that to continue to receive documents pursuant to Bankruptcy Rule 2002, an Entity must file a renewed
request to receive documents pursuant to Bankruptcy Rule 2002. After the Effective Date, the
Reorganized Debtors are authorized to limit the list of Entities receiving documents pursuant to
Bankruptcy Rule 2002 to those Entities who have Filed such renewed requests.

H.      Term of Injunctions or Stays.

          Unless otherwise provided in the Plan or in the Confirmation Order, all injunctions or stays
in effect in the Chapter 11 Cases pursuant to sections 105 or 362 of the Bankruptcy Code or any
order of the Bankruptcy Court, and extant on the Confirmation Date (excluding any injunctions or
stays contained in the Plan or the Confirmation Order) shall remain in full force and effect until the
Effective Date. All injunctions or stays contained in the Plan or the Confirmation Order shall
remain in full force and effect in accordance with their terms. The Trading Order shall remain
enforceable (i) as to transfers through the Effective Date with respect to those persons having
“Beneficial Ownership” of “Common Stock” (as such terms are defined in the Trading Order), and
(ii) as to taking any action that claims any deduction for worthlessness of “Beneficial Ownership” of
“Common Stock” by a “50-Percent Shareholder” (as such terms are defined in the Trading Order)
for a taxable year ending before the Effective Date.

        Notwithstanding anything to the contrary herein, the automatic stay imposed by section 362
of the Bankruptcy Code and the injunctions set forth in Article IX.F of the Plan shall remain
applicable to Claims that have the benefit of an applicable insurance policy arising prior to the
Effective Date up to the amount of the applicable SIR or deductible, which Claims shall be treated
as General Unsecured Claims.

I.      Entire Agreement.

       Except as otherwise indicated, the Plan (including, for the avoidance of doubt, the documents and
instruments in the Plan Supplement) supersedes all previous and contemporaneous negotiations, promises,
covenants, agreements, understandings, and representations on such subjects, all of which have become
merged and integrated into the Plan.


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J.      Plan Supplement.

        All exhibits and documents included in the Plan Supplement are an integral part of the Plan and
are incorporated into and are a part of the Plan as if set forth in full in the Plan. After the exhibits and
documents are Filed, copies of such exhibits and documents shall be available upon written request to the
Debtors’ counsel at the address above or by downloading such exhibits and documents from the Debtors’
restructuring website at https://cases.stretto.com/amyris/ or the Bankruptcy Court’s website at
www.deb.uscourts.gov/bankruptcy. To the extent any exhibit or document in the Plan Supplement is
inconsistent with the terms of the Plan, unless otherwise ordered by the Bankruptcy Court, the Plan
Supplement document or exhibit shall control (unless stated otherwise in such Plan Supplement document
or exhibit or in the Confirmation Order).

K.      Nonseverability of Plan Provisions.

         If, prior to Confirmation, any term or provision of the Plan is held by the Bankruptcy Court to be
invalid, void, or unenforceable, the Bankruptcy Court shall have the power to alter and interpret such term
or provision to make it valid or enforceable to the maximum extent practicable, consistent with the
original purpose of the term or provision held to be invalid, void, or unenforceable, and such term or
provision shall then be applicable as altered or interpreted. Notwithstanding any such holding, alteration,
or interpretation, the remainder of the terms and provisions of the Plan will remain in full force and effect
and will in no way be affected, impaired, or invalidated by such holding, alteration, or interpretation.

         The Confirmation Order shall constitute a judicial determination and shall provide that each term
and provision of the Plan, as it may have been altered or interpreted in accordance with the foregoing, is:
(a) valid and enforceable pursuant to its terms; (b) integral to the Plan and may not be deleted or modified
without the Debtors’ or the Reorganized Debtors’ consent, as applicable; and (c) nonseverable and
mutually dependent.

L.      Votes Solicited in Good Faith.

         Upon entry of the Confirmation Order, the Debtors will be deemed to have solicited votes on the
Plan in good faith and in compliance with section 1125(g) of the Bankruptcy Code, and pursuant to
section 1125(e) of the Bankruptcy Code, the Debtors and each of their respective Affiliates, agents,
representatives, members, principals, shareholders, officers, directors, managers, employees, advisors, and
attorneys will be deemed to have participated in good faith and in compliance with the Bankruptcy Code
in the offer, issuance, sale, and purchase of Securities offered and sold under the Plan and any previous
plan, and, therefore, no such parties nor individuals nor the Reorganized Debtors will have any liability
for the violation of any applicable Law, rule, or regulation governing the solicitation of votes on the Plan
or the offer, issuance, sale, or purchase of the Securities offered and sold under the Plan and any previous
plan.

M.      Closing of Chapter 11 Cases.

         On and after the Effective Date, the Debtors or the Reorganized Debtors shall be permitted to
close all of the Chapter 11 Cases of the Debtors, except for the Chapter 11 Case of Parent (or such other
Debtor as the Debtors may determine in their sole discretion), and change the corporate name of such
Debtor, and thereafter such Debtor’s case will remain open following the Effective Date, and all contested
matters relating to any of the Debtors, including Claim Objections and any adversary proceedings, shall be
administered and heard in the Chapter 11 Case(s) of such Debtor(s), irrespective of whether such Claim(s)
were Filed or such adversary proceeding was commenced against a Debtor whose Chapter 11 Case was


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closed.

       When all Disputed Claims have become Allowed or disallowed and all distributions have been
made in accordance with the Plan, the Reorganized Debtors shall seek authority to close any remaining
Chapter 11 Cases in accordance with the Plan, the Bankruptcy Code and the Bankruptcy Rules.




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Dated: January [22], 2024                              AMYRIS, INC.

                                                       on behalf of itself and all other Debtors



                                                       /s/

                                                       Philip J. Gund
                                                       Chief Restructuring Officer




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Document comparison by Workshare Compare on Tuesday, January 23, 2024
10:25:03 PM
Input:
Document 1 ID       netdocuments://4878-2047-7087/1
Description         Amyris - Third Amended Plan
Document 2 ID       netdocuments://4878-2047-7087/2
Description         Amyris - Third Amended Plan
Rendering set       Standard

Legend:
Insertion
Deletion
Moved from
Moved to
Style change
Format change
Moved deletion
Inserted cell
Deleted cell
Moved cell
Split/Merged cell
Padding cell

Statistics:
                                       Count
Insertions                               23
Deletions                                26
Moved from                                0
Moved to                                  0
Style changes                             0
Format changes                            0
Total changes                            49
